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                       MERIT SYSTEMS PROTECTION BOARD FORM 185-1
                                         Appeal Form--Appellant and Agency Information

Please type or print legibly.                                                                                                OMB No. 3124-0009
1. Name (last, first, middle initial)
    Perry, Anthony, W.
2. Present Address (number and street, city, state, and zip code)
    Address:                                   5907 Croom Station Road


    City, State, Zip Code:                     Upper Marlboro, Maryland, 20772, United States of America
3. Telephone numbers (include area code) and E-Mail Address
         You must notify the Board in writing of any change in your telephone number(s) or e-mail address while your appeal is pending.

    Home:    (301) 780-7653                                                           Work:
    Fax:                                                                               Other:   (301) 928-2305
    E-mail Address:    tonywpy@aol.com                                                            Other Phone Type:    Business
4. Do you wish to designate an individual or organization to represent you in this proceeding before the Board? (You may designate a
    representative at any time. However, the processing of your appeal will not normally be delayed because of any difficulty you may
    have in obtaining a representative.)

                        Yes                                                                                   ✔   No
5. Name and address of the agency that made the decisions or took the action you are appealing (include bureau or division, street

    Agency Name:                        Department of Commerce
    Bureau:                             Bureau of the Census
    Address:
                                        4600 Silver Hill Road

    City, State, Zip code:              Washington, District of Columbia, 20233, United States of America
6. Your Federal employment status at the time of the decision           7. Type of appointment (if applicable):
    or action you are appealing:
                                                                              ✔   Competitive               SES                    Excepted
         Temporary           ✔    Permanent         Applicant

         Term                     Retired           Seasonal                      Postal Service            Other

         None
8. Your occupational series, position title, grade, and duty station at the time of the           9. Are you entitled to veteran's preference?
    decision or action you are appealing (if applicable):                                               See 5 U.S.C. 2108.
Occupational Series:                             Position Title:
                       2210                                        Supervisory Information                 Yes               ✔   No
Grade:                 GS-14 step 8              Duty Station:
                                                                   Suitland, MD

10. Length of Government Service (if applicable):                       11. Were you serving a probationary or trial period at the time of the
                                                                             decision or action you are appealing?

              28   Years      9     Months                                                          ✔
                                                                                   Yes                   No

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                     MERIT SYSTEMS PROTECTION BOARD FORM 185-1
                                      Appeal Form--Appellant and Agency Information

Please type or print legibly.
 HEARING: You may have a right to a hearing before an administrative judge. If you choose to have a hearing, the Board will
 notify you when and where it is to be held. If you do not want a hearing, the Board will make its decision on the basis of the
 submission of the parties.
12. Do you want a hearing?                  ✔   Yes                  No
E-Filing: Registration as an E-Filer enables you to file any or all of your pleadings with the Board in electronic form.
Registration also means you consent to accept service of all pleadings filed by other registered E-Filers and all documents
issued by the Board in electronic form. You will receive these as PDF documents at the e-mail address you provided the Board.
If registered as an E-Filer, you may file any pleading, or portion of a pleading, by non-electronic means. You can withdraw your
registration as an e-filer at any time.

13. Do you wish to register as an E-Filer in this appeal?
                                ✔   I elect to E-File                                I decline to E-File


14. I certify that all of the statements made in this form and all attached forms are true, complete, and correct to
     the best of my knowledge and belief.




     Anthony W. Perry, Appellant                                                               Date:




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                         MERIT SYSTEMS PROTECTION BOARD FORM 185-2
                          Appeal of Agency Personnel Action or Decision (Non-retirement)

Complete this form and attach it to MSPB Form 185-1 if you are appealing an agency personnel action or decision (other than a
decision or action affecting your retirement rights or benefits) that is appealable to the Board under a law, rule, or regulation. If the
personnel See 5 CFR 1201.3(a) for a list of appealable personnel actions and action or decision is appealable to the Board, you
should have received a final decision letter from the agency that informs you of your right to file an appeal with the Board.

Please type or print legibly.                                                                                     OMB No. 3124-0009
Please submit only the attachments requested in this form at this time. You will be afforded the opportunity to submit detailed evidence
in support of your appeal later in the proceeding.

 Name (last, first, middle initial) Perry, Anthony, W.

 1.
      Check the box that best describes the personnel action or decision taken by the agency you named in MSPB Form 185-1 that you are
      appealing. (If you are appealing more than one action or decision, check each box applies.) Attach a copy of the decision letter (if any).
      If an SF-50 or its equivalent was issued and is available, attach it now; however, DO NOT delay filing your appeal because you do not
      have an SF-50. You may submit the SF-50 when it becomes available.
      Termination of Employment             (You may select only one of the following four personnel actions.)
              Removal (Termination after probationary or initial service period)                          Involuntary Resignation
              Termination during probationary or initial service period                              ✔    Involuntary Retirement
          Reduction in grade or pay                ✔   Suspension for more than 14 days
          Separation, demotion, or furlough for more than 30 days by reduction in force (RIF)                    Furlough of 30 days or less
          Denial of within-grade increase              Failure to restore/reemploy/reinstate or improper restoration/reemployment/reinstatement
          Negative suitability determination
      ✔   Other action      Describe other action          Supervisory status stripped; barred from
 2. Date you received the agency's                3. Date you received the agency's final            4.
                                                                                                          Effective date (if any) of the agency
      proposal letter (if any) (month, day,            decision letter (if any) (month, day, year)        action or decision (month, day, year)
      year)                                            (Attach a copy)

                   06/07/2011                                        08/22/2011                                        04/03/2012
 5. Prior to filing this appeal, did you and the agency mutually agree in writing to try to resolve the matter through an alternative dispute
      resolution (ADR) process?

                 Yes                                                          ✔    No

 6. Explain briefly why you think the agency was wrong in taking this action or making this decision.

      See Continuation Sheet for Response.




 7. What action would you like the Board to take in this case (i.e., what remedy are you asking for)?

      See Continuation Sheet for Response.




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                    MERIT SYSTEMS PROTECTION BOARD FORM 185-2
                       Appeal of Agency Personnel Action or Decision (Non-retirement)

Please type or print legibly.
8. With respect to the agency personnel action or decision you are appealing, have you, or has anyone on your behalf, filed a grievance
   under a negotiated grievance procedure provided by a collective bargaining agreement?


              Yes                                     ✔
                                                          No
9. If your answer to question 8 is "Yes," on what date was the grievance filed (month, day, year)?

                              NOT APPLICABLE




10.    If your answer to question 8 was "Yes," has a decision on the grievance been issued?

                              NOT APPLICABLE



11. Select all the additional claims you would like to file with this appeal.
                                                               No Additional Claims
      ✔   File a claim for harmful procedural error                             File a claim for not in accordance with law

      ✔   File a claim of prohibited discrimination                         ✔   File a claim of prohibited personnel practices

          File a Whistleblower claim                                            Request a whistleblower stay

          File a USERRA claim                                                   File a veteran's preference claim




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                               Merit Systems Protection Board Form 185-2
                        Appeal of Agency Personnel Action or Decision (Non-retirement)

                                                  Continuation Sheet

6. Explain briefly why you think the agency was wrong in taking this action or making this decision.

1. I notified the Management Official in 2009 of my complaints of past discrimination, prior pending complaints (EEOC Case No.
531-2010-00351X (Agency Complaint Nos. 09-63-01027, 10-63-00197 & 11-63-00080; EEOC Docket No. 01201117784
(Agency Complaint Nos. 07-63-00080 & 07-63-00145; and EEOC Docket No 0120111034 (Agency Complaint No 10-63-
02671)), and my desire to compete for promotional opportunities and move forward.
2. On May 19, 2011, I submitted "Opposition To Agency Summary Judgment to Dismiss" my claims of discrimination and
prohibited personnel actions.
3. On June 6, 2011 I sent an email to the Census Bureau Director expressing my discontent about the continued discrimination
against me and denial of opportunities given to younger Caucasian employees.
4. On June 7, 2011, I received a Proposed Removal from Darren J. Gutschow who was not my supervisor.
5. The Proposed Removal did not account for 30 minutes of legal break-time.
6. The Proposed Removal included overextended time taken during the lunch break when the practice condoned at the Census
Bureau is one-hour for lunch breaks. My supervisor approved of a one-hour lunch break for all Branch employees.
7. The Proposed Removal did not consider my disability and the informal accommodations that had been provided by my
supervisor since 2007. I was told by Dale Reed to "do what you have to do" to relieve and manage my pain from sitting to long
or standing to long.
8. The Proposed Removal did not consider that I was allowed by my supervisor and Division Chief to work or make up time
during the evening in the office, at home in the evening, and on my day off as needed without pay. There are at least two sets of
emails regarding assignments I was working on to my supervisor, Division Chief and the management official after normal
working hours.
9. Smokers are given unlimited time away from their desks for smoke breaks.
10. Employees using the fitness center are not tracked for the time away from their desks.
11. I attended all the meetings I was physically and emotionally able to attend.
12. My supervisor was always informed and aware of when I was going to be out of the office and the reason. There is no record
of AWOL. Leave not recorded was unintentional.
13. My supervisor and my Division Chief approved and certified all of my Time and Attendance records.
14. The Proposed Removal indicated that the Deciding Official would provide me with a written decision. The Proposed Removal
did not include an EEOC Settlement Agreement.
15. Over 300 hours of sick leave were used from 2009 through 2011 getting care for my disability and the remaining 50 or so
hours for my daughter's healthcare needs with no impact on performance as I worked off the clock and my supervisors knew.
16. On February 27, 2012, I underwent a Total Left Hip Replacement of the disabled joint from which I had been suffering for
years and more extensively over the last three years.
17. My first line supervisor, Dale Richard Reed and Division Chief, Patricia Musselman had both been named prior Responsible
Management Officials.
18. A formal Reasonable Accommodations request was made June 13, 2011 (before the personnel actions and decisions being
appealed were made.
19. A Reasonable Accommodations for my disability was granted on November 9, 2011.
20. The agency discriminated against me on the basis of race, age, and my disability and subjected me to retaliation and reprisal
for prior EEOC activity. I was coerced to sign the EEOC Settlement Agreement forcing me to involuntary retire on September 4,
2012 (04/03/2012 because of continued surveillance and the agency statement it could terminate me at its discretion) and a 30-
day suspension without a hearing on the basis of retaliation, prior EEO, and discrimination and in violation of the Douglass
Factors and without just cause and due process.
21. I withdrew the Office of Special Counsel File # MA-11-2619 on Sept. 8,




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                               Merit Systems Protection Board Form 185-2
                        Appeal of Agency Personnel Action or Decision (Non-retirement)

                                                  Continuation Sheet

7. What action would you like the Board to take in this case (i.e., what remedy are you asking for)?

1. Reinstatement, reimbursement for 30-day suspension, back-pay, front-pay, benefits, all other allowable damages and relief.
Agency officials punished who orchestrated this adverse action.
2. MSPB or EEOC hearing on the agency's intentional discrimination, prohibited personnel actions and retaliation charges. I am
requesting all allowable damages to include actual and non-pecuniary compensatory, attorney fees and other equitable relief,
retroactive promotion to GS-15, back-pay, front-pay, training that has been denied.




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                     MERIT SYSTEMS PROTECTION BOARD FORM 185-4A
                                  Claims of Mistakes in Procedures or Violations of Law

Complete this form and attach it to MSPB Form 185-1 if you are raising a claim—in connection with an appeal of an agency action
or decision for which you have completed MSPB Form 185-2 or MSPB Form 185-3—that the agency made mistakes in applying
required procedures (harmful error) or that the agency violated a law in taking the action or making the decision that you are
appealing.

DO NOT use this form for claims of a violation of law for which another form is provided; instead, use the appropriate form for that
claim (i.e, MSPB Form 185-4B for a discrimination claim, MSPB Form 185-4C for a prohibited personnel practices claim, MSPB
Form 185-5 for a whistleblower claim, MSPB Form 185-7 for a USERRA claim, or MSPB Form 185-8 for a veterans’ preference
claim).



Please type or print legibly.                                                                                                 OMB No. 3124-0009

 Name (last, first, middle initial) Perry, Anthony, W.
 Harmful Procedural Error -
 Harmful error is defined in the Board's regulations as: "Error by the agency in the application of its procedures that is likely to have caused
 the agency to reach a conclusion different from the one it would have reached in the absence or cure of the error." See 5 C.F.R.

 1.
      If you believe that the agency made a error(or error) in applying required procedures in connection with the action or decision you


      See Continuation Sheet for Response.




 2. Explain how the error you in response to question 1 above caused the agency to reach a conclusion different from the one it would have


      See Continuation Sheet for Response.




 Not in Accordance with Law -
 An appealable action will be reversed as being "not in accordance with the law" if the agency's action is unlawful in its entirety, i.e., if there is
 no legal authority for action
 3. If you believe that the agency action or decision you are appealing, was "not in accordance with law," please explain.


                                                               NOT APPLICABLE

 4. If you believe a specific law was violated, please identify the law and describe how the law you identified was violated.



                                                               NOT APPLICABLE




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                             Merit Systems Protection Board Form 185-4A
                                Claims of Mistakes in Procedures or Violations of Law

                                                  Continuation Sheet

1. If you believe that the agency made a error(or error) in applying required procedures in connection with the action or decision
you described in MSPB Form 185-2 or MSPB Form 185-3, identify the procedure(s) and describe the error(s).

The proposal letter is authored by an employee that is not my supervisor nor in my chain of command. It states that I would
receive a written decision from the Deciding Official. Before the Deciding Official issued her decision, the Agency Management
Official, Human Resources Official, and Management Representative produced an EEOC Settlement Agreement and forced me
to sign it to avoid termination which included suspension, forced retirement, removal from supervisory position, barred from
future Commerce Employment and removal at Agency discretion. Douglass Factors and disability not considered if misconduct
is concuded. My time and attendance were approved and certified by supervisor and division chief. The motive of the charges
brought in the Proposal was punitive. The Deciding Official released her decision four days later deciding not to terminate but
suspend for 30 days without a hearing.




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                             Merit Systems Protection Board Form 185-4A
                                Claims of Mistakes in Procedures or Violations of Law

                                                 Continuation Sheet

2. Explain how the error you in response to question 1 above caused the agency to reach a conclusion different from the one it
would have reached in the absence or cure of the error.

There was no misconduct on my part in any of my behavior and therefore no charge should have been filed. Informal
accomodations had been made by my supervisor since 2007-2008 not accounted for in the proposal. The agency did not
consider or give adequate consideration to the factual evidence provided. The Deciding Official decided on a 30-day suspension
only. The Agency's motive was to get my pending EEOC action claiming race and age discrimination off of the table without
settleing fairly and remove me for past EEO claims.




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                     MERIT SYSTEMS PROTECTION BOARD FORM 185-4B
                                                 Claims of Prohibited Discrimination

Complete this form and attach it to MSPB Form 185-1 if you are raising a claim—in connection with an appeal of an agency action
or decision for which you have completed MSPB Form 185-2 or MSPB Form 185-3—that the agency action or decision was the
result of prohibited discrimination.

If you have previously filed a discrimination complaint with the agency under the procedures of the Equal Employment Opportunity
Commission (29 CFR Part 1614), you may file an appeal with the Board after you have received the agency’s final decision on your
complaint or, if the agency has not issued a final decision on your discrimination complaint within 120 calendar days after the date
you filed it, at any time after the end of the 120-day period. See 5 CFR 1201.154.


Please type or print legibly.                                                                                               OMB NO. 3124-0009

Name (last, first, middle initial) Perry, Anthony, W.

 Discrimination - An allegation of discrimination is not an independent source of Board jurisdiction. The underlying action must first be
 within the Board's jurisdiction before an allegation of discrimination may be considered by the Board. See 5 CFR 1201.151.

 1. Check the appropriate box (or boxes) below to indicate the basis (or bases) of your claim that you are discriminated against by the
   agency in connection with the action or decision you described in MSPB Form 185-2 or MSPB Form 185-3.
       Discrimination based on marital status or political affiliation          ✔   Race                      Color                  Religion
       Sex(Title VII of the Civil Rights Act of 1964)                               National Origin       ✔ Disability           ✔   Age
       Sex(sexual harassment under Title VII of the Civil rights Act of 1964)
 2.
 2. If you believe you were discriminated against by the agency, in connection with the matter appealed, because of your race, color,
    religion sex national origin disability or age explain why you believe it to be true
    See Continuation Sheet for Response.




 3. Have you filed a formal discrimination complaint with your agency concerning the action you are appealing?
               Yes                                       ✔    No

 4. If your answer to question 3 is "Yes", enter the place where the complaint was filed if      5. Date filed (month, day, year):
    different from your answer to question 5 on MSPB Form 185-1:
                                                                                                               NOT APPLICABLE
                                   NOT APPLICABLE
                                                                                                 6. Has a decision been issued?


                                                                                                               NOT APPLICABLE

 REQUEST FOR COMPENSATORY DAMAGES

 7. Are you requesting an award of compensatory damages in connection with your discrimination claim? See 5 CFR 1201.202(c).

           ✔   Yes                    No

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                             Merit Systems Protection Board Form 185-4B
                                              Claims of Prohibited Discrimination

                                                  Continuation Sheet

2. If you believe you were discriminated against by the agency, in connection with the matter appealed, because of your race,
color, religion, sex, national origin, disability, or age, explain why you believe it to be true.

The charging document failed to reasonably account for my disability and the near total reason for the behavior the agency is
charging. Prior accommodations had been made by my supervisor. I was retaliated against for my past EEO actions claiming
race and age discrimination. This matter is retaliation and was orchestrated by the management official and the human
resources official. I was applying/requesting to be promoted and complained that younger Caucasians with less skill, credentials,
and record of past performance were being promoted above me. To keep from promoting me or addressing prior and ongoing
discrimination the agency coerced me to sign the EEOC Settlement or be terminated.




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                    MERIT SYSTEMS PROTECTION BOARD FORM 185-4C
                                            Claims of Prohibited Personnel Practices

Complete this form and attach it to MSPB Form 185-1 if you are raising a claim—in connection with an appeal of an agency
action or decision for which you have completed MSPB Form 185-2 or MSPB Form 185-3—that the agency action or decision
was the result of one or more of the statutory prohibited personnel practices. See 5 U.S.C. 2302 b .


DO NOT use this form for any of the following prohibited personnel practice claims:
x   A claim that the action or decision was the result of discrimination based on race, color, religion, sex, national origin, disability,
    or age, 5 U.S.C. 2302(b)(1); complete MSPB Form 185-4B instead.

x   A claim that the action or decision was based on whistleblowing, 5 U.S.C. 2302(b)(8); complete MSPB Form 185-5 instead.

x   A claim that the action or decision violated a veterans’ preference requirement, 5 U.S.C. 2302(b)(11); complete MSPB Form
    185-8 instead.


Please type or print legibly.                                                                                            OMB No. 3124-0009

    Name (last, first, middle initial) Perry, Anthony, W.

    Prohibited Personnel Practices - The statutory prohibited personnel practices are set forth at 5 U.S.C. 2302(b)(1)-(b)(12). An allegation
    of a prohibited personnel practice is not an independent source of Board jurisdiction. The underlying action must first be within the
    Board's jurisdiction before an allegation of a prohibited personnel practice may be considered by the Board. See 5 CFR 1201.56(b)(2).


    Section 2302 of title 5, U.S. Code, does not apply to all personnel actions or to all Federal employees. Please review the definitions of
    "personnel action," "covered position," and "agency" at 5 U.S.C. 2302(a) to be sure that both you and the action or decision you are
    appealing are covered by those definitions before you complete and submit this form.


    1. Check the appropriate box (or boxes) below to indicate the basis (or bases) of your claim that the agency committed a prohibited
       personnel practice in connection with the action or decision you described in MSPB Form 185-2 or MSPB Form 185-3.

          Discrimination based on political affiliation                              Discrimination based on marital status
          Coercing the political activity of any person                              Nepotism (favoring relatives)
          Soliciting or considering employment recommendations not based on the individual's work performance, ability,
          aptitude, general qualifications, suitability, character, or loyalty
     ✔    Taking or failing to take a personnel action as a reprisal for the exercise of any appeal, complaint or grievance right;
          for assisting anyone else in exercising such a right; for cooperating with or disclosing information to the Special
          Counsel or the Inspector General of an agency; or for refusing to violate a law
     ✔    Deceiving or willfully obstructing a person's right to compete for employment
          Influencing any person to withdraw from competition for any position, whether to help or hurt anyone else's
          employment prospects
     ✔    Giving unauthorized preferential treatment to any employee or applicant

      ✔   Discriminating on the basis of personal conduct which does not adversely affect the performance of the employee or
          applicant or the performance of others, except in case of criminal conviction for the conduct

          Taking or failing to take any other personnel action that would violate any law, rule, or regulation implementing or
          directly concerning the merit system principles

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                                                                Submission Date: 4/25/2012 2:53:16 PM                           5 CFR Parts 1201

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                                       e-Appeal Attachment Transmittal
Appeal Number:             201201588
Appellant Name:            Mr. Anthony W. Perry
Agency Name:               Department of Commerce


Please check the box for each document included with this transmittal.

      Name of Attachment                           Attachment Processing Status                     File Name/Delivery Method

      Agency Decision Letter                       Upload with e-Appeal                             coercedsign0001.pdf

      SF-50, Notification of Personnel Action      Document not available or not applicable         N/A

                               2 copies must be submitted of all documents submitted in hardcopy.
                                        Send documents to be submitted in paper form to:
                                                Washington DC Regional Office
                                                 1800 Diagonal Road Suite 205
                                                Alexandria, Virginia 22314-2840
                                                   United States of America

                                                    Phone: (703) 756-6250
                                                     Fax: (703) 756-7112




                                                        Appeal Number: 201201588            Attachment Transmittal Sheet
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA48  11/19/18 Page 36 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA50  11/19/18 Page 38 of 424
USCA Case #14-1155    Document #1537564       Filed: 02/13/2015  Page 52 of 596
                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA51  11/19/18 Page 39 of 424
USCA Case #14-1155    Document #1537564       Filed: 02/13/2015  Page 53 of 596
                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA52  11/19/18 Page 40 of 424
USCA Case #14-1155    Document #1537564       Filed: 02/13/2015  Page 54 of 596
                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA53  11/19/18 Page 41 of 424
USCA Case #14-1155    Document #1537564       Filed: 02/13/2015  Page 55 of 596
                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA54  11/19/18 Page 42 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA55  11/19/18 Page 43 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA62  11/19/18 Page 44 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA64  11/19/18 Page 45 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA65  11/19/18 Page 46 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA66  11/19/18 Page 47 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA67  11/19/18 Page 48 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA68  11/19/18 Page 49 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA69  11/19/18 Page 50 of 424
USCA Case #14-1155    Document #1537564       Filed: 02/13/2015  Page 71 of 596
                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA70  11/19/18 Page 51 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA72  11/19/18 Page 52 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA73  11/19/18 Page 53 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA75  11/19/18 Page 54 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA76  11/19/18 Page 55 of 424
USCA Case #14-1155    Document #1537564       Filed: 02/13/2015  Page 78 of 596
                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA77  11/19/18 Page 56 of 424
USCA Case #14-1155    Document #1537564       Filed: 02/13/2015  Page 79 of 596
                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA78  11/19/18 Page 57 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA79  11/19/18 Page 58 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA80  11/19/18 Page 59 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA81  11/19/18 Page 60 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA82  11/19/18 Page 61 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA83  11/19/18 Page 62 of 424
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     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA84  11/19/18 Page 63 of 424
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     Case 1:17-cv-01932-TSC Document130-4
                                        Pg.Filed
                                            JA85  11/19/18 Page 64 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
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                                            JA86  11/19/18 Page 65 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA87  11/19/18 Page 66 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
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                                            JA88  11/19/18 Page 67 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
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                                            JA89  11/19/18 Page 68 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA90  11/19/18 Page 69 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA91  11/19/18 Page 70 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA92  11/19/18 Page 71 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA93  11/19/18 Page 72 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA94  11/19/18 Page 73 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA95  11/19/18 Page 74 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA96  11/19/18 Page 75 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA97  11/19/18 Page 76 of 424
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      Case 1:17-cv-01932-TSC Document130-4
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                                            JA98 11/19/18 Page 77 of 424
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      Case 1:17-cv-01932-TSC Document130-4
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                                            JA99 11/19/18 Page 78 of 424
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      Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA100 11/19/18 Page 79 of 424
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      Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA101 11/19/18 Page 80 of 424
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                           EXHIBIT
      Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA102 11/19/18 Page 81 of 424
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      Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA103 11/19/18 Page 82 of 424
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      Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA104 11/19/18 Page 83 of 424
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      Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA105 11/19/18 Page 84 of 424
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      Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA106 11/19/18 Page 85 of 424
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      Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA107 11/19/18 Page 86 of 424
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      Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA108 11/19/18 Page 87 of 424
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      Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA109 11/19/18 Page 88 of 424
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      Case 1:17-cv-01932-TSC Document130-4
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                                            JA110 11/19/18 Page 89 of 424
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      Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA111 11/19/18 Page 90 of 424
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      Case 1:17-cv-01932-TSC Document130-4
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                                            JA112 11/19/18 Page 91 of 424
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      Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA113 11/19/18 Page 92 of 424
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      Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA114 11/19/18 Page 93 of 424
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      Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA115 11/19/18 Page 94 of 424
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                           EXHIBIT
      Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA116 11/19/18 Page 95 of 424
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      Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA117 11/19/18 Page 96 of 424
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                           EXHIBIT
      Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA118 11/19/18 Page 97 of 424
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      Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA119 11/19/18 Page 98 of 424
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      Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA120 11/19/18 Page 99 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA121  11/19/18 Page 100 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA122  11/19/18 Page 101 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA123  11/19/18 Page 102 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA125  11/19/18 Page 103 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA126  11/19/18 Page 104 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA127  11/19/18 Page 105 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA128  11/19/18 Page 106 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
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                                            JA129  11/19/18 Page 107 of 424
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
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                                            JA130  11/19/18 Page 108 of 424
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     Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA131  11/19/18 Page 109 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA132  11/19/18 Page 110 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA133  11/19/18 Page 111 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA134  11/19/18 Page 112 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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                          EXHIBIT
     Case 1:17-cv-01932-TSC Document130-4
                                        Pg. Filed
                                            JA137  11/19/18 Page 114 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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     Case 1:17-cv-01932-TSC Document130-4
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     Case 1:17-cv-01932-TSC Document130-4
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     Case 1:17-cv-01932-TSC Document130-4
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA142  11/19/18 Page 119 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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     Case 1:17-cv-01932-TSC Document130-4
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     Case 1:17-cv-01932-TSC Document130-4
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     Case 1:17-cv-01932-TSC Document130-4
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     Case 1:17-cv-01932-TSC Document130-4
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     Case 1:17-cv-01932-TSC Document130-4
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     Case 1:17-cv-01932-TSC Document130-4
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA150  11/19/18 Page 127 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA151  11/19/18 Page 128 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA152  11/19/18 Page 129 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA153  11/19/18 Page 130 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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     Case 1:17-cv-01932-TSC Document130-4
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     Case 1:17-cv-01932-TSC Document130-4
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA162  11/19/18 Page 138 of 424
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                                            JA163  11/19/18 Page 139 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA164  11/19/18 Page 140 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA167  11/19/18 Page 143 of 424
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                                            JA168  11/19/18 Page 144 of 424
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     Case 1:17-cv-01932-TSC Document130-4
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                                            JA208  11/19/18 Page 182 of 424
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               /8U?O8` ZLBWIU3O?C]` 5]` ILT` B3U8O` U>4`08NU8G58O` ` ` '9` !NN8BB3IU` 7?7`ILU` O8T?O8` 5]` U>8`


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               ,LT` 3NNB]` 9LO `L O` 3668NU `3I]` NLS?U?LIS` [?U>` U>8` !=8I6]` 9LBBL[?I=` U>8` 89986U?Z8` 73T8` L9`


                 U>8` !=O88G8IT` !=O88G8IU` 3U`6^`


               08OZ8` 3` SWRN8IS?LJ` 9LO` T>?OU]` ` 63B8I73O` 73]S`?I` C?8W` L9` U>8` NO8Z?LWSB] ?SRW87` ILU?68` L9`


                 NOLNMS87` O8GLZ3C` !=O88G8IU`3T`8^`

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              .WORX3IT`UL` T>?S` 3=O88G8IU `L I`!W=WST`  
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    SXRN8IR?LI` 53R87` LI` V>8` )XI8`  `` NOLNLS3C` !NN8BC3IUS` /8RNLIS8 `135` `                         !NN8DD3IU`


    S8OZ87` T>8`RWSN8IR?LI`LI` Y3O?LWR`73U8S`58U[88I`!W=XST` ` 3I7` -6UL58O``` _`


    `          -I` 08NU8G58O` `  ` !NN8BB3IU` 8 G3?B87` "O?3I` +6&O3U>` U>8` !=8I6]R` #>?89`


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   P<b Y>;b $@Ub &PU7; b       b */-.b    "!b ## 1RR;FG2NYb L\XYb 8Pb LPU;b Y>1Nb C\XYb U;5\Yb Y>;b

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            $RR;FF1NYb >1Xb NPYb X;Yb <PUY>b 1N`b ;]@8;N7;b Y>1Yb ^P\G8b 1GHP^b >@Mb YPb ;XY15F@X>b Y>1Yb Y>;b


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   P<b Y>;b ;]@8;N7;b Y>1Yb Y>;b ;LSFP`;;@N@Y@1Y;8b 17Y@PNXb 1Yb @XX\;b @Nb Y>@Xb 71X;b 1U;b 1N`[>@N=b PY>;Ub Y>1Nb


   ]PH\NY1U`b


             $SS;FF1NYb1IXPb7K1@MXbY>1Yb>;b^1Xb8;N@;8b 1bU;1XPN15I;b 177PMMP81Y@PNb 0Pb Y>;b ;_Y;NYbY>1Yb


   Y>@Xb SPXX@6F`b5;4XbPNb Y>;b @XX\;b P<b Y>;b ]PF\NY1U@N;XXbP<b Y>;b$=U;;L;NYb$SR;FF1NYb>1XbRUP]@8;8b NPb


   ;]@8;N7;b Y>1Yb >;b ;];Ub 17Y\1FF`b U;T\;XY;8b 1b U;1XPN15F;b 177PLLP81Y@PNb L\7>b F;XXb Y>1Yb >;b ;];Vb


   X\5L@YY;8b Y>;b M;8@71Gb 8P7\L;NY1Y@PNb Y>1Yb >;b 7H1@LXb >;b X\5L@YY;8b YPb Y>;b $=;N7`b )Nb 1N`b ;];NYb


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    7F1@Lb Y>1Yb Y>;b $=;N7`b177PLMP81Y;8b ?BXb 1FG;=;8b L;8@71Fb 7PN8@Y@PNb         $SS;FF1NY Xb.;XSPNX;b 1Yb


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    U;1XPN15F;b 177PLLP:1Y@PNb         %];Nb @<b >;b 8@:b U;T\;XYb 1b U;1XPN15F;b 177PMLP81Y@PNb $RS;IF1NYb


    >@LX;F<b @N8@71Y;Xb Y>1YbY>;b $=;N7`b 177PMLP81Y;:b >@M,b %@Y>;Ub ^1`b 1N`b7F1@Mb Y>;b$=U;;L;NYb@Xb


    @N]1F@:b 51X;8bPNb 3b1GG;=;:b <1@F\U;bYPb 177PMMP81Y;b $RR;FF1NYbL\XYb5;b V;C;7Y;8b


             )<b 1N`Y>@N=b Y>;b 7@U7\LXY1N7;Xb P<b Y>;b $=U;;M;NYb 8;LPNXYU1Y;b Y>1Yb Y>;b $=U;;L;NYb ^1Xb


    <U;;F`b2N8b]PF\NY1U@G`b;NY;V;8b@NYPb5`b$RS;IF1NYb &@UXYb Y>;b$=V;;L;NYb@YX;F<b XY1Y;XbY>1YbY>;b R1ZA@;Xb


    ]PJ\NY1U@F`b ;NY;Vb @NYPb Y>;b $=U;;L;NYb +PU;P];Vb 1Xb NPY;8b 15P];b $SS;GF3Yb ^1Xb U;RU;X;NY;:b


    Y>UP\=>P\Yb Y>;b 7P\VX;b P<b Y>;b N;=PY@1Y@PNXb 5`b >@Xb 8\F`1\Y>PU@a;8b U;SV;X;NY1Y@];b Y>;b -U;X@:;NYb P<b




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    1NIV>23Sb W<3b W3SHVb N4b W<3b :S33H3IWb PS>NSb WNb V>:I,WZS3b (33b !,SC-L2b ]b              N4b Y=3b >Sb


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                      UNITED STATES OF AMERICA
                   MERIT SYSTEMS PROTECTION BOARD
                    WASHINGTON REGIONAL OFFICE



 ANTHONY W. PERRY,                             DOCKET NUMBER
              Appellant,                       DC-0752-12-0486-I-1 *

             v.

 DEPARTMENT OF COMMERCE,                       DATE: July 30, 2012
             Agency.




       Anthony W. Perry, Upper Marlboro, Maryland, pro se.

       Adam Chandler, Esquire, Washington, D.C., for the agency.


                                     BEFORE
                               Daniel Madden Turbitt
                               Administrative Judge




                               INITIAL DECISION

       On April 25, 2012, Anthony W. Perry filed an appeal with the Board,
 challenging his 30-day suspension and alleging that his retirement from the
 Department of Commerce was involuntary. For the reasons below, this appeal is
 DISMISSED for lack of jurisdiction.




 *
  This docket number pertains to the appellant’s appeal of his 30-day suspension. His
 companion appeal, pertaining to his claim of involuntary retirement, is docketed at
 DC-0752-12-0487-I-1.
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 Background
       The appellant was employed at the agency as an Information Technology
 Specialist, GS-2210-14/08.     By letter dated June 7, 2011, Assistant Division
 Chief Daren J. Gutschow notified the appellant of his proposed removal, based on
 the appellant’s alleged receipt of pay for time not worked and failure to follow
 supervisory directives that required him to use the workplace attendance log.
 Appeal File (AF), Tab 14, Subtab 1 (at 1-12). The parties reached settlement of
 that proposed termination action at the Equal Employment Opportunity
 Commission (EEOC) and executed a settlement agreement on August 22, 2011.
 Id. (at 14-20). The terms of the settlement agreement provided, in pertinent part,
 that in lieu of removal, the appellant would serve a 30-day suspension and
 voluntarily retire (or, failing that, resign) no later than September 4, 2012. See
 id. (at 15-18). Assuming the appellant did not engage in any misconduct between
 that time and his retirement, the agency agreed that it would also expunge his
 record. Id. (at 18). On August 26, 2011, the agency issued a decision letter that
 mitigated the appellant’s proposed removal to a 30-day suspension. AF, Tab 14,
 Subtab 3 (at 1).
       The appellant filed the instant appeal with the Board on April 25, 2012,
 averring that he “was coerced to sign the EEOC Settlement Agreement forcing
 [him] to involuntary [sic] retire . . . and [serve] a 30-day suspension.” AF, Tab 1
 (MSPB Form 185-2, Answer to Question 6). He also claimed that the agency
 discriminated against him on the basis of his race, age, and disability, and that the
 employment actions were reprisal for his prior EEO activity. Id.

 The appellant has failed to prove by preponderant evidence that the Board has
 jurisdiction over this appeal.

       The jurisdiction of the Board is not plenary in nature; rather, it is limited to
 actions designated as appealable to the Board under any law, rule or regulation.
 5 U.S.C. § 7701(a); see also Martinez v. Merit Systems Protection Board,
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 126 F.3d 1480, 1482 (Fed. Cir. 1997). The Board’s jurisdiction is determined at
 the time the appeal is filed. Gillespie v. Department of Defense, 90 M.S.P.R.
 327, ¶ 7 (2001); Castro v. U. S. Postal Service, 51 M.S.P.R. 530, 532 (1991).
 The appellant has the burden of proving by preponderant evidence that the Board
 has jurisdiction over his appeal. See 5 C.F.R. § 1201.56(a)(2)(i). Preponderance
 of the evidence is defined by regulation as that degree of relevant evidence which
 a reasonable person, considering the record as a whole, would accept as sufficient
 to find that a contested fact is more likely to be true than untrue.       5 C.F.R.
 § 1201.56(c)(2).
       Based on the record before me, I find that this appeal is not within the
 Board’s jurisdiction. First, to the extent the appellant argues that the agency has
 breached the settlement agreement, that is an enforcement issue that the appellant
 must pursue through the EEOC. This Board has authority to enforce the terms of
 a settlement agreement where the agreement has been accepted into the record of
 a Board appeal. See, e.g., Wobschall v. Department of the Air Force, 43 M.S.P.R.
 521, 523 (1990); Kinney v. Department of the Interior, 30 M.S.P.R. 170, 171-72
 (1986).   Here, however, the settlement agreement was not reached during the
 course of an appeal to the Board, and, therefore, was not made part of a Board
 record. See Wobschall, 43 M.S.P.R. at 523 (the Board has no authority to enforce
 settlement agreement reached during grievance).         Thus, the Board has no
 authority to enforce the terms of this settlement agreement, and if the appellant
 seeks enforcement of the agreement, he must pursue it through the EEOC
 (through the agency’s Office of Civil Rights), as stated in part 7 of the agreement.
 See AF, Tab 14, Subtab 1 (at 18-19).
       Second, the Board lacks jurisdiction over this appeal because by signing
 the EEOC settlement agreement, the appellant waived his appeal rights in the
 instant matter.    Part 1 of the settlement agreement states that “[b]y this
 Agreement, the parties resolve all disputes between them concerning the
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 Complainant’s employment with the Agency, regardless of the forum, in
 existence on the effective date of this Agreement.” AF, Tab 14, Subtab 1 (at 15).
       With regard to the appellant’s 30-day suspension, I also find that the Board
 lacks jurisdiction because the appellant agreed to the suspension voluntarily. The
 settlement agreement itself, which was signed by the appellant, states that it was
 “voluntarily enter[ed] into.”   AF, Tab 14, Subtab 1 (at 15).      The appellant,
 however, claims that the agency “misrepresent[ed] the information” during the
 settlement process and “used . . . the threat of termination to secure [his]
 signature involuntarily.” AF, Tab 14 (at 1). He also alleges that he was coerced
 into accepting the agency’s settlement terms because his other option was to
 accept the possibility of a removal. See id. However, the appellant has provided
 no evidence that tends to show misrepresentation or coercion, and, in fact, the
 record shows that during the settlement process his interests were represented by
 Johnny T. Zuagar, the president of the appellant’s union. See AF, Tab 14, Subtab
 1 (at 20), Subtab 3 (at 1); Tab 15, Subtab 4a. The appellant’s belief that he had
 to choose between two unappealing options (possible removal and the settlement
 terms) does not amount to coercion on the part of the agency, nor does it vitiate
 the voluntariness of the settlement agreement. See, e.g., McCorcle v. Department
 of Agriculture, 98 M.S.P.R. 363, 371 (2005); see also Smitka v. U.S. Postal
 Service, 66 M.S.P.R. 680, 687 (1995) (the mere fact that an employee is faced
 with unpleasant alternatives does not render his choice of one of those
 alternatives involuntary), aff’d, 78 F.3d 605 (Fed. Cir. 1996) (Table). Though the
 appellant would have faced the possibility of removal had he decided to forego
 settlement, there is no evidence to suggest that the agency used the possible
 termination as a threat to elicit his signature on the settlement agreement.
 Finally, it bears noting that in his response to the agency’s letter of proposed
 removal, the appellant himself suggested settlement terms that included a
 suspension (albeit one of 14 days). AF, Tab 14, Subtab 2 (at 5). Because I find
 that the appellant voluntarily agreed to the 30-day suspension in question, the
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 appellant has no right to appeal the action and thus the Board does not have
 jurisdiction over that part of his appeal.
       With regard to the appellant’s claim of involuntary retirement, I likewise
 conclude that the Board lacks jurisdiction over the matter because, as I
 determined above, the appellant voluntarily entered into the settlement agreement
 that required him to retire. Yet, even if the Board had jurisdiction to address the
 appellant’s retirement, there is nothing in the record to suggest that the retirement
 was involuntary.      On the contrary, the record shows that by signing the
 settlement, the appellant agreed to “[r]etire voluntarily effective no later than
 September 4, 2012.” AF, Tab 14, Subtab 1 (at 15). Moreover, on March 29,
 2012, the appellant submitted an application for the Voluntary Early Retirement
 Authority (VERA) and Voluntary Separation Incentive Pay (VSIP) plans. AF,
 Tab 15, Subtab 4b. On this form, the appellant attested to the voluntary nature of
 his retirement and agreed, as part of VSIP, to accept a cash incentive of either
 $25,000 or an amount equal to the severance pay to which he would be entitled.
 Id.   The fact that the appellant specifically applied for a “Voluntary Early
 Retirement” and stood to gain a financial benefit by retiring undercuts his
 argument that his retirement was involuntary. I therefore conclude, based on the
 record before me, that even if the Board had jurisdiction over the appellant’s
 claim of involuntary retirement, said claim would fail on the merits.
       Finally, to the extent that the appellant raises claims of reprisal for EEO
 activity and discrimination based on his age, race, and disability, the Board lacks
 jurisdiction absent an otherwise appealable action.      Allegations of prohibited
 personnel practices under 5 U.S.C. § 2302(b) are not an independent source of
 Board jurisdiction. Wren v. Department of the Army, 2 M.S.P.R. 1, 2 (1980),
 aff’d, 681 F.2d 867, 871-73 (D.C. Cir. 1982).
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                                     DECISION
       For the reasons stated above, the appeal is DISMISSED.



 FOR THE BOARD:                         _____________/S/______________
                                        Daniel Madden Turbitt
                                        Administrative Judge


                            NOTICE TO APPELLANT
       This initial decision will become final on _September 3, 2012_, unless a
 petition for review is filed by that date or the Board reopens the case on its own
 motion. This is an important date because it is usually the last day on which you
 can file a petition for review with the Board. However, if you prove that you
 received this initial decision more than 5 days after the date of issuance, you may
 file a petition for review within 30 days after the date you actually receive the
 initial decision. If you are represented, the 30-day period begins to run upon
 either your receipt of the initial decision or its receipt by your representative,
 whichever comes first.     You must establish the date on which you or your
 representative received it. The date on which the initial decision becomes final
 also controls when you can file a petition for review with the Court of Appeals
 for the Federal Circuit. The paragraphs that follow tell you how and when to file
 with the Board or the federal court. These instructions are important because if
 you wish to file a petition, you must file it within the proper time period.

                                 BOARD REVIEW
       You may request Board review of this initial decision by filing a petition
 for review.   Your petition for review must state your objections to the initial
 decision, supported by references to applicable laws, regulations, and the record.
 You must file your petition with:
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                               The Clerk of the Board
                           Merit Systems Protection Board
                                 1615 M Street, NW.
                              Washington, DC 20419

 A petition for review may be filed by mail, facsimile (fax), personal or
 commercial delivery, or electronic filing.       A petition for review submitted by
 electronic filing must comply with the requirements of 5 C.F.R. § 1201.14, and
 may     only    be    accomplished      at      the   Board's   e-Appeal      website
 (https://e-appeal.mspb.gov).
       If you file a petition for review, the Board will obtain the record in your
 case from the administrative judge and you should not submit anything to the
 Board that is already part of the record. Your petition must be filed with the
 Clerk of the Board no later than the date this initial decision becomes final, or if
 this initial decision is received by you or your representative more than 5 days
 after the date of issuance, 30 days after the date you or your representative
 actually received the initial decision, whichever was first. If you claim that you
 and your representative both received this decision more than 5 days after its
 issuance, you have the burden to prove to the Board the earlier date of receipt.
 You must also show that any delay in receiving the initial decision was not due to
 the deliberate evasion of receipt. You may meet your burden by filing evidence
 and argument, sworn or under penalty of perjury (see 5 C.F.R. Part 1201,
 Appendix 4) to support your claim. The date of filing by mail is determined by
 the postmark date. The date of filing by fax or by electronic filing is the date of
 submission. The date of filing by personal delivery is the date on which the
 Board receives the document. The date of filing by commercial delivery is the
 date the document was delivered to the commercial delivery service.             Your
 petition may be rejected and returned to you if you fail to provide a statement of
 how you served your petition on the other party. See 5 C.F.R. § 1201.4(j). If the
 petition is filed electronically, the online process itself will serve the petition on
 other e-filers. See 5 C.F.R. § 1201.14(j)(1).
                          EXHIBIT
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                                JUDICIAL REVIEW
       If you are dissatisfied with the Board's final decision, you may file a
 petition with:
                         The United States Court of Appeals
                               for the Federal Circuit
                              717 Madison Place, NW.
                               Washington, DC 20439

 You may not file your petition with the court before this decision becomes final.
 To be timely, your petition must be received by the court no later than 60
 calendar days after the date this initial decision becomes final.
       If you need further information about your right to appeal this decision to
 court, you should refer to the federal law that gives you this right. It is found in
 Title 5 of the United States Code, section 7703 (5 U.S.C. § 7703). You may read
 this law, as well as review the Board’s regulations and other related material, at
 our website, http://www.mspb.gov.       Additional information is available at the
 court's website, www.cafc.uscourts.gov.      Of particular relevance is the court's
 "Guide for Pro Se Petitioners and Appellants," which is contained within the
 court's Rules of Practice, and Forms 5, 6, and 11.

                      NOTICE TO AGENCY/INTERVENOR
       The agency or intervenor may file a petition for review of this initial
 decision in accordance with the Board's regulations.
                          EXHIBIT
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                          EXHIBIT
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                          EXHIBIT
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                          EXHIBIT
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                          EXHIBIT
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                          EXHIBIT
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                          EXHIBIT
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Pleading Number : 2012031596   Submission date : 2012-09-20 08:53:05   Confirmation Number: 206839421   page 6 of 13
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Pleading Number : 2012031596   Submission date : 2012-09-20 08:53:05   Confirmation Number: 206839421   page 8 of 13
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                      UNITED STATES OF AMERICA
                   MERIT SYSTEMS PROTECTION BOARD


 ANTHONY W. PERRY,                               DOCKET NUMBERS
              Appellant,                         DC-0752-12-0486-I-1
                                                 DC-0752-12-0487-I-1 1
              v.


 DEPARTMENT OF COMMERCE,                         DATE: June 12, 2013
             Agency.



                   THIS ORDER IS NONPRECEDENTIAL 2

       Anthony W. Perry, Upper Marlboro, Maryland, pro se.

       Adam Chandler, Esquire, Washington, D.C., for the agency.


                                       BEFORE

                          Susan Tsui Grundmann, Chairman
                          Anne M. Wagner, Vice Chairman
                             Mark A. Robbins, Member


                                 REMAND ORDER

       The appellant has filed petitions for review in these cases asking us to
 reconsider the initial decisions issued by the administrative judge, which

 1
   The records in these matters are virtually identical. Thus, unless we expressly
 indicate otherwise, all citations herein are to the record in DC-0752-12-0486-I-1.
 2
    A nonprecedential order is one that the Board has determined does not add
 significantly to the body of MSPB case law. Parties may cite nonprecedential orders,
 but such orders have no precedential value; the Board and administrative judges are not
 required to follow or distinguish them in any future decisions. In contrast, a
 precedential decision issued as an Opinion and Order has been identified by the Board
 as significantly contributing to the Board's case law. See 5 C.F.R. § 1201.117(c).
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 dismissed the appellant’s appeals for lack of jurisdiction due to a settlement
 agreement entered into before the U.S. Equal Employment Opportunity
 Commission (EEOC).         For the reasons discussed below, we GRANT the
 appellant’s petitions for review, JOIN the two appeals, and REMAND these cases
 to the Washington Regional Office for further adjudication in accordance with
 this Order. 3

                                   BACKGROUND
        On June 7, 2011, the agency proposed the appellant’s removal from his GS-
 14 Information Technology Specialist position for “Receipt of Pay for Time not
 Worked” and “Failure to Follow Supervisory Directive.”            Initial Appeal File,
 MSPB Docket No. DC-0752-12-0486-I-1 (IAF-0486), Tab 14, Subtab 1 at 1-12.
 Between August 16, 2011 and August 22, 2011, the appellant, his representative,
 and several agency officials, executed a settlement agreement resolving several of
 the appellant’s EEO complaints, which was then submitted to the EEOC
 administrative judge on August 22, 2011. 4 Id. at 14-20.
        The settlement agreement stated that the parties entered into it
 “voluntarily” to “resolve all disputes between them concerning [the appellant’s]
 employment with the Agency, regardless of the forum, in existence on the
 effective date of th[e] Agreement.”      Id. at 15. As part of the agreement, the
 parties agreed that the appellant would “[s]erve a suspension for thirty (30)



 3
   Except as otherwise noted in this decision, we have applied the Board’s regulations
 that became effective November 13, 2012. We note, however, that the petition for
 review in this case was filed before that date. Even if we considered the petition under
 the previous version of the Board’s regulations, the outcome would be the same.
 4
   The appellant incorrectly contends that “the Administrative Judge makes a
 misstatement of fact in stating that the . . . EEO Settlement Agreement was reached
 before the EEOC.” Petition for Review File, MSPB Docket No. DC-0752-12-0486-I-1
 (PFR File-0486), Tab 1 at 4. The settlement agreement bore an EEOC caption and,
 once fully executed, was submitted to the EEOC administrative judge. IAF-0486, Tab
 14, Subtab 1 at 14-15.
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 calendar days in lieu of the removal proposed on June 7, 2011.” 5           Id. at 16.
 Further, the appellant agreed to “[r]etire voluntarily effective no later than
 September 4, 2012.” Id. at 15.
       Consistent with the settlement agreement, on August 26, 2011, the agency
 issued a decision on the proposed removal, finding that “the reason for the
 proposed removal [wa]s fully supported by the evidence” but that a “lesser
 penalty” of a 30 calendar day suspension would be sufficient to “deter such
 misconduct in the future.” Id., Subtab 3 at 1-2. Then, on March 29, 2012, the
 appellant submitted an application for “voluntary early retirement,” which the
 agency approved on April 2, 2012. IAF-0486, Tab 15 at 12.
       On April 25, 2012, the appellant filed an appeal with the Board,
 challenging his alleged involuntary retirement and suspension for more than 14
 days. IAF-0486, Tab 1 at 6, ¶ 20; Initial Appeal File, MSPB Docket No. DC-
 0752-12-0487-I-1 (IAF-0487), Tab 1 at 5, ¶ 20. The administrative judge then
 docketed the involuntary retirement appeal as MSPB Docket No. DC-0752-12-
 0487-I-1 and the adverse action (30-day suspension) appeal as MSPB Docket No.
 DC-0752-12-0486-I-1. See IAF-0486, Tab 28 at 1 n.*; see also IAF-0487, Tab 28
 at 1 n. *.   In response to the administrative judge’s Orders regarding Board
 jurisdiction, the appellant filed identical submissions in each appeal, contending
 that he was “forced to sign [the settlement agreement] under the threat of
 termination [,] as the agency used misinformation, misrepresentation of the
 information, coercion, and the threat of termination to secure [his] signature
 involuntarily.” IAF-0486, Tab 14 at 1; IAF-0487, Tab 14 at 1. He further stated


 5
   We disagree with the appellant’s claim that the agency “did not provide any document
 to [him] stating that the 30-day suspension was a mitigation of any adverse action [it]
 took or threatened to take against [him].” PFR File-0486, Tab 1 at 3. The EEO
 settlement agreement plainly stated that “[i]n consideration,” the agency would not
 remove the appellant based upon the charges outlined in the proposal to remove and
 would issue a decision on the proposal to remove, suspending the appellant for 30 days.
 IAF-0486, Tab 14, Subtab 1 at 17.
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 that the agency “committ[ed] a procedural error because [he] was not informed
 that all suspensions greater than 14-days are appealable as an adverse action and
 that [he] had appeal rights.” IAF-0486, Tab 14 at 1; IAF-0487, Tab 14 at 1. He
 also alleged that he was coerced because the agency “knew it could not sustain”
 the charges brought against him. IAF-0486, Tab 14 at 2; IAF-0487, Tab 14 at 2.
       The administrative judge subsequently issued his initial decisions
 dismissing the appeals for lack of jurisdiction, without holding a hearing, finding
 that the appellant had validly waived his appeal rights via the EEOC settlement
 agreement. IAF-0486, Tab 28, Initial Decision (ID); IAF-0487, Tab 28. Thus, he
 found that the appellant could not appeal his 30-day suspension, and that the
 appellant’s retirement was not involuntary, because he voluntarily agreed to these
 actions pursuant to the settlement agreement. IAF-0486, Tab 28, Initial Decision
 (ID) at 4-5; IAF-0487, Tab 28 at 4-5.
       In his petition for review, the appellant argues that he was entitled to an
 evidentiary hearing on the issue of jurisdiction because he made a non-frivolous
 allegation of involuntariness. 6 PFR File-0486, Tab 1 at 5. He cites to Schultz v.
 United States Navy, 810 F.2d 1133 (Fed. Cir. 1987), claiming that the agency
 “knew it could not substantiate or sustain” the charges against him. Id. at 2-4,
 11-12. Further, he alleges that he entered into the settlement agreement because


 6
   The appellant alleges that the administrative judge abused his discretion and exhibited
 bias in favor of the agency. PFR File-0486, Tab 1 at 7-10. An administrative judge’s
 conduct during the course of a Board proceeding warrants a new adjudication only if
 the administrative judge’s comments or actions evidence “a deep-seated favoritism or
 antagonism that would make fair judgment impossible.” Bieber v. Department of the
 Army, 287 F.3d 1358, 1362-63 (Fed. Cir. 2002) (quoting Liteky v. United States, 510
 U.S. 540, 555 (1994)). We see no such evidence in the record.
 The appellant also seems to suggest that he was coerced into signing the settlement
 agreement because his alternative was removal. See PFR File-0486, Tab 1 at 6, 10. To
 the extent the appellant is making this argument, it must fail. An appellant’s choice
 between unpleasant alternatives, including the threat of removal, is insufficient to set
 forth a nonfrivolous allegation of involuntariness.      Lee v. Office of Personnel
 Management, 23 M.S.P.R. 403, 406 (1984).
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 the agency provided him with “misinformation with regard to [his] due process
 rights and MSPB appeal rights” and “stat[ed] that there were no appeal rights.”
 Id. at 5-6.
                                     ANALYSIS

 The appellant’s claim that the agency knew it could not substantiate his proposed
 removal does not constitute a nonfrivolous allegation of coercion.
        Regarding the appellant’s claim that the agency knew its actions against
 him could not be sustained, the Board has held that an appellant may show
 coercion by demonstrating that the agency believed its proposed adverse action
 could not be substantiated, or that there was no arguable basis for the proposed
 action. Bahrke v. U.S. Postal Service, 98 M.S.P.R. 513, ¶ 12 (2005); see Schultz,
 810 F.2d at 1136 (a threatened action is “purely coercive” if “the agency knew
 that the reason for the threatened [action] could not be substantiated”).
        There is no evidence that such circumstances are present here. Charge 1 of
 the proposed removal related to the appellant’s alleged receipt of pay for time not
 worked on several dates between October 2010 and May 2011. IAF-0486, Tab
 14, Subtab 1 at 1-10. In his written reply, the appellant admitted to his ongoing
 absences from the workplace, though he attempted to explain them, noting that he
 took “extended lunch periods;” took breaks to walk, stretch, or “reclin[e] in [his]
 car” due to his medical condition; and, spent time in his car working on his EEO
 cases. Id., Subtab 2 at 2. Further, he conceded that several of the specifications
 noted in Charge 1 were attributable to “failed communications between [him] and
 [his] supervisor,” including the appellant forgetting to complete leave requests
 and/or “correct time and attendance for leave taken.”        Id. at 2-3.    Charge 2
 concerned the appellant’s alleged failure, on several dates between April 2011
 and May 2011, to follow his supervisor’s directive to sign in and out on the
 attendance log. Id., Subtab 1 at 10-11. The appellant’s written reply indicated
 that, despite being aware of this directive, the appellant did not begin signing in
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 and out until his supervisor responded to his requests for an explanation
 “regarding th[is] change in procedure,” sometime after he received the June 7,
 2011 proposed removal notice. Id., Subtab 2 at 3. Based on the appellant’s own
 statements, there appears to have been at least some basis for the proposed
 discipline.

 The appellant made a non-frivolous allegation of involuntariness.
       An appellant may establish that the Board has jurisdiction over an action
 taken pursuant to the terms of a settlement agreement wherein he agreed to waive
 his appeal rights if he can establish that the agreement was invalid due to
 misrepresentation     by     the   agency. 7        Simmons      v.   Small     Business
 Administration, 115 M.S.P.R. 647, ¶ 11 (2011). A showing that a reasonable
 person would have been misled by the agency’s statements is sufficient to show
 misrepresentation.    Hazelton v. Department of Veterans Affairs, 112 M.S.P.R.
 357, ¶ 11 (2009).
       The appellant alleged that he was coerced into signing the settlement
 agreement under “threat of termination at the Agency’s sole discretion.” IAF-
 0486, Tab 14 at 1.         He further alleged that the agency provided him with
 “misinformation,” “misrepresent[ed]” information, and did not inform him “that
 [he] had appeal rights.” 8 Id. The appellant’s allegations can be fairly interpreted



 7
   We discern no basis in this matter to distinguish between settlement agreements
 entered into before the Board and agreements entered into in other forums. Swink v.
 U.S. Postal Service, 111 M.S.P.R. 620, ¶ 9 (2009), aff’d, 372 F. App’x 90 (Fed. Cir.
 2010) (“[T]he Board will review the terms of a settlement agreement and the
 surrounding circumstances to determine if it retains jurisdiction over an appeal of an
 action that was settled in another procedural avenue.”).
 8
  To the extent the appellant alleges that the agency was required to notify him of his
 appeal rights before he signed the settlement agreement, this is incorrect. An agency is
 not obligated to notify an employee of his Board appeal rights until it “issues a decision
 notice . . . on a matter that is appealable to the Board.” 5 C.F.R. § 1201.21; Gingrich v.
 U.S. Postal Service, 67 M.S.P.R. 583, 587 (1995) (stating that an agency is obligated to
 notify an employee of his Board appeal rights when it takes an appealable action).
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 to mean that the agency advised him that his only alternative to termination was
 to accept the terms of the settlement agreement and indicated that he would not
 otherwise have appeal rights. Indeed, on review, the appellant reiterates that the
 agency provided him with “misinformation with regard to [his] due process rights
 and MSPB appeal rights” and “stat[ed] that there were no appeal rights.” PFR
 File-0486, Tab 1 at 5-6; see IAF-0486, Tab 14 at 1. We therefore find that the
 appellant made a nonfrivolous allegation of involuntariness sufficient to warrant
 a jurisdictional hearing. If the appellant is able to prove his allegation that the
 agency provided him with misinformation upon which he detrimentally relied in
 signing the settlement agreement (namely, that he would not otherwise have
 appeal rights), this would demonstrate that he did not enter into the agreement
 voluntarily. See Gutierrez v. U.S. Postal Service, 90 M.S.P.R. 604, ¶ 9 (2002)
 (finding that the appellant’s allegation that the agency incorrectly “told him that,
 if he did not resign and the agency followed through with its proposal to remove
 him, he would not have appeal rights with regard to the removal action”
 constituted a “nonfrivolous allegation that his resignation was involuntary”).

 We remand these cases for a jurisdictional hearing.
       As stated previously, the administrative judge dismissed the appellant’s
 appeals for lack of jurisdiction without holding a hearing. ID. However, where
 an appellant makes a nonfrivolous allegation that the Board has jurisdiction over
 an appeal, he is entitled to a jurisdictional hearing.     Ferdon v. U.S. Postal
 Service, 60 M.S.P.R. 325, 329 (1994).         Nonfrivolous allegations of Board
 jurisdiction are allegations of fact which, if proven, could establish a prima facie
 case that the Board has jurisdiction over the matter at issue.       Id.   While an
 appellant may waive his right to a hearing, the waiver must be clear, unequivocal,
 informed, and decisive. Oneisom v. Department of the Air Force, 102 M.S.P.R.
 386, ¶ 6 n.2 (2006). We have already determined that the appellant’s claim of
 misrepresentation constitutes a nonfrivolous allegation of Board jurisdiction.
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 Further, as discussed below, we find that the appellant did not waive his right to a
 jurisdictional hearing.
        In his initial appeal form, the appellant requested a hearing. IAF-0486,
 Tab 1 at 3. However, on May 3, 2012, the appellant submitted a letter to the
 administrative judge waiving his right to a hearing. Id., Tab 4 at 1. On May 7,
 2012, the administrative judge issued an Order scheduling a close of record
 conference, which he believed would be “beneficial,” given that “the appellant
 waived his right to a hearing and stated that he preferred to have a decision based
 on the written record.” Id., Tab 6 at 1. On June 1, 2012, in a letter providing his
 contact information for the close of record conference, the appellant stated that he
 believed he had a right to a jurisdictional hearing although he waived his right to
 a hearing on the merits and requested that the administrative judge clarify this
 issue during the close of record conference. Id., Tab 17 at 1.
        The administrative judge then held a conference with the parties on June 4,
 2012. Id., Tab 26. During the conference, the appellant asked that his hearing
 request be reinstated only as to the issue of jurisdiction and the administrative
 judge then clarified the difference between the issues of jurisdiction and the
 merits.    Id. at 3.      Subsequently, apparently because he understood the
 administrative judge’s explanation to mean that a “hearing on the issue of
 jurisdiction is one and the same as the hearing on the merits of the case” and that
 he could not have a “hearing on jurisdiction alone,” 9 the appellant sent a letter to
 the administrative judge on June 4, 2012, declining a hearing on jurisdiction. Id.,
 Tab 20 at 1, Tab 25 at 1.



 9
   The administrative judge contends that this is “not an accurate reflection of what [he]
 said.” He explained that “although the issues of jurisdiction and the merits are different
 . . . [he] would not bifurcate the hearing on just the question of whether the appellant
 raised nonfrivolous allegations concerning jurisdiction.” IAF-0486, Tab 26 at 3 n.2.
 Rather, “if [he] deemed it appropriate to go forward with a hearing, [he] would listen to
 testimonial evidence on all matters (the jurisdictional issues as well as the merits).” Id.
                          EXHIBIT
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                                                                                    9

       On June 18, 2012, in his response to the agency’s opposition to various
 motions he filed, the appellant again stated that he withdrew his request for a
 hearing based on this understanding, reiterated his prior request for a “hearing on
 the issue of jurisdiction only,” and requested that the administrative judge
 “provide the documentary evidence that precludes the appellant from the right of
 a hearing on the issue of jurisdiction alone.” Id., Tab 25 at 1. On June 26, 2012,
 the administrative judge issued his summary of the June 4, 2012 conference,
 granting the appellant’s request to waive the hearing.      Id., Tab 26 at 3.    The
 administrative judge’s summary of the conference afforded the parties the
 opportunity to make an oral objection, or motion to supplement, by a date certain
 if they disagreed with the summary. Id. at 5. The appellant timely submitted a
 motion to supplement stating, in relevant part, “other cases make it clear that the
 issue of jurisdiction are separate issues as you state and that the appellant has the
 right to a hearing on the matter of jurisdiction alone, which is what I am
 seeking.” Id., Tab 27 at 5.
       In sum, we find that the appellant did not waive his right to a hearing. The
 pleadings and communications in the record reflect that the appellant repeatedly
 stated that he wished to have a jurisdictional hearing. See generally IAF-0486,
 Tabs 17, 20, 25-27. Further, the appellant timely objected to the administrative
 judge’s summary of the June 4, 2012 conference, again stating that he was
 seeking a jurisdictional hearing. IAF-0486, Tab 27 at 5. Thus, the administrative
 judge erred in proceeding to dismiss the appeals on jurisdictional grounds without
 a hearing. ID.
       We remand these cases for a jurisdictional hearing, so that the appellant
 may have an opportunity to explain, and present evidence in support of, the
 above-noted nonfrivolous allegation. 10


 10
    The appellant argues that the administrative judge should have considered his
 argument that the proposed removal action was motivated by discrimination and
 retaliation under Title VII. PFR File-0486, Tab 1 at 2-3. However, the Board may
                          EXHIBIT
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                                                                                        10

                                         ORDER
       For the reasons discussed above, we REMAND this case to the Washington
 Regional Office for further adjudication in accordance with this Remand Order.




 FOR THE BOARD:                               ______________________________
                                              William D. Spencer
                                              Clerk of the Board
 Washington, D.C.




 consider a claim of discrimination under Title VII only after a finding of jurisdiction is
 made. Cruz v. Department of the Navy, 934 F.2d 1240, 1245 (Fed. Cir. 1991) (en banc)
 (“The Board has not been granted jurisdiction over Title VII claims . . . unaccompanied
 by an appealable action over which the Board does have jurisdiction.”); see Schmittling
 v. Department of the Army, 219 F.3d 1332, 1336-37 (Fed. Cir. 2000) (the Board must
 first address the matter of jurisdiction before proceeding to the merits of the appeal).
                          EXHIBIT
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   Mr Perry: If you are asking for my position on your proposed motion, I will provide you with
   the courtesy of a response.

   My response is that I have already requested that both parties be allowed to conduct
   discovery on the limited issue that the Board remanded to the Administrative Judge. To the
   extent that you are asking the AJ to allow you to conduct discovery on issues beyond the
   issues remanded to him, the Agency would object. With respect to any of your specific
   requests laid out below, generally, objections would be made at the time that the requests
   are propounded to the Agency. However, as none of your requests seem to bear upon the
   issue of the voluntariness of the settlement agreement, the Agency again objects to your
   request to attempt to conduct discovery on issues that are no longer a part of this case.

   Adam Chandler



   -----tonywpy@aol.com wrote: -----
   To: adam.a.chandler@census.gov, tonywpy@aol.com
   From: tonywpy@aol.com
   Date: 06/28/2013 10:06AM
   Subject: (Untitled)

   Mr. Chandler,

   This is to inform you that I intend to file a motion for:

   1. discovery of all meetings held by the Deciding Official and all of the meeting notes,
   correspondence and other notations and communications of the Deciding Official used to reach the final
   decision in the proposed removal.

   2. discovery of personnel policy that provided the authority to Darren Gutschow to propose my removal
   from the federal service.

   3. discovery of the agency policy that provides the authority and to whom does it provide the
   authority to use of badge scans to impose any penalty on federal employees.

   4. discovery of all IT badge scans and corresponding leave requests for all GS-12, GS-13, GS-14, and
   GS-15 and higher for the same period for which the badge scans for Anthony Perry were extracted.

   5. Dale R. Reed's staff of record 2 years prior and for 1 year after the coerced retirement of Anthony
   Perry.


   Sincerely,


   Anthony Perry




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                          EXHIBIT
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   Index E

       1.    Non-selection     History and Non-competitive      Promotion   pgs E1-E22




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               AnthonyW                                 To    Carol M Van Horn/DIR/HQ/BOC@BOC
               Perry/CSO/HQ/BOC
                                                         cc   Anthony W Perry/CSO/HQ/BOC@BOC
               04/14/2003   12:05 PM
                                                        bcc

                                                   Subject    Interview for ADC for Geographic   Program Management




  I want to thank you for interviewing me for the position of Assistant Division Chief for Geographic Program
  Management. I hope you would agree that I have continued to prepare myself for senior level management           here at
  the Bureau of Census.                                                                      .

  I have given additional thought to your question I did not answer about an innovative solution I used to solve a
  problem. I would suggest that as the Client Support Office Change Agent and lead for the Organizational
  Assessment Action Planning Team, I had to get division employees over whom I exercised no management control
  to constructively participate in this six-week effort. Additionally, I was a relatively new employee to the division at the
  time. The goal of the effort was to provide management feedback about the organizational strengths and challenges
  from the employee's perspective and make recommendations to address those challenges.

  The major hurdle was to figure out how to get constructive participation from relatively disinterested personnel.
  There was resistance among many employees to participate. Often quoted were statements like, "we have seen this
  before and nothing was done", "here we go again", or "why are we wasting our time with this, no one is going to do
  anything about it". To accomplish the goal, I encouraged several informal leaders in the rank and file to participate,
  expecting that their participation would interest others to participate or that they would suggest to others reluctant to
  participate that they ought to give it a try because of my stated commitment to do everything in my power to get
  management to address their concerns. The strategy paid off. The team effort resulted in a very solid action plan.
  Management action was taken or explanations provided for each of the concerns that received consensus from the
  group.




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                Glenda Craney                         To Anthony.W.Perry@census.gov
                <glenda.j .craney@census.go
                v>                                     cc glenda.j .craney@census.gov
                                                     bcc

                                                 Subject eS@-03-1016-KK



  MEMO: Anthony Perry
  FROM: Kathleen Koral

  Thank you for your application                for the Vacancy          Announcement      Number:
  CEN-03-1016-MK

  position Title: Program            Manager
  Series-Grade:0340-15

  You were determined to be qualified for this vacancy,                           however     you were
  not selected in competition with other candidates.

  We appreciate your interest in applying for this vacancy.  Please do not
  hesitate to apply for future vacancies for which you are qualified.




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                 AnthonyW                                     To   Richard W Swartz/DIR/HQ/BOC@BOC
                 Perry/CSO/HQ/BOC
                                                              ce Anthony W Perry/CSO/HQ/BOC@BOC
                 06/17/2004 09:24 AM
                                                             bee
                                                        Subject




 Thank your for the interview. It was as an opportunity to express my continued preparation to assume increasing responsibility and
 leadership at Census. As you know, my preparation has included a plethora of training, formal and informal. I have spent the last
 10 or more years specificially preparing for senior management responsibility. As I stated, I think employees are the most valuable
 asset that a manager has. Without them working for you and not against you, it is difficult or impossible to deliver.

 In July, I will graduate from the Federal Government's CIO Certificate   Program at the University of Maryland.   Next summer, I expect
 to receive an Executive Master of Science in Information Technology,     also from the University of Maryland.

  I believe the combination of technical and business training places me in an advantageous position and in a position that will allow
  me to contribute to the mission of the IT Directorate in specific and possibly Program Area IT positions as well. I know I am ready
  and that it is time.

  Thanks again for taking the time to talk with me about the job in SSD. Looking forward, please keep me in mind as other
  opportunities come availabie in IT related areas at the Bureau where your recommendation might be vaiuable.




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                Rose M Keller/HRD/HQlBOC               To Anthony.W.Perry@eensus.gov
                06/25/200412:49   PM                    ee
                                                       bee

                                                  Subject    CEN-04-2097-AYM




                    Alice Y. Macklin
                    Human Resources Specialist


  Thank you for your application for the Vacancy Announcement Number: CEN-04-2097 -AYM
  Position Title: Supervisory Information Technology Specialist (Systems Analysis)
  Series-Grade: GS-2210-15

  You were determined to be qualified for this vacancy, however you were not selected in
  competition with other candidates.

  We appreciate your interest in applying for this vacancy. Please do not hesitate to apply for
  future vacancies for which you are qualified.




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                Arnold A
                Jackson/DMD/HQ/BOC
                11/02/2004 10:54 AM
                                                     bcc

                                                 Subject   Re: FYI




  Sent from my BlackBerry Wireless Handheld
     Anthony W Perry

         From: Anthony W Perry
         Sent: 11/02/2004 09:37 AM
         To: A~~0~~ A Jackson/DMD/HQ/BOC@BOC
         Subject: FYI

  Mr. Jackson, I interviewed wI Bea Parker yesterday. The interview went well. However, she stated their
  were 9 highly qualified applicants so I don't expect to get the call realistically.    Below, I sent this
  message to Rick because Tom Meerholz is in the process of reorganizing CSO. There will be 3 GS-15s
  created and several more branch chief positions.      I am only interestsed in one of the 3 ADC positions.
  Rick told me to come by and see him when interview for Munsey's old job.            This is my follow through
  with him.

  There is one ADC job opportunity he is requesting that I really highly qualify for. I want it and will pursue it
  vigorously.
  Please touch basis wI Rick sometime in the next couple of months. Note that Meerholz does not like his
  managers discussing his plans external to his organization so discretion is in order on my part and yours.
  I know you understand.




  Tony
  ----- Forwardecl by Anthony W Perry/CSO/HQ/BOC     on 11/02/2004 09:29 AM -----

               Anthony W Perry                To: Richard W Swartz/DIR/HQ/BOC@BOC
               11/02/200408:47   AM            cc:
                                         SUbject: Request For Half Hour Meeting wI You




  Sometime within the next 3 weeks, I would like to talk with you per my interview in your office several
  months ago. You suggested I come see you and would like to follow up on that. The topic is one that was
  mentioned in our meeting.




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               Rose M Keller                      To: Alice Y Macklin/HRD/HQ/BOC@BOC
               11/04/200408:17     AM             cc:
                                             Subject:   Re: BH~-04-2178-AYM




               Anthony W Perry                    To: Rose Keller <rose.m.keller@census.gov>
               11/04/200408:13     AM             cc:
                                             SUbject: Re: BH6J"-04-2178-AYMtIJ




  Thanks.
  Rose Keller <rose.m.keller@census.gov>


                Rose Keller                       To: Anthony.W.Perry@census.gov
               <rose.m. keller@census.            cc:
               gOY>                          SUbject: (8):EN-04-2178-AYM
                11/03/200404:15    PM




   From:               Alice Y. Macklin
               Human    Resources Specialist


   Thank you for your
   @cmN'-o4-2178-AYM
   position Title:                Supervisory       Information        Technology     (Sys Analysis)
   Series-Grade:               GS-2210-15

   You were determined to be qualified for this vacancy,                              however     you were
   not selected in competition with other candidates.

   We appreciate your interest in applying for this vacancy.  Please do not
   hesitate to apply for future vacancies for which you are qualified.




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                AliceY
                Macklin/HRD/HQ/BOC
                                                         cc
                11/04/2004     10:15 AM
                                                        bcc
                                                    Subject Re: CEN-04-2178-AYMD




   Not trying to tow a hard line here but the placement has not been made official. Once that is done a
   message will go out.




   Alice Y. Macklin
   Human Resources Specialist
   Department of Commerce
   Bureau of the Census
   301-763-9629




               Anthony W Perry                  To: Alice Y Macklin/HRD/HQ/BOC@BOC
                11/04/200409:03    AM           cc:
                                            SUbject: Re: @EiN-04-2178-AYMD

   I thought non selected persons could request the name of the selected person.          I can wait for the
   announcement if that is not the case.

   Thanks.
  Alice Y Macklin


               Alice Y Macklin                  To: Anthony.w.Perry@census.gov
                11/04/200408:22    AM           cc:
                                            SUbject: Re:@EiN-04-2178-AYMD




   Can you please tell me the purpose of your question? The selectee will be announced within the Branch
   at the appropriate time. HR does not normally give that information out.




   Alice Y. Macklin
   Human Resources Specialist
   Department of Commerce
   Bureau of the Census




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                                                                                                              ,,~. ~()lJ4.
                                                                                                       resuTme, job
                                                                                                     application
                        an     porting do~lI.D1eIltsth.ey would like to keep .for their personal records before
                         the December 22, 2004 shutdown date. AU applicant information will be retained
                                         by the Human Resources office as appropriate.
                                                        Click here fiJr help on this screen.



                                   Application                                                         Position

             10/07/2004 VIEW
             SUbmitt~d                                                 .
                                                                           CEN-04-2178-AYM (closed)
             Y()ur Merit a,pplication ha,s been referred to the            SUpyrvisory Information. TeGhnQ10gySpycialist (S:
             selecting official.                                           Analysis)
             Action complete - selection made.

             08/0212004 VIEW                                               MBDA-04-219.-TS (closed)
             Submitted                      .                              Chief Information Officer

             05/19/2004 VIEW
             Subn)itted                                                    CEN-04-2097 -AYM (closed)
             Your Merit application has been referred to the               Supervisory Information Tecbnology Specialist (S:
             selecting official.                                           Analysis)
             Action complete - selection made.

             01130/2004 VIEW
             Submitted                                                     CEN-04-2006-CH (closed)
             Your Merit application has been referred to the               Supervisory Information Technology Specialist (S:
             selecting official.                                           Analysis)
             Action complete - selection made.

             01123/2004 VIEW
                                                                           CEN -04-1006- KK. (closed)
             Incomplete
                                                                           Program Manager
             Action complete - selection made.

             0911212003 VIEW
             Submitted                                                     CEN-03-1149-KK (closed)
             Your Merit application has been referred to the
             selecting official.
                                                                           Program Manager
             Action complete - selection made.

             0611012003 VIEW                                               CEN-03-2035-CH (closed)
             SUbmitted                                                     Supervisory Information Technology Specialist (S:
             Action complete - selection made.                             Analysis)



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        04/22/2003                        VIEW
                                                                                      CEN-03-202l-SB    (closed)
        Withdrawn
                                                                                      Financial Systems Officer
        Action complete                         - selection made.

        04/22/2003                        VIEW
                                                                                      CEN-03-2023-SB    (closed)
        Withdrawn
                                                                                      Supervisory Budget Analyst
        Action complete                        - selection made.

        04/22/2003                        VIEW
        Submitted                                                                     CEN-03-2022-SB    (closed)
        Your Merit application has been marked 'Not Eligible'.                        Supervisory Budget Analyst
        Action complete - selection made.

        03/26/2003                        VIEW
        Submitted                                                                     CEN-03-10l6-KK           (closed)
        Your Merit application has been referred to the
                                                                                      Program Manager
        selecting official.
        Action complete - selection made.

        05/15/2002                        VIEW
        Submitted                                                                     CEN-02-4020 (closed)
        Your Merit application has been referred to the                               Supervisory Information         Technology          Specialist   (S:
        selecting official.                                                           Analysis)
        Action complete - selection made.

        02/08/2002                        VIEW
                                                                                      CEN-Ol-3099 (closed)
        Submitted
                                                                                      Supervisory Computer Specialist             (Systems Analys'
        Action complete - selection made.

        07/10/2001                        VIEW
                                                                                      CEN -01-4018 (closed)
        Submitted
                                                                                      Computer Specialist (Systems Analysis)
        Action complete - selection made.

        07/03/2001                        VIEW                                        CEN-01-4021 (closed)
        Submitted                                                                     Supervisory Computer Specialist             (Programming         &
        Action complete - selection made;                                             Analysis)

        07/03/2001                        VIEW
        Submitted                                                                     CEN-01-4020 (closed)
        Your Merit application has been referred to the
                                                                                      Computer Specialist (Systems Analysis)
        selecting official.
        Action complete - selection made.

             I/n,'ll H VIE\V
        '.                            .                                                    n-4019 (closed)
                                                                                      rpi\.T
        Your Merit application has been referred to the
                                                                                      Computer Specialist (Systems Analysis)
        selecting official.
        Action complete - selection made.

        03/22/2001                        VIEW
        Submitted                                                                     CE:N -01-1025 (closed)
        Your Merit application has been referred to the
                                                                                      Computer Specialist
        selecting official.
        Action complete - selection made.

        03/21/2001                        YIE--"W
             ,,!"J''"'' :: •.;_••..
                                                                                      CEN      -        ', ,     n)

    j                                                                                                                                ;-




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      Your Merit application has been referred to the            Computer Specialist
      selecting official.
      Action complete - selection made.

      03/21/2001 VIEW
                                                                 CEN-iU-I022 (closed)
      Your Merit application has been referred to the
      selecting official.
                                                                 Program Manager
      Action complete - selection made.

      02/26/2001 VIEW
      Submitted                                                  CEN-01-3026 (closed)
      Your Merit application has been referred to the
                                                                 Computer Specialist (Systems Analyst)
      selecting official.
      Action complete - selection made.

      10/13/2000 VIEW
                                                                 CEN-00-3057 (closed)
      Submitted
                                                                 Supervisory Computer Specialist (Systems Analys
      Action complete - selection made.

      10/13/2000 VIEW                                            CEN-00-3056 (closed)
      Submitted                                                  Supervisory Computer Specialist (Systems Analys
      Action complete - selection made.


                                            Supporting Documents:
Note: If you have faxed in supporting documents, yet don't see them below, please allow two business d;
    time of your fax. Not all vacancy announcements require supporting documents. Please review the'
  announcement for all requirements. You must use the "COOL FAX Cover Sheet for Supporting Do
                                         whenever you fax in documents.




 If you need help on your use of Commerce Opportunities On-Line, you can contact the COOL Help Desk by phone at 1-80C
   bye-mail at the COOL HELP@DOC.GOV address. The help desk is available MONDAY - FRIDAY, 8:00 AM to 4:00 ]
 Time). You may call and leave a voice mail message at all other times. Voice mail messages and e-mails will be responded
                                                                possible.

                                            Commerce Opportl1nitie~ On-Line Privacy Statement
                    This site is maintained by the Department of Commerce, Office of Human Resources Management.




                                     COOL will shut down December 22, 2004.
                        Applicants will not be able to access COOL after December 22, 2004.
                Applicants are advised to print any vacancy announcements, resume, job application
                and supporting documents they would like to keep for their personal records before
                 the December 22, 2004 shutdown date. An applicant information will be retained
                                   by the Human Resources office as appropriate.

                                                          Press "Ctrl-P" to Print
                                                   Press "Ctrl-C" to Copy Selected Text
                                                     Press "Ctrl- V" to Paste at Cursor


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                AnthonyW
                Perry/CSO/HQ/BOC
                                                      cc
                OS/23/2005 02: 13 PM
                                                     bcc
                                                 Subject Interview


   Thanks again for taking the time to interview me for the TCO Division Chief vacancy. Per our discussion,
   I will put together a short power point presentation on organizational behavior along with references used.
   The notes pages will contain the detail to the bullets in the presentation. In the meantime, take a look at
   this presentation on leadership from the CIO section and material in the Executive Master of Information
   Technology Program.




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                AnthonyW
                Perry/CSO/HQ/BOC
                                                          ee
                07/22/2005     10:46 AM
                                                         bee

                                                    Subject    Hope The Off-Site Was Useful


   Rick, per our several conversations      in the recent path, I remain interested in working and contributing at
   the next mgmt. level at the BOC.




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                AnthonyW                                To Arnold A Jackson/DMD/HQ/BOC@BOC,           Richard W
                Perry/CSO/HQ/BOC                           Swartz/D IR/HQ/BOC@BOC
                03/27/200602:41    PM                   cc Anthony W Perry/CSO/HQ/BOC@BOC
                                                       bcc

                                                   Subject   Received Call




   Gentlemen, I received a call last week stating my non-selection for the FDCA position. The grapevine
   states that Rob Soper was chosen, an interesting choice in itself, for a position that I had to be highly
   qualified for having done that work in the not so distant past. That raises the number to approximately
   thirteen or so Information Technolgoy grade 15s since 2001 that I've applied for here that someonelse has
   been selected. I am very dissappointed.




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                susan. m.howery@eensus.go             To   anthony.w.perry@eensus.gov
                v
                                                      ee
                04/03/2006 11 :49 AM
                                                     bee
                                                 Subject   DSCMO-2006-0019-M-KK




   Thank you for your application for Vacancy                      Announcement         Number:
   DSCMO-2006-0019
   position Title: Program Manager-GG-0340-15t                      CENSUS-M-KK
   Series-Grade:   GS-0340-15

   You were determined to be qualified for this vacancYt                          however     you were not
   selected in competition with other candidates.

   We appreciate your interest in applying for this vacancy.  Please do not
   hesitate to apply for future vacancies for which you are qualified.


   SincerelYt
   Kathleen Koralt
   U.S. Census Bureau
   U.S. Department of Commerce




                                                                                                         '~"1       ~




                                                                                                         Jf=::Jt

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                Anthony W                            To tonywpy@aol.com, Anthony W Perry/CSO/HQ/BOC
                Perry/CSO/HQ/BOC
                                                     cc Anthony W Perry/CSO/HQ/BOC@BOC
                12/12/200608:19 AM
                                                    bcc Anthony W Perry/CSO/HQ/BOC
                                                Subject




   I am distraught that my request to discuss with you what I perceive to me to be life and career altering
   events by decisions made by Tom Meerholz upon the reorganization of CSO has remained open without a
   meeting scheduled. As a longterm employee in IT, fUlly trained and complient with Clinger-Cohen
   competencies among others, I have been. subordinated to a newly arrived employee to LTSO by way of
   reorganization. And you should know I have been disinvited to LTSO Sr. Staff meetings to boot. That is
   not a big deal as such. After nearly two years of receiving little or no-value assignments, my first meeting
   with my new branch chief I was given no less than four or five major tasks/projects.   Tom stated to me
   that he didn't feel he could give me more than one assignment at a time and in my first meeting with the
   new Branch Chief I get five.

   I have been again denied training on the premise that I have had my fair share of training here. As if my
   training on 3Com EtherSeries network software and other topics prepares me to do the jobs of today
   dealing with Grid, Nano, and Qubic computing, Artificial Intellience, Biometric and other Security
   processes. Rick I have spent more than $100,000 of my own money to educate myself. The government
   offers job related training benefits to its employees. I dont see the problem. Others are being quietly
   trained to "catch" for their lack of training and then they are going to be leapfrogged past me a longterm
   directorate employee fUlly trained, anxious to train and even more anxious to implement such training.
   What is playing out is a travesty and I would have never thought knowing you from the past that you would
   allow this kind of management in an organization you headed. Even with this, I am ready and willing to
   work in this organization at the GS 15 level in THIS organization.

   Please schedule a meeting to discuss this as soon as is possible. The longer I am kept out of the Sr Staff
   environment the easier it will be to let what is happening to me stand.




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                   "Cohen, Michael"                        To "Cohen, Michael" <niCohen3@doc.gov>
                   <mCohen3@doc.gov>
                                                           cc
                   01/08/200803:33   PM
                                                          bcc
                                                      Subject ELDP-4 Interviews




      Congratulations! After a careful review and validation panel, your application was selected to interview for
      the ELDP-4 program. In addition, you will have an opportunity to participate in the ELDP Assessment
      Process which will be held on February 12 and 13 in room 6800 of the HCHB (additional
      information will be forthcoming). Please keep this time open so you can attend the one half day
      Assessment     Process (the 3'd and final stage of the selection process).

      The following is the interview schedule. If you are a field personnel, please provide a phone number in
      which we can conduct a conference call. Field personnel must attend the assessment process in person.
      There are no exceptions. If you must travel in on a specific day we can set aside a specific day for you.

      Please look for your last name below to determine your time, date and room number for the interviews.
      Email addresses have been placed in the BCC line of this email in order to preserve privacy.

                                                                                                            th
      Please note that all rooms are located in the main Commerce Building (HCHB) located at 14 and
      Constitution Avenues, N.W. The HCHB is easy access from the Metro Federal Triangle Station. Simply
      exit the station, follow signs to the Ronald Reagan Building food court - enter the double doors at Subway
      Subs, and continue toward the cafeteria. Room B831A is the first small room next to the elevators just
      prior to entering the hallway with the cafeteria and the credit union. Please bring your badge to gain entry
      to the building. We will not have staff available to escort individuals into the building.

      There is nothing specific you need to do to prepare. However, please note that the ELDP program, like all
      of our leadership programs, is based on 5 ELDP competencies. As a reminder, these competencies are
      human resources, decisiveness, creativity and innovation, conflict management and
      infl uencing/negotiating.

      If you have conflicts on the schedule below, please let me know as soon as possible so that I may make
      adjustments.




      9-10 am -- Feng
      10-11 am - Barnes
      11-12 noon - Ribarsky
      1-2 pm - Grant
      2-3 pm - Perry
      3-4 pm - Rill


      Please see my contact information below if you have any questions or issues. This is a high priority and
      therefore I attempt to keep in constant contact with you throughout the upcoming process. You may also
      email me at my alternate email address noted below which I review at home in the evenings. So if you
      have an emergency the night before, please do not hesitate to email me at this address. Also, in the
      event of snow, we will follow the OPM guidelines. If the government is closed or there is a delayed
      opening, then interviews will be cancelled for closure days or for the time the work hours are delayed.




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                     Blacks in Government, Suitland Federal Center Chapter
                                                                                                  Street Address
                                                                                             Apartment Number
                                                                         City, State/Province ZIP / Postal Code
                                                                                          Phone: (111) 123-1234
                                                                                 Email: yourname@yourisp.com




   Honorable William Clay
   Chairman, House Oversight Committee for Census and etc.
   Street Address
   Apartment Number
   City, State/Province Zip/Postal Code

    Re:     Abusive Violation of Merit Promotion Principles through the Repetitive Use of Non-
            competitive Promotions




   We, a group of black employees of the Census Bureau and members of the Suitland Federal Center
   Chapter of Blacks in Government, are being prevented from competing for merit promotions at an
   alarming rate and will be negatively impacted and excluded from positions of leadership and authority for
   another generation at least. In place of fair and open competition for merit and competitive positions,
   some Census managers have resorted to a near exclusive use of non~competitive assignment of white
   employees to leadership positions at Census. In enough cases to be concerned, several of these
   employees being non-competitive promoted have only high school degrees and would be unable to be
   hired off the street into these professional Information Technology 2210 positions. The lack of the math
   and statistic requirements would prevent them from making the certification list.

   As we followed the hearings held before your committee earlier this year about the so called lack of
   qualified blacks for senior management at the Bureau, we watch college degreed black employees from
   the likes of Old Dominion, Duke, North Carolina A&T, Maryland, Delaware, Texas, to name a few,
   repeatedly bypassed for promotion and assignments in favor of former secretaries and administrative
   persons and several high school graduates given critical assignments related to information technology,
   including systems analysis, design, deployment, and project management.

    Also, we have followed over the years events such as the investigations into the lost and stolen laptops
    and other IT equipment, the management failures of FDCA, and budget and planning failures, so too
    should the mismanag~~ment of a major portion of the Bureau's human capital pool, black employees,
    relegated to 2nd and 3'd tier project and task support personnel. Again, I am speaking of college educated
    black employees with fifteen or more years of experience and institutional knowledge relegated to no more
    than administrative support roles at Census. We also allege that this plight is primarily due to the
    discriminatory hiring and promotion practices of white Census managers and we are voiceless in our
    ability to address exce~ptfor the drawn out and expensive EEO process.

    We need action now. We need these issues addressed now. The use of personnel loopholes to fill these
    professional positions with non-professional employees damages qualified employees and damages the
    Bureau's ability to perform its mission in accordance with executive directives. We would like to contact
    you to discuss further what can be done to assure Census Bureau managers abide by affirmative action
    guidelines and merit system principles including fair and open competition for professional positions.




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   Very truly yours,

   (sign name here)


   Blacks in Government,
   Suitland Federal Center Chapter




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                AnthonyW
                Perry/CSO/HQ/BOC
                07/11/200712:02     PM
                                                         bcc
                                                     Subject Fw: Deputy Chief Information Officer,
                                                             OS-CIO-011-2006-DHP




                Anthony W
                Perry/CSO/HQ/BOC                          To DHoweIiParker@DOC.GOV
                09/12/200605:07     PM                    cc tonywpy@aol.com, Anthony W Perry/CSO/HQ/BOC@BOC
                                                     Subject Deputy Chief Information Officer, OS-CIO-011-2006-DHP




   see attached technical qualifications and ECQs for job announcement for Deputy Chief Information
   Officer,
   OS-CIO-011-2006-DHP.      Also, I was concerned about the format of the resume if sent as an attachment.
   Therefore, my resume was submitted on-line. The submission confirmation is below.




                "USAJOBS"
                <route@fedjobs.gov>                       To <anthony.w.perry@census.gov>
                09/12/2006     02:43 PM                   cc




   This message is to confirm that your resume has been sent to the employer you
   requested.   Please read the vacancy announcement carefully.    Submitting your
   resume may not be the only step in the application process. Make sure you
   complete anyon-line    assessment questions, if applicable, and send all the
   required    supplemental documentation.    Following are some details for your
   records.   Remember, we also keep an online record for you within your USAJOBS
   account (https://my.usajobs.opm.gov/manageapps.asp).




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   Job Title: Deputy Chief Information                Officer
   Agency Name: Department Of Commerce
   Duty Location: Washington, District                of Columbia
   Title of Resume: AWPerry08-29




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       Subject: U.S. Department of Commerce - Senior Executive Service Non Selection
                Deputy ChiefInformation Officer Position


       This letter is to update you regarding the status of the Senior Executive Service, Deputy
       Chief Information Officer Position, Announcement Number OS-CIO-Oll-2006-DHP,
       Office of the Chief Information Officer, Office of the Secretary.

       This highly visible senior executive leadership position resulted in attracting a
       voluminous and extremely high caliber of candidates, with exceptional managerial and
       technical qualifications.

       You were considered for this Deputy Chief Information Officer position, however,
       Mr. John W. McManus was selected to fill the position after an extremely competitive
       process.

        We thank you for your interest in the position of Deputy ChiefInfonnation Officer and
        encourage you to apply for other senior executive employment opportunities with the
        Department.




                                                                       /s/ (j)enise J{oweC{Parkgf
                                                                       Denise Howell Parker
                                                                       Human Resources Specialist




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       1.   Repetitive Unfair Performance Evaluations To Create Fraudulent Failure To Perform Pending
            Before the EEOCat the Time of Fraudulent Misconduct Charge and Unlawful Non-disclosure
            Agreement Causing Disposal in Violation of EEOCPolicy Guidance      pgs F1-F23




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                 Anthony W                                 To    Alphonso R Danner/HRD/HQ/BOC@BOC
                 Perry/CSO/HQlBOC
                                                            cc   Anthony W Perry/CSO/HQ/BOC@BOC
                 11/14/200709:49      AM
                                                          bcc

                                                      Subject    Fw: Formal Request For Reconsideration   of Rating


   Per our conversation, this was the email I sent to both my rating official and authorizing official. Before
   sending, I verbally requested that my rating official reconsider the evaluation because some of the work I
   performed was inadequately acconted for in my evaluation. After approximately three days, I sent the
   formal request to the authorizing official.

   Thanks.
   ----- Forwarded by Anthony W Perry/CSO/HQ/BOC          on 11/14/200709:45   AM -----
                 Anthony W
                 Perry/CSO/HQ/BOC                          To    Thomas J Meerholz/CSO/HQ/BOC@BOC
                 11/07/200711      :20 AM                   cc   Dale Richard Reed/CSO/HQ/BOC@BOC,       Anthony W
                                                                 Perry/CSO/HQ/BOC@BOC
                                                                 Formal Request For Reconsideration of Rating




   As I understand the HR regUlation regarding the subject of this email and which must be requested within
   5 working days of the performance evaluation, I believe, I am requesting a formal reconsideration of the
   rating I received on Monday. I made the request to my supervisor but I understand a formal request must
   be made to the authorizing official.




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                AnthonyW                               To Dale Richard Reed/CSO/HQ/BOC@BOC
                Perry/CSO/HQ/BOC
                                                        cc Anthony W Perry/CSO/HQ/BOC@BOC
                11/20/200709:22   AM
                                                       bcc
                                                  Subject Per My Request for Formal Reconsideration of Evaluation




  Mr. Perry performed the quarterly request and submission of the Activity-Based Cost data with unusually
  good performance. He consistently requested the information timely and voluntarily sent periodic
  requests or reminders for data prior to date due. On a quarterly basis, he consolidated the submission of
  the eight Branch Chiefs while verifying and validating each branch's submitted data. Submissions sent
  forward were accurate, thorough and reliable. Knowledge and skill applied to this element are clearly
  above average. The work submitted by Mr. Perry rarely if ever required revision or corrections from the
  receiving organization. When notified by Branch Chiefs that their submission might be delayed because
  of other workplace demands, Mr. Perry often completed their submissions for them to meet data call
  deadline. Exceptions for meeting due date for submission has only happened when causes were outside
  of Mr. Perry's control. Mr. Perry understands and has communicated the value and importance of ABC
  data requests, completes the assignment regularly without assistance or guidance from supervisor and
  has worked successfully with co-workers to complete requests. There is never a need for supervisory
  intervention except to remind other employees of the importance of submitting data requests in a timely
  fashion. Mr. Perry has looked to ease the reporting burden of this task by suggesting automating the ABC
  data collection where feasible.




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                Anthony W                              To Alphonso R Danner/HRD/HQ/BOC@BOC
                Perry/CSO/HQ/BOC
                                                        cc Anthony W Perry/CSO/HQ/BOC@BOC
                11/26/200710:38   AM
                                                      bcc
                                                  Subject Re: Fw: Formal Request For Reconsideration of RatingLJ




  Mr. Reed reconsidered my evaluation and accepted my identification of the level of work and my
  recommendation for reconsideration.      Although, the request for formal reconsideration is supposed to be
  addressed by the authorizing official, I will accept Mr. Reed's revised rating this time.




  Tony
 Alphonso R Danner/HRD/HQ/BOC


                Alphonso R
                Danner/H RD/HQlBOC
                11/26/2007 09:07 AM                     cc
                                                  Subject Re: Fw: Formal Request For Reconsideration of RatingLJ




  I will forward this to Felecia Newman who handles performance for her records and keep a copy on file in
  my records. Let me know if you have any other questions or concerns.



  Alphonso R. Danner
  Human Resources Specialist
  Employee Relations Branch, Human Resources Division
  U.S. Census Bureau
  4600 Silver Hill Road, HQ-2K040B
  Suitland, MD 20746
  Phone: (301) 763-3715      Fax: (301) 763-7455




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                          u.s. DEPARTMENT OF COMMERCE
                            OFFICE OF THE SECRETARY
                        OFFICE OF CIVIL RIGHTS, HCRB 6012
                               WASHINGTON,             D.C. 20230




              LAN Technology Support Office (LSTO)
              Office of the Associate Director for Information Technology
              U.S. Census Bureau
              U.S. Department of Commerce
              Suitland, Mary land




              Russell L. Valentine, Jr.
              International Civil Rights Investigations and Settlements Project
              23679 Calabasas Road,
               Box Number 128
              Calabasas, California 91302




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              Complainant, a Computer Specialist, G8-2210-14/7, .vith the LAN
              Technology Support Office, U.S. Census Bureau, alleges that due to his
              race (Black/African-American), age 52; (DOB: January 29, 1956) and in
              retaliation for his prior EEO activity (Complaint Numbers 07-63-00080
              and 07-63-00145):

              1. Since February 2007, Meerholz has refused to assign him to office
              accommodations equivalent to other OS-14 Supervisory IT Specialists.

              2. On November 30,2007, he received an overall Level 3 performance
              evaluation for his FY -07 performance evaluation resulting in his receiving a
              lesser bonus amount.

              3. On December 26, 2007, he learned that he was not selected for the
              position of Supervisory IT Specialist, GS-2210-15, Census-M-ALD,
              advertised under Vacancy Announcement No. LTSO-2007-0013.

              4. On December 26,2007, he learned that he was not selected for the
              position of Supervisory IT Specialist, G8-221O-15, Census-M-ALD,
              advertised under Vacancy Announcement No. LTSO-2007-15.

              5. Meerholz excludes him from serving as Acting Chief and refuses to
              provide him opportunities to act or temporarily occupy vacant positions of
              authority in the LAN Technology Support Office. He cites the following
              examples:
                  a. Effective December 23, 2007, Theresa Toole was appointed as
                     Acting Chief, Systems Architecture Branch.
                  b. During the period December 20, 2007 through January 4, 2008,
                     Jason Schaufele was detailed to the Customer Assistance Branch.
                  c. During the period December 21-23, 2007, Dale Reed, Catherine Le
                      and Eugene Hellams served as Acting Chief.




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              6. On May 29,2008, he learned that the position of Chief, LAN
              Technology Support Office, was filled without being advertised, thus
              preventing him from competing for the position.




              •    Return Ms. Musselman to the now vacant position of ADC, Customer
                   Service or Chief, Desktop Management Branch, and place Complainant
                   in the position of Chief. LTSO at the grade of GS-15/7 or GS-15 plus
                   at least 3 steps above the grade of Ms. Mussehnan and/or Mr.
                   Schaufele at the time of settlement of this case.
              o    Alternatively, create the position of a Supervisory Information
                   Technology Specialist at the grade GS-1517 in the IT Directorate and
                   place Complainant in this position.
              •    Upon application, place Complainant in the next DOC Senior
                   Executive Service (SES) Candidate Development Program and/or any
                   other executive leadership/management development training chosen by
                   Complainant.
              •    Alternatively, with Complainant's concurrence, place him in the next
                   vacant Information Technology Directorate Division Chief position at
                   the grade of GS-15/ 7 or at least 3 steps higher than Ms. Musselman or
                   Mr. Schaufele Complainant.
              •    Instruct LTSO and IT Directorate managers to use merit system
                   principles, affirmative action and diversity guidelines, and restrict their
                   ability to fill vaca.'1t leadership and authority positions non-
                   competitively when qualified black or other employees are available,
                   thereby giving all qualified personnel an equitable opportunity to act in
                   leadership vacancies before positions are :61Ied.
              .,   Office accommodations equivalent to those which LTSO and IT
                   Directorate GS-14 Supervisory IT Specialists had in February 2007.
               •   All discriminatory and retaliatory actions taken against Complainant
                   ended immediately.
               •   Back pay vvith interest from the earliest date the positions of Assistant
                   Division Chief, Customer Services and Assistant Division Chief,
                   Systems Architecture were filled or could have been filled in 2003 at
                   the grade and step Complainant could have achieved had he the
                   opportunity to compete for either of those positions.
               •   Reinstatement of all sick and annual leave taken in relation to
                   Complainant's pursuit of solutions for the discriminatory and retaliatory
                   actions taken against him.
               •   All expenses incurred in relation to Complainant's pursuit of solutions
                   for the discriminatory and retaliatory actions taken against him.




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            Complainant, an Information Technology Specialist, GS-2210-14/8, with the LAN
            Technology Support Office, US Census Bureau, alleges that due to his race (Black),
            age 53 (DOB: January 29, 1959) and in retaliation for his prior EEO activity:

            1.   On September      2, 2009, he learned          that     Patricia   Musselman,    Chief, lTSO, non-
                 competitively   placed another employee in the position of Assistant Division Chief for
                 Customer Service, depriving him of an opportunity          to compete for the position; and
            2.   On September 16, 2009, Musselman told him that she was denying his request to apply
                 for admittance to the Harvard Senior Executive forum.




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   supervIsor IS Dale Richard Reed, Chief, Business Planning Branch and my second level

   supervisor is Patricia Musselman, Chief, LAN Tech Support Office.



   I was denied the opportunity to compete and be selected for the position of GS-15 Assistant Division

   Chief(ADC),    Technology Support Office. (ADC, LTSO). This position was not announced formally

   under the Agency's Merit Promotion process; instead, Ms. Musselman reached outside the organization

   and non-competitively       selected a younger white male (Mark Markovic); thus denying me the opportunity

   to compete and/or be selected for the position. I believe the Information Technology Directorate uses this

   method of filling positions to avoid having to select Black or other minority employees for leadership

   positions. For example, the position now held by Ms. Musselman was not filled via the Merit Promotion

   Process; she was non-competitively reassigned to the position of Chief, Teclmology Support Office, and

   she in turn, went outside the organization to non-competitively          fill the ADC LTSO position.




   It should be noted that the LTSO ADC position in question was announced competitively in 2007, that I

   applied for the position at that time, and was determined to be one of the three top contenders; however,

   Ms. Musselman was selected.         Then in 2008, when the position of Chief, Technology Support Office

   became vacant, she was non-competitively          placed in that position thus creating another vacancy which

   Ms. Musselman filled in early 2009 without using the merit promotion process.               At the time of this

   selection, I was away on a long-term training assignment for an entire year at the time; however, I was

   going into the office occasionally to take care of administrative business.          On Wednesday, September 2,

   2009, during a meeting with Ms. Musselman, I asked her if the position which she had vacated when she

   was reassigned to her new position was going to be posted; she responded that it was not and that she had

   already reassigned Mark Markovic to that position. When I asked her why the position had not been

   posted she responded that she did not wish to discuss the matter further. I think there is something wrong

   with the system being used to fill positions in the Information Technology Directorate which excludes

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   Blacks and other minorities who are qualified to compete for promotions.      Spcifically, I believe I am

   more than qualified to successfully perform the duties of the instant position; both from an academic and

   experience perspective; having worked in this field for 27 years. Academically, I earned a Bachelor of

   Science in Chemistry; Bachelor of Arts in Information Systems Science and a Masters in Business

   Administration from the University of Austin; as well as an Executive Master ofInformation           Technology

   and a Chief Information Officer Certificate from the University of Maryland, University College. I

   believe that Ms. Musselman reached out and selected someone from another organization to keep me

   from getting the job.




   In addition to being denied the opportunity to compete for the ADO LTSO position, Ms. Musselman

   denied me the opportunity to submit a training request to attend the Harvard Senior Executive Forum.

   On July 16, 2009 I informed Mr. Reed, my first level supervisor, of my interest in being considered for

   participation in this forum. A full justification and description ofthis training was provided. This was

   followed with various emails to Mr. Reed inquiring about the status of my request; he, in turn, forwarded

   my messages to my second level supervisor.       On September 16,2009, Ms. Musselman called me into a

   meeting where she informed me that she was denying my request. At this meeting, instead of discussing

   the overall benefits to the organization from my participation, she asked me how the training I had taken

   in the past contributed to the organization.   She failed to indicate a reason for denying my request. When

   I asked her specifically for a written justification for her denying me the training, she refused to do so.




   For the record, Ms. Musselman is fully aware of my prior EEO activity and I believe that the reason for

   denying me the opportunity to compete for the position of ADO LTSO and her refusal of my request to

   submit a training request for attendance at the Harvard Senior Executive Forum were in retaliation for my

   utilizing the EEO process.




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             I have read the above statement consisting of four pages. I declare under the penalties of perjury
    that my statement is true, correct and complete to the best of my knowledge and belief. I understand that
    the information I have given is not to be considered confidential and that it may be shown to the
    interested parties.




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       Anthony Perry
            v.
       United States Department of Commerce


       I, Anthony Perry, Information Technology Specialist, GS-2210-14, LAN Technology
       Support Office, United States Census Bureau, United States Department of Commerce,
       hereby solemnly swear or affirm:

       I am submitting this affidavit in response to questions by Investigator J.F. Deasel, to
       pursue my complaint of discrimination against the United States Census Bureau.




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       what the title entails, developing future executive leadership within the Department of

       Commerce.        The program is a competitive program accepting the top 30 candidates

       Commerce-wide.          The first time I applied for the program I was not accepted.              After I

       inquired about the possibility of Thomas Meerholz (management official and my current

       supervisor at the time) playing games with the selection process, I applied a second time

       and was subsequently accepted. Questions about my qualifications and the qualifications

       of others selected for acceptance to the leadership program may be available from the

       Department, agency or bureau for comparison of the candidates accepted to the program

       both years. Upon completion of the program, I was voted as the class representative by

       my classmates which included the responsibility to give a 3-5 minute speech on the

       benefit to me of this leadership development program.

                While working in the program I would report to my job at the Census Bureau and

       subsequently went to the Hoover Building of the Department of Commerce to work on

       various projects and assignments that was part of the leadership program.

                For the first 14-15 months of the program my work exclusively involved projects

       related to the program.        During the last three months of the program I again started

       working back at the Census Bureau performing my normal duties as an IT Specialist.

       However, I was still expected to complete the final requirements                   of the Leadership

       Development Program.

                Thus, beginning on April 2009, I was reporting on a daily basis to myoId job.

       For roughly the last six months of the rating period, I was available to work on any

       project or assignment given to me by Mr. Reed.




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       I have read the above statement, consisting of 4 pages, and I declare under penalty of
       perjury that it is true and complete to the best of my knowledge and belief I understand
       that the information I have given is not to be considered confidential and that it may be
       shown to the interested parties.




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       Performance Eval Writeup for Dale
       Anthony W Perry to: Dale Richard Reed
       Cc: Anthony Perry
       History:     This message has been forwarded.




   In the developmental assignment and the action learning assignment, each more than 120 days long, I
   was required to use project management techniques and communicate with the sponsor stakeholders
   throughout each.

   For the developmental assignment, which resulted in a critical deliverable, the organization's annual
   report to Congress about activities related to the mission of the ONABD, I created the project schedule
   and milestone schedule that included biweekly document reviews of the report drafts with the goal of
   acquiring senior management and Secretary of Commerce level approval in order to complete the final
   report by December 15, 2008. In the final phase, I provided comments to the final document editor for
   organizational specific document requirements.

   For the Action Learning Assignment, each team member was required to lead the project for two weeks
   and act as assistant to the project leader to deliver a Strategic Communications Plan. During my
   leadership term and since it was at the beginning of the project, I created the project work plan and
   schedule, the milestone schedule, the workbreakdown structure, and a standard data collection tool that
   was used by all team members during each person's data collection and assessment activities for the
   project. Below are comments from the project sponsor and see attached pdfs:



   Congratulations   on your graduation from the Department's  Executive Leadership   Development
   Program!    I was able to sit in on part of the graduation  ceremony this morning,   including Tony's
   remarks   (great speech, by the way) and am very proud and honored to have had the opportunity    to
   work with you over the past several months on the communications     project.  I hope you found the
   program rewarding and that you're out celebrating    all your accomplishments!

   I know Mary     Trupo, ITA's new Public Affairs Director, has a copy of your        work   and plans   to
   incorporate     it in to a communications plan for ITA, so kudos again!




   Best regards,
   Tu-Trang




   Both projects required extensive collaboration, consultation, and interaction with the customer starting
   with identification of need and defining the requirements to biweekly meetings to update sponsor on the
   progress of the project. Each project required a delicate management of the customer expectations
   guided by the organization culture and values, some which are different from the Census Bureau. I had to
   navigate a very sensitive position in interacting with ITA management and senior employees being from
   outside that agency. I could not go in projecting an attitude that I knew what it is they wanted but went in
   with the openness and an attitude of inquiry as to what it was that was needed.




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        Duty Station: US Department ofCommerce/MBDA
                       1401 Constitution Avenue NW
                        Room 5071
                        Washington, DC 20230

       Assignment:     Office of Native American Business Development,        Trade Promotion,
                       and Tourism




       Comments: This area was difficult to evaluate as a 5 only because there were limited
       opportunities to assess Mr. Perry in this area. He had no staff. He had few resources to use.
       However, in all areas where I was able to observe his interaction with management, with
       other employees out side of our area, and with the other members of our small agency, I
       saw that he had developed an excellent rapport. We met with industry leaders and the
       political leadership with the task of trying to gain their support for the Office of Native
       American Business Development, Trade Promotion, and Tourism.

       In those situations, I observed that Mr. Perry clearly demonstrates those characteristics that
       many "leaders" poses. He spoke clearly and influentially about our mission. He understood
       that many federal agencies and industry leaders were confused and uncertain about the role
       of the Native Americans in business. He provided opportunities for all sides to express their
       views. His sincere and intelligent approach when working with these groups was needed as
       we progressed in our tasks.

       As a final activity, we were able to convince the White House Intergovernmental  Office with
       our Commerce support to make a first visit to Oklahoma to meet with Indian leaders. Mr.
       Perry worked with the White House and our leadership to convince and direct this very
       successful activity to a good conclusion. It would not have happened without his hard,
       intelligent behind the scenes work. He took the initiative and worked hard to insure the
       success of this project.

       Mr. Perry has a    clearly defined code of ethics and understood where the office needed to go
       and was willing    to put in the time to make sure it happened. And it did. He helped change
       the perspective    of numerous federal officials and industry about Native American
       businesses. To     assist in changing others minds about issues is leadership that is valued.




        Comments: Anthony W. Perry is a man for all projects. He has a developed many
        competencies in this area that I found to be remarkable. One of our tasks was to write the
        draft of a report to Congress. The report was overdue by 7 years. It had been ignored. The
        request resurfaced after all those years and was suddenly a very "high" priority.

        Kay Bills
        202-550~9801
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       As we all know, a report to Congress has many fathers but only one mother. That mother
       was the Office of Native American Business Development, Trade Promotion and Tourism.
       Mr. Perry came in to put some much needed structure to the project and get it cleared by
       the many, many officials who censor and rewrite everything."

       The report had only two elements. One was to report on what the agencies (all federal
       agencies) had provided to support the Native Americans in the three areas of business
       development, promotion of international trade, and tourism activities. Unfortunately, the
       project had no recognized authority to query other agencies or staff or resources to draw on
       for the report. It was a challenge for Mr. Perry to work thorough these many logistics of
       space and authority. He did not falter in his steps toward getting the authority and
       resources to do the project.

       The second element to report was to identify barriers to Native American business
       development and make recommendations to Congress on legislation that could be enacted.



       The bottom line is that the report did get finished and approved. That only happened
       because of the project management competencies demonstrated daily by Mr. Perry. There
       were hundreds of items and many individuals to bring together for the report. None had
       been done before.

       Mr. Perry demonstrated ability to track and record and bring order to the chaos of the
       office. He gained the trust of the management to get the project cleared by the entire legal
       department and the Commerce Secretary.

       One of the key elements stressed in the report was the unique sovereignty status of the
       tribes. As many things later evolved, the new administration used part of that work to
       define a new executive order addressing that very issue.

       Summary:
       Mr. Perry can be very proud of the work he did on behalf of the many Indian Nations.
       Perhaps, you can now see why I hold him in high esteem and believe his outstanding work
       on this project should be recognized in his ratings.

       Kay Bills
       Office of Native American Business Development, Trade Promotion, and Tourism
       2005-2009




        Kay Bills
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     As per your request on December 17,2009, with regard to me providing feedback as to your
     involvement    in our Action Learning Project (ALPL please see the below write up of our work that I
     included in my end of program report. You could also attach a copy of our final report and presentation
     so that your supervisors can see the substance of our work product and explain what ITA leadership has
     since done with our project. It may also be worth pointing out to your supervisors that in addition to
     your critical involvement to our ALP team, you were also selected as our commencement speaker at the
     ELDPgraduation.




      ITA works with American business to promote free and fair trade and as a result, communication,          both
     within the bureau and to external stakeholders, is vital.     Since communication    is critical to a bureau
     focused on strengthening the    U.s. economy    through trade, a team of ELDPparticipants requested OPA's
     Acting Director Tu-Trang Phan and Acting Deputy Director Tim Truman to sponsor a study which would
      examine current ITA communications tools and mechanisms. The team was composed of eight
      participants with varied and diverse backgrounds from Commerce's fourth HOP class. Michael Cook
      and Anthony Perry are employed by Census; Mr. Cook works in the Communications Directorate, while
      Mr. Perry's expertise is in information technology and project management.         The rest of the team works
      in ITA: Paul Morris (Import Administration,   Office of Trade Remedy Compliance); Xiaobing Feng (U.s.
      Commercial Service, Advocacy Center). The remaining four participants work in the Manufacturing and
      Services Division: Ellen Bohon (Office of Energy and the EnvironmentL Pamela Green (Office of Financial
      Service Industries), Kit Rudd (Office of Transportation and Machinery) and Gerry Zapiain (Office of
      Health and Consumer Goods).

      The team's work consisted of two parts: an assessment of current communications          methods, and
      recommendations     in the form of a strategic communications plan for ITA that served as a means for
      more efficient and effective outreach to American companies, increasing ITA's profile as a valuable
      resource to increase international trade which will preserve and create American jobs. The outcome of
      this Action Learning Assignment was a comprehensive strategic communications plan that enhanced
      coordination and communication across the four ITA units, as well as promoted ITA as one, unified
      organization to external stakeholders, especially the American business community.         As a result of this
      project, the team was able to successfully contribute to ITA's future health and overall prosperity, while
      also enhancing our own individual skills and professional development through this Action Learning
      Assignment.




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     While I feel uncomfortable "rating" your performance, what I can say is that it was great to
     work with you. You displayed the core ELDPcompetencies we were supposed to be working
     on:
         1. Creativity and innovation: you came up with the matrix and the action plan we followed
             to develop a strategic communications plan for the International Trade Administration
             (ITA), something ITA has never had.
         2. Conflict Management: You played the role of peacekeeper when strong differences of
             opinion arose, and you tried to find a middle ground so that we could get to consensus.
             When some members of the group were not carrying their weight, you recommended
             that they be paired with others who took a more hands-on approach.
         3. Decisiveness: Your sound judgment helped us make well-informed decisions and your
             input coming from a sister bureau within Commerce helped us decide what policy
             recommendations we should make for ITA's plan
         4. Influencing/Negotiating: With the group of 8 of us all at the GS-13 or 14 level it was
             sometimes difficult to be persuasive and gain cooperation, rather than just taking
             charge or just not participating. You always tried to keep us on track, making sure along
             the way that we had everyone's buy-in.

     In some ways this was the hardest part of the ELDPprogram, because our success depended on
     each of us doing our part. But I think we managed it, and earned the thanks of the Acting
     Director for ITA's Office of Public Affairs. Your efforts helped make our work a success, and it
     was a pleasure to work with you.

     Best wishes,
     Pam Green




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                                             TERRIS,    PRAVUI< & MiLUAN9lLP
BRUCE     J. TERRIS                                     1121 12TH STREET, /I.W.                              r~1iCHAEL G. SHAW
CAROLYN      SPMTK    PRAVUK                         WASHINGTON,     D.C. 20005-4532                         ELlSA8ETH   J.l YOHS
KATHLEEN      l. fi!aLL/AN                                   (202) 682·2100                                  ALICIA C. AlCORt~
                                                           FAX 202·289·6795                                  ZENIA    SANCHEZ      FUENTES
                                                         tpminfo@tpi"l,faw.COli1                             MICHEllE     WEAVER
                                                                                                             JANICE     GO RIN
                                                                                                             ALEXANDER         R. KARAf\q
                                                                                                             JAioJE Nj. LlU*




    VIA E-Iv'IAlL AND FIRST -CLASS JY1AIL
    Susan E. Thomas
    Chief, Program Implementation Division
    Office of Civil Rights, Room 6012
    United States Department of Conmlerce
    Washington, D.C. 20230

    Ronda Brown
    Office of General Counsel

    Barbara Toy
    Office of Civil Rights
    Cl1ent Services and Resolution Division

                                                       Re: Peny v. Gutierrez,
                                                           EEO Complaint No. 08-63-00072




            On Februmy 27,2009, we sent a settlement letter to Susan Thomas of the Departmenlof
    Commerce (hereafter "the Agency"). The letter discussed the issues I'elated to settlement and
    included an opening settlement proposal with five specific provisions. On March 10, 2009, Ronda
    Brown provided a very general oral counter proposal to Michael Shaw. Mr. Shaw rejected the
    counter-proposal, but requested a meeting so that a potential settlement could be discussed in person.
    Ms. Brown checked on whether the Agency would agree to a meeting and called Mr. Shaw back to
    say that a meeting could be arranged and that the agency wanted to do it through the formal ADR
    process, with the mediator to come from outside of the Agency. Mr. Shaw stated that there was a
    timeliness issue because of expected openings in GS-15 positions that could resolve the most
    impOliant remedy that J'vfr. Perry seeks in his EEO complaint.

             The mediation was held on June 3. The mediator had the representatives sign a form that,
     inter alia, stated:

                     I agree to enter into this mediation in good faith. I will sincerely attempt to resolve this
                     dispute, agree to cooperate with the mediator assigned to this case, and give serious
                     consideration to all suggestions made regarding development of a realistic solution to the
                     problem(s).




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  Susan E. Thomas, Ronda Brown,        Ell1d   Barbara Toy
  June 8,2009
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          \Ve write to state that the agency representatives showed a complete lack of good faith in
  their conduct during the mediation. Nevertheless, Mr. Peny still desires a chance to meet to discuss
  settlement with a different set of Agency representatives.

          The Agency had two representatives at the meeting. The legal representative was Ingrid
  Falanga. She was totally unprepared for the mediation. She had never seen our settlement proposal
  and, apparently, did not even know that one existed. ·Whenshown the settlement letter, Ms. Falanga
  was unwilling to discuss the five proposed provisions in the letter. All that she would say was that
  Mr. Perry had already been given some tmiuin...gand supervision opportuDjtie~.. She offered not a
  single suggestion as to what other reliefthe Agency would offer for purposes of settlement. Thus,
  she was unwilling to enter into any negotiation at all about settlement.

          Patricia Musselman was a completely inappropriate representative since she had directly
  benefitted fi'om the non-selections ofMr. Perry which are at the hemt ofMr. Peny's complaint. We
  had previously stated that she would be inappropriate, but the Agency refused to provide a substitute.
  Since, in anymediatiol1, it is up to the pmties to name their own representatives, we had no recourse.
  During the mediation, Ms. Falanga stated that Ms. Musselman was the only representative who could
  have been there since it would be out of the question to have either of the next two persons above
  Ms. Musselman (the CIO and the head of the Agency). In our experience, in situations like that, a
  staff member of the higher officials would be designated to represent the agency at the mediation and
  to have the neceSSalYauthority for negotiating a settlement.

          In any event, it became clear during the mediation that Ms. Musselmal1 had no authority to
  negotiate the provisions of a settlement. It is unclear as to what the Agency saw as the purpose for
  having Ms. Musselman there.

          Ms. Falanga stated that a settlement at the Agency can never include a promotion or
  placement in a position. The Agency could not include in any settlement a promotion because
  promotions have to be competitive. However, based on the experience of our finn, other federal
  agencies agree to promotions to settle EEO cases under appropriate circumstances. We request that
  the Agency provide a legal determination as to whether a promotion to a OS-15 position can be a
  part of a settlement and whether the Agency has ever settled EEO complaints by giving such
  promotions.

           The Agency's actions were clearly in bad faith. We encourage you to consult the mediators
   at the mediation (Angela Corley (arosec47@hotmai1.com) and Joyce Corley). They did their best
   to determine whether a good-faith negotiation could be conducted. It became as clear to them as to
   us that this was impossible. As a result, the mediation of the Shared Neutrals program, through
   which the mediation was conducted, simply wasted their time. Mr. Pen)" s attorneys spent hours of
   time prep3J:ing for, traveling to, and attending the mediation. Mr. Perry has to pay our fees for this
   time out of his own pocket. That is in contrast to the time spent by Ms. Falanga and Ms. Musselman,
   whose time is a part of their work. We submit that the Agency's actions relating to the mediation
   further show the unfairness of the Agency's treatment of Mr. Peny.




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   Susan E. Thomas, Ronda BrO\vn, and Barbara Toy
   June 8,2009
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                                                      Bruce J. Terris
                                                      Michael G. Shaw
                                                      Counsel for Anthony W Peny




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   Anthony W. Perry

                     Appellant

            v.

   Department of Commerce

                     Agency



   MSPB Docket No.:            DC-0752-12-0486-B1 and DC-0752-12-0487-B1

                                                      List of Facts

        1. By Title VII laws and EEOC policy, the Agency drafted August 22, 2011 nondisclosure and
           waiver of Title VII Rights agreement is unlawful, void and unenforceable as against
           public policy, violates annual appropriations law, and is in violation of EEOC Policy
           Guidance on Non-waivable Rights. see Equal Employment Opportunity Commission
           enforced statutes (Enforcement Guidance, EEOC Notice No. 915.002 (April 10, 1997),
           available at http://www.eeoc.gov/policy/docs/waiver.html. This EEOC policy rules that
           these type of nondisclosure agreement are per se retaliation and discrimination and
           violate anti-retaliation statutes in Title VII and other discrimination laws.
        2. The template of the August 22, 2011 nondisclosure agreement coerced on Appellant is
           nearly identical to the template used to coerce IG employees into nondisclosure
           agreements at the Department of Commerce, Office of Inspector General.
        3. In U.S. Office of Special Counsel Ex Rel John Does 1-4 v. Department of Commerce,
           Office of Inspector General has used the same type of nondisclosure agreement in fact 1
           (exhibit) to prevent employees from making protected disclosures and appear designed
           to hide the existence, nature, and terms of the unlawful agreement from OSC, among
           other entities. Appellant is intended to be subjected to the same effect as the unlawful
           nondisclosure agreement served on Appellant in the instant case is a “copycat” unlawful
           nondisclosure agreement.
        4. Instead of using fraudulent performance evaluations to execute and coerce the unlawful
           nondisclosure agreement on Appellant as was done at Commerce IG because Appellant
           contested each of approximately five six unfair performance evaluations since 2004 and
           pending before the EEOC at the time of the “unlawful scheme” (as described by OSC v
           Department of Commerce IG), the Agency pulled Appellant’s badge scans and charged
           Appellant with misconduct of getting paid for time not worked to coerce Appellant into
           the same kind of unlawful nondisclosure agreement used at the Department of


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            Commerce, Office of the IG, even though Agency was aware of Appellant’s disability
            related accommodations provided by his supervisors since 2007.
        5. Appellant has a bona fide disability and underwent a total hip replacement on February
            27, 2012.
        6. Appellant produced email records he sent to first and second line supervisors and the
            Management Official, Brian E. McGrath, providing status on assignments that showed
            more than three times the number of hours supervisor allowed Appellant to work
            without pay or overtime pay than the hours the Agency claimed Appellant was paid for
            and did not work.
        7. Smokers, fitness center users and runners are allowed unlimited time away from their
            work areas and outside of the building daily without penalty or threat of termination.
            The Agency refused to respond to a lawful discovery request asking for daily IT
            employee badge scans over the same period Appellant’s electronic building badge scans
            were pulled and used to take adverse actions against Appellant.
        8. In March, April and May, 2011, Appellant was in the process of negotiating a settlement
            of pending race and age discrimination, retaliation, hostile work environment, repeated
            unfair performance evaluations, unfair performance awards, non-selection and failure
            to promote among other prohibited personnel practices claims before the EEOC
            Baltimore Field Office and awaiting a decision on Appellant’s Opposition to the Agency’s
            Motion to Dismiss Complaint Nos. 531-201000351X / Agency Complaint Nos. 09-63-
            01027, 10-63-00197 & 11-63-00080, EEOC Docket No0120111784 / Agency Case No. 10-
            63-02671.
        9. On July 6, 2011, in a continuing dialogue with the Census Bureau Director, Appellant
            sent an email to the Director complaining about continuing race and age discrimination
            against Appellant and other African American employees in the Information Technology
            Directorate (IAF Tab 1, Subtab 4, pg. 22) which is a nexus to the Agency removal action.
        10. On July 7, 2011 Darren Gutschow, an Agency employee who was NOT nor had ever been
            supervisor of Appellant, authored and had served on me by Stacy Chalmers, HRD, a
            Proposal to Remove (IAF Tab 1, Subtab 1, pg. 1) and is the basis for wrongful coercion
            into the nondisclosure agreement dated August 22, 2011. Gutschow was totally and
            completely unaware of informal accommodations that had been made by past and
            current supervisor Dale R. Reed.
        11. This removal action is, and as is documented in EEOC Policy Guidance on Non-waivable
            Rights and OSC position in OSC Ex Rel John Does v Commerce IG, retaliation and
            continued discrimination and one of several continuing prohibited personnel practices
            documented in the nondisclosure agreement by the Agency motivated by race, age,
            gender and disability discrimination, complaints of non-selection, failure to promote,



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            hostile work environment and failure to reassign out of a hostile work environment,
            retaliation and reprisal for prior pending EEOC/EEO complaints.
        12. Census Bureau management officials wrongfully coerced Appellant into entering into
            the August 22, 2011 unlawful nondisclosure agreement that restrained Appellant from
            making protected disclosures and causing Appellant to withdraw MA-11-2619 dated
            5/24/2011 a pending claim of prohibited personnel practices before the OSC or to
            Congress, the media and the EEOC, waive non-waivable rights in violation of law and
            EEOC policy, be constructively discharged, constructively suspended, and reassignment
            into a non-supervisory position and otherwise dictated the complete terms and
            conditions of the Appellant’s continued employment with the U.S. Census Bureau.
        13. The August 22, 2011 nondisclosure agreement constitutes a significant change in
            Appellant’s working conditions (U.S. Office of Special Counsel Ex Rel. John Does 1-4 v.
            Department of Commerce, Office of Inspector General, November 26, 2012) and is a
            prohibited personnel practice in violation of 5 U.S.C. 2302.
        14. The August 22, 2011 nondisclosure agreement interfered with Appellant’s protected
            right to file a charge, or participate in any manner in an investigation, hearing, or
            proceeding under the laws enforced by EEOC and violates EEOC Policy Guidance on
            Non-Waivable Rights. The nondisclosure agreement coerced the Appellant to waive
            non-waivable rights and otherwise withdraw EEOC complaints already pending before
            the EEOC Baltimore Field Office in violation of EEOC Policy Guidance on Non-Waivable
            Rights of Title VII of the Civil Rights Act, Rehabilitation Act, Americans with Disability Act,
            and the Age Discrimination in Employment Act. The nondisclosure agreement states
            Complainant agrees to: “withdraw EEOC Case No. 531-201000351X / Agency Complaint
            Nos. 09-63-01027, 10-63-00197 & 11-63-00080, EEOC Docket No0120111784 / Agency
            Case No. 10-63-02671 with no rights to raise these issues again… and that Complainant
            agrees to waive, release, and forever discharge the Agency, its officers, agents,
            employees, and representatives (in their official and/or personal capacities) from any
            claims, demands, or causes of action, which Complainant has or may have, arising from
            his employment, including issues raised in (above stated EEOC/Agency claims)…and
            further states “Complainant waives any and all rights and claims arising from
            Complainant’s employment under the Aged Discrimination in Employment Act…, the
            Rehabilitation Act…, and/or Title VII of the Civil Rights Act…; and further states “this
            release includes but is not limited to a release of any right to administrative, judicial, or
            congressional relief, or any other type of relief, or any claim to back pay, attorneys’ fees
            and costs, or other type of compensation…”
        15. Nondisclosure or “gag” agreement that waive race, age, or other Title VII rights is
            deemed per se retaliation under 5 U.S.C. 2302 (b8) and/ or (b9) and as discussed in
            “Enforcement Guidance on non-waivable employee rights under Equal Employment

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            Opportunity Commission enforced statutes (Enforcement Guidance, EEOC Notice No.
            915.002 (April 10, 1997), available at http://www.eeoc.gov/policy/docs/waiver.html.
        16. EEOC maintains that this type of nondisclosure agreement is void and unenforceable as
            against public policy in EEOC Notice 915.002 (April 10, 1997) (EEOC v. Astra U.S.A., 94
            F.3d 738, 744-45 (1st Cir 1996))
        17. EEOC Administrative Judge erred and failed to rule in accordance with the Title VII anti-
            discrimination laws and EEOC Enforcement Guidance, EEOC No. 915.002 on Agency’s
            unlawful nondisclosure and waiver of civil rights agreement
        18. The Agency Representative and Attorney Adam Chandler committed a prohibited
            personnel practice by threatening to take a prohibited personnel action and retaliation
            against Appellant when he included in the footnote of the Agency’s response to the
            Acknowledgement Order stating that if the Appellant was successful in having the
            nondisclosure agreement vitiated that Appellant would be facing removal from the
            federal service upon return.
        19. This type of nondisclosure agreement is unenforceable and violates annual
            appropriations laws if it does not contain express language to inform employees that
            the agreement’s restrictions do not supersede, conflict with, or otherwise alter an
            employee’s rights under section 2302 (b)(8) and 7211 of title 5 U.S.C., P.L. 112-74 and
            112-75
        20. The instant unlawful nondisclosure agreement is retaliation against Appellant for
            protected activity in the form of prior and current EEOC and Agency EEO race, disability,
            gender and age discrimination, retaliation and reprisal, failure to promote, failure to
            reassign, failure to accommodate, repeated unfair performance evaluations and awards,
            and hostile work environment among other claims.
        21. The nondisclosure agreement prevented employee from exercising Title VII rights and
            contains strict confidentiality provisions providing that “this agreement shall not be
            used, cited, or relied upon by any party in connection with any other judicial or
            administrative procedure”. Additionally, the nondisclosure agreement further states
            that “ the parties agree to keep the nature and terms of this Agreement confidential.
            The terms of the Agreement may not be disclosed to any person or entity beyond the
            persons signing below, except to Complainant’s spouse as applicable, as required by
            law, as necessary to implement the terms of the Agreement, or as ordered by a court or
            administrative body of competent jurisdiction.
        22. The June 7, 2011 Proposal to Remove, the August 22, 2011 nondisclosure agreement
            and the Deciding Official’s decision is based on fraud, coercion, duress, misinformation
            and misrepresentation of the facts and is a prohibited personnel practice and per se
            retaliation which threatened to terminate Appellant in exchange for forfeiture of
            pending EEOC claims, ending employment with the Agency, never working for the

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            Agency again, and cleansing of employee file by using unsubstantiated charges of
            receiving pay for time not worked in exchange for the Agency dictated retirement, 30-
            day suspension, reassignment, and prohibition from working at any Commerce Agency.
            The charge of failing to follow supervisory directive is the result of retaliation and
            reprisal and is the result of a continuing prohibited personnel practice which removed
            Appellant from the position of Special Assistant to the GS-15 Division Chief, LTSO in
            November 2006 and placed him under GS-14 Dale Reed, Branch Chief and who intensely
            pursued creating a hostile work environment as documented in the prior pending
            EEOC/EEO claims giving unfair evaluations and denying useful training that was provided
            to others.
        23. The Agency nondisclosure settlement agreement is invalid and void and unenforceable
            as against public policy in accordance with EEOC Policy Guidance on waivers and OSC
            brief in John Does 1-4 v Department of Commerce Office of Inspector General and must
            be vitiated in its entirety and Appellant returned to status quo ante.
        24. The constructive suspension is the result of harmful procedural error and failure to
            consider the Douglas Factors if indeed misconduct occurred, prohibited personnel
            action, retaliation and race, age, and disability discrimination with the Agency rescinding
            accommodations it had made prior for Appellant’s disabling condition. Appellant was
            awaiting a decision on pending race and age discrimination, prohibited personnel
            practices and intentional retaliatory discrimination among other complaints before the
            EEOC Baltimore Field Office in EEOC/Agency Complaint Nos. 531-2010-00351X; EEOC
            Docket Nos. 09-63-01027, 10-63-00197, 11-63-00080, 07-63-00080, 07-63-00145 and
            10-63-02671.
        25. The Management Official and Management Representative initiating and directing the
            June 7, 2011 Proposal to Remove Appellant from the federal service and the unlawful
            nondisclosure agreement are the same agency officials that were in negotiations with
            Appellant to “settle” EEOC/Agency Complaint Nos. identified in the August 22, 2011
            unlawful nondisclosure agreement.
        26. Between 1997 and 2003, the Agency discriminated on the basis of race and age,
            disparate treatment with disparate impact and committed a prohibited personnel
            practice by changing Appellant’s Supervisory Code 2 status to Supervisor Code 4 to
            prevent Appellant from competing fairly for planned GS-15 vacancies that provided
            advantage to Patricia Musselman and Jason Schaufele for GS-15 positions in 2007 and
            created a substantial change in the terms and conditions of Appellant’s employment.
            These positions were available in August 2002 (IAF) and held vacant until Ms.
            Musselman and Mr. Schaufele reached the age of 40. This change allowed the Agency
            Office of Civil Rights to rule that Appellant was not similarly situated than two barely 40
            year-old Caucasian employees with no significant accomplishments and entry level

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            academic credentials. Appellant was approximately 46 years old at the time the
            positions were initially created and vacant. (see evidence in Appellant’s Opposition to
            Agency Motion for Summary to Dismiss without a Hearing (IAF)
        27. In November 2001, Appellant competed on merit and was competitively promoted to
            the position of GS-14 Special Assistant to the Division Chief, LTSO.
        28. In 2006 under the disguise of a division reorganization and without cause, Appellant was
            removed from the position of Special Assistant to the Division Chief, LTSO (Division Chief
            is a supervisory GS-15) and reassigned as an Information Technology Specialist reporting
            to Dale R. Reed, GS-14 Branch Chief Business Planning Branch creating a substantial
            change in the terms and conditions of Appellant’s employment which continued to the
            time of the instant adverse actions and discrimination (ROI 08-63-00080 and other EEO
            ROIs referenced in the initial appeal file and petition for review exhibit Agency response
            letter to EEOC.
        29. March 31, 20011 email communication from Agency Management Representative
            Ronda J. Brown that she had communicated my settlement proposal for pending
            consolidated EEOC actions in Item 1 above before the EEOC AJ to the Management
            Official Brian E. McGrath, Associate Director for Information Technology and Chief
            Information Officer who is the same Management Official who authorized and initiated
            this constructive removal and suspension action used to coerce the forfeiture of the
            EEOC claims that were pending before the EEOC AJ at the Baltimore Field Office at the
            time I was served the Proposed Removal (IAF Tab 6, Subtab 4, pg. 21).
        30. April 5, 2011 Appellant certified letter to the EEOC “Preparation for Settlement
            Discussion” of pending EEOC claims (IAF Settlement Discussion pg 1-3).
        31. On May 19, 2011 Appellant certified letter to EEOC “Motion in objection to agency
            motion to dismiss” pending EEOC claims in Item 1 disputing and documenting every
            material fact including discovery facts of prima facie race and age discrimination,
            prohibited personnel practices and retaliation when these instant adverse actions and
            discrimination were served on Appellant.(IAF Tab 6, Subtab 1, pg. 1)
        32. Medical Records and formal Request for a Reasonable Accommodation and pending
            approval on file with the agency Disability Program Office prior to Appellant receiving
            the Agency drafted unlawful nondisclosure settlement document or the Deciding
            Official’s decision (AF Tab 4 Subtab 1-19 and Supporting Documents pg 3-4)).
        33. Appellant’s supervisor of record, Dale Reed stated that he did not know what a formal
            Reasonable Accommodation was and the Agency did not dispute this fact in the record
            (IAF Tab 2 Subta1).
        34. On July 22, 2011, Appellant responded to the Deciding Official prior to Appellant being
            able to collect evidence and investigate the charges fully due to time constraints
            imposed on Appellant, duress and the threat of termination and therefore applied the

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            reasonable person standard and completely and totally relied on every Agency
            statement in reference to this matter (IAF Tab 2, Subtab 1, pg. 1).
        35. On August 22, 2011 while waiting for the Deciding Official’s reply to Appellant’s
            response to the charges as the procedure was defined by the June 7, 2011 Proposed
            Removal, the Agency served on Appellant an unlawful EEOC “Nondisclosure” Settlement
            Agreement, which included a nondisclosure restriction and an unlawful waiver of
            current and future Title VII rights, Age Discrimination claims, and Disability claims in
            violation of EEOC Policy Guidance on Non-waivable Rights and which explicitly dictated
            the terms and conditions of the Appellant’s continued employment with the Agency and
            required a 30-day suspension, retirement no later than Sept. 4, 2012, reassignment into
            a Non-Supervisory IT Specialist position, forbade to ever work for the Department of
            Commerce, and the forfeiture of prior pending EEOC claims already before an EEOC AJ
            in the Baltimore EEOC Field Office prior to the Deciding Official’s decision and in direct
            contradiction to the Agency procedure stated in the Proposed Removal (IAF Tab 1,
            Subtab 2, pg. 14).
        36. Each stated action in the unlawful nondisclosure agreement is a prohibited personnel
            practice, per se retaliation and continued discrimination on the basis already stated in
            this and prior EEO/EEOC complaints.
        37. On August 26, 2011, the Deciding Official issued a decision upholding the charges but
            decided on a 30-day suspension without considering Appellant’s disability claim and
            pending approval by the Agency Disability Program Office, the informal flexible work
            schedule accommodation by supervisor, 30 minute legal daily break and supervisor
            approved daily one hour lunch break (IRF Tab 5, Subtab 1-20) and other documents in
            possession of the Agency), the Douglas Factors if the alleged conduct occurred. (Tab 5
            Subtab 1-20). The Deciding Official’s decision document does not include any analysis of
            the facts in accordance with the Douglas Factors nor any other rule, regulation, statue
            or guideline and therefore her decision is in total disregard for Appellant’s disability and
            prior accommodations that had been made by supervisor of record, Dale Reed.
        38. The Agency failed to comply with the Acknowledgement Order requiring the submission
            of all evidence related to the charges including the Deciding Official’s notes and basis for
            upholding the charges.
        39. The Agency has failed to reply to lawful discovery requests that would show the extent
            of the discriminatory and retaliatory animus toward Appellant used to give lesser
            qualified Caucasian employees promotion to GS-15 and employment preferences not on
            merit.
        40. Documents provided by Appellant in the Initial Appeal File show more than 158 hours of
            time Appellant worked for which he was not paid as Appellant had been allowed a
            flexible work schedule primarily because of his documented disability. The Agency

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            wrongfully withdrew an accommodation that had been provided to Appellant for at
            least the prior four years. Appellant had worked thousands of hours over his career for
            which he was not paid and took two years of leave without pay. It is nonsensical
            employee was looking to make personal gain from a few hours by requesting flexible
            work schedule of which the Management Official, Deciding Official and Darren
            Gutschow was not aware but took adverse actions just the same.
        41. All time and attendance had been approved by Appellant’s first and second line
            supervisors.
        42. At the time I was served with the proposed removal, Appellant was waiting for an
            explanation from his supervisor Dale R. Reed as to why and who was requiring GS-14
            Supervisory IT employees to start signing in. As a prior GS-14 Supervisory employee (not
            sure because of the unauthorized changes in Appellant’s supervisory code and
            prohibited personnel practices that were pending before the EEOC) who frequently was
            delegated acting supervisory authority, I was waiting for a response to my question.
            Appellant had never been required to sign in during his entire career to the best of
            recollection. My placement under Patricia Musselman and Dale Reed were prohibited
            personnel practices as I was removed from the position of Special Assistant to the
            Division Chief, LTSO (GS-15 supervisor) and reassigned under GS-14 Musselman and
            then GS-14 Reed that was pending adjudication before the EEOC when the Agency
            served me the subject unlawful EEOC nondisclosure agreement on August 22, 2011.
        43. The Agency Management Official repeatedly ignored my requests to be reassigned out
            of the LTSO as both my supervisor Dale Reed and Division Chief Patricia Musselman had
            been named Responsible Management Officials in the EEOC claims pending in the
            Baltimore Field Office and had continued to create a hostile working environment that
            started with Thomas Meerholz. Both Ms. Musselman and Mr. Reed were non-
            competitively placed into the supervisory positions for which I was denied the
            opportunity to compete in violation of merit system principles and are prohibited
            personnel practices.
        44. Agency repeatedly denied effective education and training in violation of 5 U.S.C
            2301(7) since 2003, 2006, and 2010 when it denied Project Management Institute (PMI)
            Project Management training certification and other training for Appellant while
            providing Microsoft and PMI certification training for other IT Directorate employees.
        45. Agency management and supervisor Dale Reed repeatedly gave Appellant intentionally
            unfair performance evaluations as far back as 2004 and even after completing two 120-
            day detail assignments as part of Appellant’s 18-month Executive Leadership
            Development training in 2009 and are prohibited personnel practices with a basis in
            race and age discrimination as shown in statistics in Appellant’s Opposition to Agency



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            Motion for Summary Judgment to Dismiss the prior pending EEOC claims caused to be
            waived and dissolved by the unlawful nondisclosure agreement.
        46. John Cunningham and Agency Human Resources Division management unilaterally
            rejected a signed and legally approved Alternative Dispute Resolution agreement to
            revise Appellants 2009 or 2010 performance rating in yet another prohibited personnel
            practice denying rightfully earned performance reward.



                                                     Argument

    Unlawful Nondisclosure Agreement

    The Agency constructively discharged Appellant from the federal service, constructively
    suspended me for 30-days and took other prohibited personnel actions against Appellant
    stating his terms and conditions for continued federal employment by way of an August 22,
    2011 invalid and unlawful nondisclosure agreement as defined by EEOC Policy Guidance on
    Non-waivable Rights and the brief before MSPB of OSC Ex. Rel John Does (1-4) v. Department of
    Commerce, Office of the Inspector General. Appellant totally relied on Agency charges,
    information and documented text in the nondisclosure agreement. These Agency actions are in
    violation of 5 U.S.C. 2302 (b)(1)(A)(B)(C)(D), (b)(2)(A)(B), (b)(4), (b)(8)(i), (b)(9), (b)(10), (b)(12),
    and (b)(13). The prima facie case for race, age, and gender discrimination in the IT Directorate
    is described in Appellant’s Opposition to Agency Motion for Summary Judgment without a
    Hearing using statistics gathered from EEO discovery and are part of this action as the Agency
    coerced appellant to unlawfully waive un-waivable rights.

    The Agency intentionally deceived appellant as to the validity of the nondisclosure agreement
    and the charges of receipt of pay for time not worked. Agency committed disability
    discrimination by withdrawing accommodations that had been provided to Appellant for
    approximately three years prior starting in approximately 2007 and in violation of 42 U.S.C
    12112(a), (b)(5)(A)(. Appellant was fully able to perform assignments given with the
    accommodations that had been provided and the formal accommodations that had been
    requested prior to any decision by Agency management officials in the instant case (Jessie B.
    Crutch v. United States Postal Service, (May 222, 2013). In the instant case, Brian McGrath and
    Agency senior management directed Darren Gutschow, an employee who was not Appellant’s
    supervisor, to propose my removal from the federal in total disregard for Appellant’s disabling
    condition, the medical records of which were available in the Disability Program Office(IAF) and
    therefore intentionally failed to provide Appellant minimum due process (Pledger v.
    Department of the Navy, 50 M.S.P.R. 325, 330-31 (1991). This action is in violation of 5 U.S.C.
    2302 (b)(1)(D) and specifically the Rehabilitation Act of 1973 and the ADA Amendments Act of

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    2008 (ADAAA), as well as 2302 (b)(1)(A)(B), (b)(2)(A)(B), (b)(4), (b)(8)(i), (b)(9), and (b)(12)
    constituting continued race and age discrimination, retaliation and reprisal, non-selection,
    failure to promote, non-competitive promotions of younger less experienced Caucasian
    employees, and the desire to dissolve prior and pending EEOC claims in the Baltimore Field
    Office as stated in email response to Appellant from Management official Brian E. McGrath
    (IAF) stating his pleasure with the dissolution of those pending claims before the EEOC.

    The reasonable person standard seems to allow one to conclude that if Appellant was guilty of
    misconduct, the charges of misconduct would have been filed against Appellant and defended
    on their merit. Time and attendance records the Agency used starting in 2010 up through 2011
    (see June 7, 2011 Proposal to Remove (IAF)) had already been approved and certified by first
    and second line supervisors and neither approached Appellant to discuss what might appear to
    be a discrepancy to someone who was not Appellant’s supervisor. Darren Gutschow
    committed a prohibited personnel practice and discriminated against Appellant on the basis of
    a known and visibly obvious disability as Appellant at times had to use a cane to walk in his
    proposal to remove appellant from the federal service which intended to wrongfully coerce
    employee to enter into the nondisclosure agreement dated August 22, 2011. The Agency chose
    to use coercion, duress, deceit, misinformation and misrepresentation into an agreement for
    unsubstantiated charges that caused Appellant to waive Title VII and other anti-discrimination
    rights and then hide the agreement by nondisclosure is invalid, involuntary, unlawful, and the
    result of fraud and is unenforceable and void as against public policy (Enforcement Guidance,
    EEOC No. 915.002); (Sargent v Department of Health and Human Services, 229 F.3d 1088, 1091
    (Fed Cir. 2000); Potter v. Department of Veterans Affairs, 111 M.S.P.R. 374, (2009); Candelaria
    v. U.S. Postal Service, 31 M.S.P.R 412, 413 (1986).

    Appellant’s supervisory personnel was aware of Appellant’s prior verbally approved flexible
    work schedule which was an accommodation for his disability.

    As in Scharf v. U.S. Air Force, “with freedom of choice as the guiding principle, it has been held
    that the element of voluntariness is vitiated when (1) an employee resigns under duress
    brought on by government action, see, e.g., McGucken v. United States, 407 F.2d 1349, 1351,
    187 Ct.Cl. 284 (Ct.Cl.), cert. denied, 396 U.S. 894, 90 S.Ct. 190, 24 L.Ed.2d 170 (1969); (2) an
    employee unsuccessfully tries to withdraw his resignation before its effective date, see
    Cunningham v. United States, 423 F.2d 1379, 1384-85, 191 Ct.Cl. 471 (Ct.Cl.1970); (3) an
    employee submits a resignation under time pressure, see Perlman, 490 F.2d at 932-33; or (4) an
    employee fails to understand the situation due to mental incompetence, see Manzi v. United
    States, 198 Ct.Cl. 489, 492 (1972). Several other cases have also indicated that a resignation will
    be held involuntary if obtained by agency misrepresentation or deception. See Taylor v. United



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    States, 591 F.2d 688, 692, 219 Ct.Cl. 86 (Ct.Cl.1979); Christie v. United States, 518 F.2d 584, 588,
    207 Ct.Cl. 333 (Ct.Cl.1975).

    An employee is not required to show an intent to deceive on the part of the agency in order for
    his retirement to be held involuntary. Rather, it is sufficient if the employee shows that a
    reasonable person would have been misled by the agency's statements. We have in the past
    applied an objective test in situations involving duress or coercion, see Christie, 518 F.2d at 587.
    We believe that an objective test is equally applicable to situations involving
    misrepresentations or deception. Applying this test, the court will neither inquire into the
    subjective perceptions of the employee, see Taylor, 591 F.2d at 692, nor the subjective
    intentions of the agency

    In McGucken v. United States, supra, this court declared that in determining whether an
    employee's resignation was submitted under duress, the three elements necessary to show
    duress are (1) that one side involuntarily accepted the terms of another, (2) that circumstances
    permitted no other alternative, and (3) that said circumstances were the result of coercive acts
    of the opposite party. In addition, the Agency benefited from its manufactured duress as it
    extracted the forfeiture of pending EEOC claims and Appellant’s retirement and constructive
    removal from the federal service from its coercion into an unlawful nondisclosure agreement.
    The acts on the part of the Agency created the duress under which Appellant was forced to
    accept its proposed action. No other alternative was available. As in Fruhauf, “duress involves
    a step beyond mere illegality and implies that a person has been unlawfully constrained or
    compelled by another to perform an act under circumstances which prevent the exercise of
    free will (Fruhauf Southwest Garment Co v. United States).

    The Appellant involuntarily accepted all of the terms and conditions of the Agency as is stated
    in the unlawful nondisclosure agreement dated August 22, 2011, and provided no other
    alternative to Appellant, and the circumstances were the result of ongoing coercive acts of the
    Agency. (SAtaats v. U.S. Postal Service, 99 F.3d 1120, 1124 (Fed Cir. 1996). Already stated and
    pending appeal were the repeated unfair performance evaluations of supervisor Dale Reed and
    the unilateral rejection of a legally approved Alternative Dispute Resolution settlement for the
    2009 performance evaluation challenge by Human Resources manager John Cunningham;
    repeated denial of critical technical training going back to 2003 and continuing into 2010 with a
    denial of Project Management Bootcamp offered to other employees in 2010 and denied
    Appellant although Appellant originally requested the same training in 2003 from Thomas
    Meerholz, Chief LTSO. These particular training denials were intended to make Appellant less
    able to compete for GS-15 positions in the Agency and violates 5 U.S.C.

    In Perlman v. United States, “whether an action is voluntary or involuntary is determined not by
    the form of the action, but by the circumstances that produced it. [Federal Personnel Manual

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    Supp. 752-1, subchapter S1-2a(1).] This court has consistently examined the surrounding
    circumstances to test the ability of the employee to exercise free choice. We have held, for
    instance, that the doctrine of exhaustion of administrative remedies has no application when
    the agency involved had defaulted in its obligation toward the employee by not informing him
    of his rights or in affirmatively misleading him to believe that he had no rights. See Ainsworth v.
    United States, 180 Ct.Cl. 166, 172 (1967), and the recent decision in Manzi v. United States, 198
    Ct.Cl. 489, 495 (1972).”

    In Shultz v. U.S. Navy, “if an employee can show that the agency knew that the reason for the
    threatened removal could not be substantiated, the threatened action by the agency is purely
    coercive. Cosby v. United States, 189 Ct.Cl. 528, 417 F.2d 1345, 1355 (1969); Autera v. United
    States, 182 Ct.Cl. 495, 389 F.2d 815, 817 (1968); Rich v. Mitchell, 273 F.2d 78, 79 (D.C.Cir.1959),
    cert. denied, 368 U.S. 854 , 82 S.Ct. 91, 7 L.Ed.2d 52 (1961)”.

    The Agency had email communications from Appellant at times outside of the time periods
    identified by the specifications in its possession and was aware of Appellant’s disability and
    prior accommodations and flexible work schedule. Additionally, the Agency had orchestrated
    the hostile environment having placed Appellant under Dale Reed in repeated prohibited
    personnel actions moving me from reporting to a GS-15 Division Chief in 2006 to GS-14 Reed
    without cause. This prohibited practice and the other stated discriminatory actions was before
    the EEOC Baltimore Field Office at the time the Agency charged Appellant with misconduct and
    coerced him to enter an unlawful nondisclosure agreement which by law and policy is invalid.

    The nondisclosure agreement contains other deception, misrepresentations, and
    misinformation.

    Retaliation

    Prima facie case for retaliation is made in prior pending EEOC / Agency actions. In this instant
    case, proof of retaliatory animus by the Agency toward Appellant is shown with clarity.

    There is a non-mistakable nexus that exists between prior pending EEO and EEOC complaints
    and the June 6, 2011 letter to the Director of the U.S. Census Bureau complaining of continued
    race and age discrimination, retaliation, reprisal, non-selection and failure to promote.

    The Agency wanted those pending EEOC / Agency actions disposed of as is stated in an email
    response to Appellant from the Management Official orchestrating Appellant’s constructive
    removal from the federal service. In that email response the Management Official stated his
    pleasure with the disposal of Appellant’s pending EEOC / Agency EEO complaints (IAF).




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    Responsible Management Officials

    The following are the management officials responsible for intentional retaliatory
    discrimination this evil and egregious discriminatory and retaliatory acts it took with malice and
    reckless disregard for Appellant’s federally protected rights including Title VII Rights that had
    been violated for nearly ten years and was on appeal before AJ Mary Palmer at the EEOC
    Baltimore Field Office before she dismissed the pending claims in violation of EEOC
    Enforcement Guidance on Non-waivable Rights. The management officials being held
    accountable in their personal and professional capacities are:

        1. Thomas Meerholz, former Division Chief removed Appellant from Special Assistant to
            the Division Chief, repeated denial of training, race and age discrimination, retaliation
            and other prohibited personnel practices documented in prior pending EEOC claims
            dissolved/waived by the unlawful nondisclosure agreement acted with the most
            egregious malice and reckless disregard for Appellant’s protected rights.
        2. Thomas Messenbourg, Deputy Director and Chief Operating Officer for malice and
            reckless disregard
        3. Brian E. McGrath, Associate Director for Information Technology/CIO and Management
            Official, orchestrated and signatory to unlawful nondisclosure agreement acting with
            egregious malice and reckless disregard for Appellant’s protected rights.
        4. Darren Gutschow, authored proposal to remove and prohibited personnel practice
            acting with malice and reckless disregard for Appellant’s protected rights.
        5. Ted Johnson, signatory to unlawful nondisclosure agreement and prohibited personnel
            practice acting with reckless disregard for Appellant’s protected rights.
        6. Ronda J. Brown, Attorney and Management Representative, signatory of unlawful
            nondisclosure agreement acting with egregious malice and reckless disregard for
            Appellant’s protected rights
        7. Adam Chandler, Attorney and Agency Rep. (for threatening termination of Appellant
            upon return in Agency response to Acknowledgement Order if vitiation of agreement is
            successful, a prohibited personnel practice with malice and reckless disregard for
            Appellant’s protected rights.
        8. John Cunningham, Human Resources Branch Chief for extreme malice and reckless
            disregard of Appellant’s protected rights
        9. Brian DiGiacomo, signatory to unlawful nondisclosure agreement acting with reckless
            disregard for Appellant’s protected rights.
        10. Roy Castro, signatory to unlawful nondisclosure agreement and acting with malice and
            reckless disregard for Appellant’s protected rights.
        11. Benjamin Felder, negotiated the coerced settlement with Appellant’s representative
            acting with disregard for Appellant’s protected rights.
        12. Stacy Chalmers, attempted to coerce Terryne Murphy, Deciding Official to terminate
            Appellant knowing the charged misconduct was fraudulent and acting with egregious
            malice and reckless disregard for Appellant’s protected rights.


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        13. Patricia Musselman, 2nd line supervisor and prior named RMO, failed to inform
            Appellant that accommodations previously provided to Appellant were no longer being
            provided and acting with malice and reckless disregard for Appellant’s protected rights.
        14. Dale R. Reed, 1st line supervisor and prior named RMO, failed to inform Appellant that
            accommodations previously provided were no longer being provided and acting with
            egregious malice and reckless disregard for Appellant’s protected rights.

    Compensatory and Punitive Damages

    All allowable damages are sought in this instant action as the Appellant was voluntarily
    negotiating a bona fide settlement agreement on the prior pending EEOC/Agency claims
    “disposed” of as a result of the Agency’s preference to pursue an unlawful nondisclosure
    agreement subject of the instant case that is invalid, unlawful and void as unenforceable
    against public policy.

    Actual compensatory damages to include future compensatory damages, TSP contributions,
    taxes levied for TSP distribution, guaranteed student loan capitalized interest, 2 nd
    mortgage/line of credit, personal loan, boat loan default, and non-pecuniary damages are
    sought in this matter.

    Appellant requests retroactive promotion to GS-15 Supervisory Information Technology
    Specialist at the division chief level to 2003 or 2004, back pay, front pay, loss awards, revised
    awards for unfair performance evaluations, loss of future earning capability, credit standing,
    debt created as a direct result of Agency discriminatory and retaliatory actions, emotional pain
    and suffering, stress, depression, loss of career status and standing, mental anguish, loss of
    enjoyment of life, humiliation, withdrawal from longtime social and community involvement
    and fraternal activities, legal fees, and any other allowable damages for the nearly ten (10)
    years of intentional discriminatory actions targeted at me to prevent me from opportunities
    freely provided to younger Caucasian workers as a matter of operational procedure (see IAF,
    Non-competitive promotions and Acting Branch and Division Chief assignments denied
    Appellant), change of supervisory code and removal from Special Assistant to the Division Chief
    in 2006 which facilitated the ongoing discriminatory and retaliatory environment in which
    Appellant was confined.

    No amount of money or corrective action taken ten years later can fix the loss suffered already
    and future losses that will be incurred by Appellant as the ten years are gone for good.
    Appellant went to college to be able to earn a living and take care of his family. The work
    record of Appellant is flawless and is submitted as an exhibit to the petition for review. Agency
    management prohibited my right to property and on the basis of bigotry, evil, malice, the
    objective to promote any Caucasian instead of a highly qualified black man and with reckless

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    disregard colluded to deny my right to employment and thus my property rights when
    management officials terminated my federal employment. With two relevant Masters degrees
    and two relevant Bachelor degrees, I prepared and had ambition to compete for Senior
    Executive Service unlike the high school graduate that is a senior executive at the Census
    Bureau. It is unlikely that goal will be realized because of Agency intentional, institutional and
    systematic discrimination done with malice and reckless disregard for Appellant’s protected
    civil rights.

    The Agency’s unlawful nondisclosure agreement deemed an “abomination” and an “unlawful
    scheme” by the Office of Special Counsel in the brief OSC Ex Rel John Does 1-4 v Department of
    Commerce Office of Inspector General and a violation of EEOC Policy Guidance on Non-
    waivable Rights is knowingly by the Agency an act of malice and reckless disregard and
    indifference to Appellant’s federally protected Title VII Civil Rights and the deliberate retaliatory
    threat to Appellant by the Agency Representative Adam Chandler in his response to the Initial
    Appeal Acknowledgement Order. This is a continuation of the reckless discriminatory and
    retaliatory environment I have been forced to work in (covert discrimination with the change in
    Appellant’s supervisory code) and overtly since 2003 prior to my first EEO complaint in 2007. It
    has continued every since, terminating in the instant invalid, unenforceable, fraudulent and
    unlawful nondisclosure agreement perpetrated by the Agency and its designated Management
    Official Brian E. McGrath.

    This particular agreement commits two egregious violations, one being the violation of Title VII
    laws requiring the waiver of non-waivable rights and the nondisclosure agreement itself used to
    hide prohibited personnel practices. The Agency misrepresented the facts by stating Appellant
    waived his Title VII rights by signing the agreement while also stating that Appellant had no
    right of appeal if the Agency terminated Appellant’s employment.

    Per Enforcement Guidance EEOC Notice No. 915.002 and the brief OSC Ex Rel John Does1-4 v.
    Department of Commerce, the unlawful nondisclosure agreement is invalid, unlawful, void and
    unenforceable as against public policy and therefore Appellant must be placed in status quo
    ante with a stay against any personnel action evolving from any circumstance remotely related
    to the proposal to remove Appellant from the federal service and the resultant August 2011
    nondisclosure agreement. And therefore, the prior pending EEOC and Agency cases “disposed”
    and claims of race, age, and disability discrimination and other protected rights unlawfully
    “waived” by the nondisclosure agreement is declared void and must be adjudicated on the
    merit of the claims by the MSPB and/or in consultation with the EEOC and which remain
    appealable to the EEOC.




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                                                                 Sincerely,

                                                                 /signed/

                                                                 Anthony W. Perry




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   Appellant Witness List

   Name                                                         Reason Required To Appear as Witness

        1. Brian McGrath                       Management Official initiating removal action and concurred
                                               and signed the unlawful nondisclosure agreement disposing of
                                               pending EEOC claims while negotiating the settlement of
                                               pending EEOC claims in the Baltimore Field Office. Mr.
                                               McGrath told in a 2011 meeting set up by his secretary and
                                               prior to the proposal to remove that I would regret not pursuing
                                               employment outside of the Bureau. He had sent several emails
                                               concerning job vacancies outside of the Census Bureau where
                                               he noted that I had stated to him that I wasn’t interested in
                                               leaving the Census Bureau. He stated that I would regret not
                                               leaving the IT Directorate in a meeting schedule with me by his
                                               secretary. Email soliciting my leaving the Agency is part of
                                               initial appeal file.
        2. Thomas Messenbourg                  Census Bureau Deputy Director, Chief Operating Official and
                                               the Management Official who coordinated and approved the
                                               charges and method to execute my involuntary/constructive
                                               discharge of Appellant from the Agency to conceal prior
                                               prohibited personnel practices he coordinated and approved that
                                               injured Appellant. All Human Resources employees report to
                                               Mr. Messenbourg and this action could only have occurred if he
                                               approved the action and the process by which the constructive
                                               termination would occur.
        3. Terryne Murphy                      Deciding Official was being coerced to terminate Appellant by
                                               the Management Official and Human Resources Officials.
                                               Under oath and penalty of perjury she will testify as to the
                                               Bureau Officials who attempted to coerce her to terminate
                                               appellant and why she sustained the charges and suspended
                                               Appellant and provided no basis or justification for the decision
                                               in accordance with the Douglas Factors if she independently
                                               concluded misconduct had occurred.
        4. Darren Gutschow                     He is not my supervisor but authored the Proposal to Remove
                                               Appellant from the Federal Service under the direction of
                                               Management Official Brian McGrath, Associate Director for
                                               Information Technology and CIO. He has knowledge of the
                                               circumstances and purpose of the Proposal to remove
        5. Stacy Chalmers                      Attempted to coerce the Deciding Official to terminate
                                               appellant. She was directed by HR Officials Benjamin Felder
                                               and Division Chief John Cunningham.
        6. Benjamin Felder                     Negotiated the nondisclosure agreement based on fraudulent
                                               misconduct charges with Johnny Zuagar
        7. John Cunningham                     Human Resources official directing Stacy
                                               Chalmers and Benjamin Felder to attempt to coerce the
                                               Deciding Official to terminate appellant.
        8. Ronda J. Brown                      Management Official Representative that was supposed to be
                                               negotiating the settlement of the pending EEOC claims that
                                               were disposed of as a result of the fraudulent misconduct




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                                                charges and the Agency’s nondisclosure settlement document.
        9. Johnny Zuagar                        Union President and Representative who attempted to negotiate
                                                the Appellant’s response to the Deciding Official which was
                                                rejected out of hand and was told Appellant would be
                                                terminated if the proposed settlement agreement was not
                                                accepted.
        10. Frank Silberstein, Initial Union    Initial Union Representative told Appellant he believed
            Representative                      Appellants job was not at risk and later told Appellant that the
                                                Agency intended terminate Appellant regardless of Appellant’s
                                                explanation or documentary evidence of a disability..
        11. Dale Richard Reed, 1st Line         Appellant’s First line Supervisor as a result of a prohibited
            Supervisor, Branch Chief BPS        personnel practice and RMO that was pending before the EEOC
                                                at the time of the charges and nondisclosure agreement. Was
                                                aware of Appellant’s disability and provided an informal
                                                accommodation for Appellant (was available prior to the date of
                                                his appointment as Supervisor, Business Planning Staff) that he
                                                subsequently withdrew. Mr. Reed told me that he was told not
                                                to tell me the reason that I was the only supervisory employee
                                                in the entire Information Technology Directorate that was being
                                                required to sign in and out. Mr. Reed was obligated to direct
                                                me to aobtain a formal accommodations if it was going to be
                                                required in the future to work the flexible work schedule I had
                                                worked for many years prior to the proposal to remove
                                                Appellant from the federal service.
        12. Patricia Musselman, Division        Division Chief, Second Line Supervisor, LAN Technology
            Chief LTSO                          Support Office as a result of two prohibited personnel actions
                                                pending before the EEOC. She was aware of Appellant’s
                                                disability and informal accommodations that she subsequently
                                                approve Mr. Reeds withdrawal of the accommodations that had
                                                been in place for several years. Did not inform Appellant of
                                                any changes required to Appellant’s work schedule. Patricia
                                                Musselman was aware of the scheme to have me terminated
                                                and by omission or commission failed to act by not
                                                communicating to Appellant’s informal accommodations had
                                                changed and were being used to execute an adverse action. Ms.
                                                Musselman was obligated to direct me to aobtain a formal
                                                accommodations if it was going to be required in the future to
                                                work the flexible work schedule I had worked for many years
                                                prior to the proposal to remove Appellant from the federal
                                                service.




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                                  UNITED STATES OF AMERICA
                               MERIT SYSTEMS PROTECTION BOARD
                                 WASHINGTON REGIONAL OFFICE


    ______________________________________________________________________________

    ANTHONY W. PERRY,                                    )             DOCKET NUMBERS:
                 Appellant                               )             DC-0752-12-0486-B-1
                                                         )             DC-0752-12-0487-B-1
                                                         )
                 vs.                                     )             REVIEW BOARD
                                                         )
                                                         )
    DEPARTMENT OF COMMERCE,                              )
                                                    DATE: March 1, 2014
                 Agency
    ______________________________________________________________________________



                       Response to Agency Opposition to Petition For Review
    Appellant timely submits a Response to the Agency’s Opposition to Appellant’s Petition for
    Review of the Administrative Judge's decision, denying Appellant Jurisdiction before the Board.

    The Agency’s opposition to Appellant’s PFR is without merit.

    Legal Standards Governing Petitions for Review

    The legal standard for a Petition for Review is codified in 5 C.F.R. 1201.115, including 5 C.F.R.
    1201.115(e) notwithstanding the above provisions in this section, the Board reserves the
    authority to consider any issue in an appeal before it. In part, the legal standard for review
    provides that an agency's decision may not be sustained by the Board if the appellant:

    (A) shows harmful error in the application of the agency's procedures in arriving at such
    decision;

    (B) shows that the decision was based on any prohibited personnel practice described in 5
    U.S.C. 2302(b); or

    (C) shows that the decision was not in accordance with law.

    The Agency’s basis for the adverse actions identified in the complaint and codified in the
    Proposal to Remove and the nondisclosure agreement before the Board are the Agency’s
    charges of misconduct. The Administrative Judge failed to rule that the Agency has not

                                                                                                              1


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    produced any evidence of misconduct nor has the Agency sustained any charges of
    misconduct and the threat of termination without un-sustained evidence was fraudulent,
    fraudulent misrepresentation of the facts, misinformation and purely coercive and cannot
    prevail in the law. The Judge erroneously ruled the suspension and forced retirement are not
    within the Board’s jurisdiction.

    The Administrative Judge failed to rule in favor of Appellant and against the Agency in law that
    it committed prohibited personnel practices and gross harmful procedural error in securing
    adverse actions against Appellant by use of the nondisclosure agreement and deciding to
    suspend and force Appellant to retire. He failed to rule the nondisclosure document deprived
    Appellant of his Constitutional guarantee of equal protection under the law, due process, and
    his right to property and therefore was not in accordance with the law.

    Additionally, the nondisclosure agreement is invalid because Appellant did not receive any
    consideration from the Agency in the settlement. The settlement was not voluntary as
    exhibited in Agency Remand Exhibit 3. The Agency provided nothing by suspending me and
    forcing me to retire. It has shown no cause of action in the first place.

    The Judge failed to rule the agreement was coerced under duress as the Appellant has shown
    and further shown below in the law.

    Since the pending EEOC claims also contained prior violations of the ADEA, it failed to include
    the appropriate waiver in accordance with the OWBPA.

    The Judge failed to rule no “valuable” consideration for the complainant was given in exchange
    for the waiver.

    The Judge failed to rule no advisement to consult with an attorney was provided

        1. New and Material Evidence

    The Administrative Judge failed to rule that the Agency unlawfully withheld SF-50 and Certified
    Time and Attendance documents among other documents required in accordance with 5 USC
    1241.43 related to Appellant’s adverse action claims and the intertwined with disability
    discrimination and retaliation.

    Below is the correct extraction of the email the Agency’s representative, from Ben Felder,
    refers to in his opposition to the PFR. It is critical to note that the terms and conditions of
    Appellant’s employment and the adverse actions were involuntary, dictated and coerced upon
    Appellant and then executed a prohibited personnel practice wrapping it in the unlawful
    nondisclosure agreement denying Appellant the right of his due process to confront the
    evidence on the merit of the charges. The Judge failed to rule documentary evidence provided
    by Appellant proves no misconduct has ever occurred and that the Agency can’t prevail because
                                                                                                              2


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    it provided no evidence of misconduct nor the policy or guidelines which were violated nor the
    charges. Appellant provided the charging document and the evidence that refutes the charges.

    At the hearing, Union President Johnny Zuagar stated that Appellant had never seen the
    document nor would I have ever seen it, according to him. If the Agency had not submitted
    Exhibit 3 into the Agency Remand File, I would have never known the information below. There
    is no discussion or evidence about actual misconduct except to justify the adverse action in the
    nondisclosure agreement and in the removal document to coerce Appellant into the unlawful
    agreement. Yet the Administrative Judge refused to allow discovery of the Deciding Official’s,
    Terryne Murphy, emails, correspondence, and notes related to how she reached her decision
    on the charges of misconduct.

    Benjamin T Felder/HRD/HQ/BOC
    Ronda J Brown/POL/HQ/BOC@BOC
    Terryne F Murphy/ISSRO/HQ/BOC@BOC, Stacy Chalmers/HRD/HQ/BOC@BOC
    Tuesday, July 26, 2011 07:37AM
    AP Settlement
    FYI - I presented the proposed terms for settlement to Johnny Zuagar yesterday. He advised that he
    would talk to
    AP and get back to me. Hopefully, I will know something or have a counter-offer by the end of this week. I
    will let
    you know as soon as I have something. These were the terms offered:
    1. Agree to retire/resign by NLT May 30, 2011. (nonnegotiable)
    2. Agree not to apply for or accept any future positions with the BOC. (nonnegotiable)
    3. Agree not to engage an any further misconduct. (nonnegotiable)
    4. Accept a 60-day suspension.
    5. Accept a reassignment to an already identified area.
    6. Accept a demotion to a non-supervisory GS-13 position.
    7. Withdraw all pending complaints/cases against the Agency. (nonnegotiable)
    8. Agree not to file a claim against the Agency concerning this matter. (nonnegotiable)

    I respectfully point the Board to item 5 above and to Initial Appeal File Tab 7 for one of several
    direct evidence of retaliation, reprisal and retribution as Appellant had been requesting
    reassignment since at least 2009 as the Judge failed to note in his commentary and decision.
    The reassignment in item 5 is a prohibited personnel practice in violation of 5 USC 2302 as it
    removed Appellant’s supervisory classification imposing significant changes in Appellant’s
    working conditions as had other changes that were pending in OSC-MA-2619 withdrawn when
    Ms. Murphy notified me to inform her of any other pending actions I might have.

    It was clear to Appellant to withdraw else risk whatever action the Agency would take without
    Appellant’s ability to address as the nondisclosure agreement stated the Agency would take
    whatever action it wanted if additional misconduct occurred. Since no misconduct had
    occurred, Appellant to the statement to mean it would terminate Appellant for whatever
    reason it decided including if it thought Appellant would file a complaint, report to the OSC,
    Congress, or the Whitehouse. I have done each since retirement.



                                                                                                              3


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    The Judge wrongfully denied material and relevant witness testimony from supervisors Dale
    Reed and Patricia Musselman and from Darren Gutschow, an employee who was not
    Appellant’s supervisor but who proposed Appellant’s removal from the federal service.

    The Agency’s opposition to the PFR is without merit as these documents procured by FOIA were
    received after the August 7, 2013 closing of the Appeal File. The Judge was required to compel
    the Agency to submit these documents as they are material to the charges.

    The Judge failed to rule in law the Agency submitted no charging documents, evidence, the
    Deciding Official’s notes and records or the nondisclosure agreement as was required by 5 USC
    1241.43. Appellant provided documentary evidence in the record while the Agency argued
    Appellant voluntarily suspended himself and voluntarily retired.

    The SF-50 show adverse action and the Certified Time and Attendance Records show work
    times were approved by supervisor Dale Reed, Patricia Musselman or designee. The Judge
    failed to rule Darren Gutschow’s (employee who was not Appellant’s supervisor) proposal to
    remove Appellant from the Federal Service is a prohibited personnel practice in violation of 5
    USC 2302, DAO on Discipline and a violation of the Federal Personnel Manual.

    The Judge also failed to rule the Agency failed to sustain charges of misconduct because the
    Agency refused to submit workplace policies or guidelines relevant to the adverse action in
    effect at the time of the adverse action and therefore has not sustained charges of misconduct.

    The Judge failed to infer from the evidence that the purpose of the charges were to retaliate
    and punish Appellant for prior pending EEOC claims, for complaining to the Census Bureau
    Director about ongoing discrimination, pending Office of Special Counsel claim, and to inflict as
    much pain on Appellant as possible.

    The Judge failed to address in his decision that in the hearing, the Agency Union President
    stated with clarity that the Agency was going to terminate Appellant if he did not sign the
    agreement even never having produced evidence of misconduct when requested by Appellant,

    And that in the hearing, the Deciding Official admitted committing a harmful procedural error in
    contradiction to the procedure stated in the Proposal to Remove which stated she would
    decide on the basis of Appellant’s response.

    Appellant’s explanation of his conduct and offer to be suspended for 14 days was to end the
    simultaneous trauma of his progressive disability and of the false accusations of the misconduct
    of stealing money from the government and proposed removal and was not an admission of
    any guilt as the evidence show. The Agency then went further in an egregious and retaliatory



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    act with the nondisclosure agreement in order to hide there was no evidence of charged
    misconduct.

        2. Administrative Judge’s Erroneous interpretation of statute or regulation

    The Administrative Judge failed to rule in accordance with the law that Agency management
    Brian McGrath, Ronda Brown, Darren Gutschow, Terryne Murphy, and Agency signatories
    imposing the unlawful nondisclosure agreement committed fraud and/or misrepresentations,
    prohibited personnel practices and harmful procedural error charging Appellant with
    misconduct. There is no evidence in the record or in possession of the Agency of misconduct.

    Fraud is the intentional perversion of truth and use of deceit, a trick or some dishonest means
    to deprive another of his/her/its money, property or a legal right.

    Extrinsic fraud occurs when deceit is employed to keep someone from exercising a right, such
    as a fair trial, by hiding evidence or misleading the opposing party in a lawsuit.

    Fraudulent misrepresentation occurs if (1) a representation was made; (2) that was false; (3)
    that when made, the representation was known to be false or made recklessly without
    knowledge of its truth; (4) that it was made with the intention that the plaintiff rely on it; (5)
    that the plaintiff did rely on it; and (6) that the plaintiff suffered damages as a result.

    -In Shultz v. U.S. Navy, “if an employee can show that the Agency knew that the reason for the
    threatened removal could not be substantiated, the threatened action by the Agency is purely
    coercive. Cosby v. United States, 189 Ct.Cl. 528, 417 F.2d 1345, 1355 (1969); Autera v. United
    States, 182 Ct.Cl. 495, 389 F.2d 815, 817 (1968); Rich v. Mitchell, 273 F.2d 78, 79 (D.C.Cir.1959),
    cert. denied, 368 U.S. 854 , 82 S.Ct. 91, 7 L.Ed.2d 52 (1961)”.

    The Administrative Judge failed to rule evidence of Appellant’s flexible work schedule and
    disability was in possession of Agency at the time of misconduct charges and failed to
    acknowledge undisputed evidence in the record that Appellant’s placement under GS-14
    Patricia Musselman and then GS-14 Dale Reed in 2007-2008 was a prohibited personnel
    practice awaiting investigation at the OSC (OSC MA-2619). Appellant had reported to a GS-15
    Division Chief since 1995.

    -In Scharf v. U.S. Air Force, “with freedom of choice as the guiding principle, it has been held
    that the element of voluntariness is vitiated when (1) an employee resigns under duress
    brought on by government action, see, e.g., McGucken v. United States, 407 F.2d 1349, 1351,
    187 Ct.Cl. 284 (Ct.Cl.), cert. denied, 396 U.S. 894, 90 S.Ct. 190, 24 L.Ed.2d 170 (1969); (2) an
    employee unsuccessfully tries to withdraw his resignation before its effective date, see
    Cunningham v. United States, 423 F.2d 1379, 1384-85, 191 Ct.Cl. 471 (Ct.Cl.1970); (3) an


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    employee submits a resignation under time pressure, see Perlman, 490 F.2d at 932-33; or (4) an
    employee fails to understand the situation due to mental incompetence, see Manzi v. United
    States, 198 Ct.Cl. 489, 492 (1972). See Taylor v. United States, 591 F.2d 688, 692, 219 Ct.Cl. 86
    (Ct.Cl.1979); Christie v. United States, 518 F.2d 584, 588, 207 Ct.Cl. 333 (Ct.Cl.1975).

    -In Perlman v. United States, “whether an action is voluntary or involuntary is determined not
    by the form of the action, but by the circumstances that produced it. [Federal Personnel
    Manual Supp. 752-1, subchapter S1-2a(1).] See Ainsworth v. United States, 180 Ct.Cl. 166, 172
    (1967), and the recent decision in Manzi v. United States, 198 Ct.Cl. 489, 495 (1972).”

    -In McGucken v. United States, supra, in determining whether an employee's resignation was
    submitted under duress, the three elements necessary to show duress are (1) that one side
    involuntarily accepted the terms of another, (2) that circumstances permitted no other
    alternative, and (3) that said circumstances were the result of coercive acts of the opposite
    party.

    -In Fruehauf, “duress involves a step beyond mere illegality and implies that a person has been
    unlawfully constrained or compelled by another to perform an act under circumstances which
    prevent the exercise of free will (Fruehauf Southwest Garment Co v. United States).

    -In Covington v. Department of Health and Human Services and Shutltz v. U.S. Navy, “…the
    board's jurisdiction and the merits of an alleged involuntary separation are inextricably
    intertwined. Dumas v. Merit Systems Protection Board, 789 F.2d 892, 894 (Fed.Cir.1986). Thus,
    if it is established that a resignation is involuntary, the board not only has jurisdiction, but also
    the employee wins on the merits and is entitled to reinstatement. See Covington v. Department
    of Health and Human Services, 750 F.2d 937, 943 (Fed.Cir.1984)., “. “A resignation is not
    voluntary where an agency imposes the terms of an employee's resignation, the employee's
    circumstances permit no alternative but to accept, and those circumstances were the result of
    improper acts of the agency. See Edgerton v. Merit Systems Protection Board, 768 F.2d 1314,
    1317 (Fed.Cir.1985); Scharf v. Department of the Air Force, 710 F.2d 1572, 1574 (Fed.Cir.1983);
    Taylor v. United States, 219 Ct.Cl. 86, 591 F.2d 688, 691 (1979).

    …where an employee is faced merely with the unpleasant alternatives of resigning or being
    subject to removal for cause, such limited choices do not make the resulting resignation an
    involuntary act. On the other hand, inherent in that proposition is that the agency has
    reasonable grounds for threatening to take an adverse action. If an employee can show that the
    agency knew that the reason for the threatened removal could not be substantiated, the
    threatened action by the agency is purely coercive. Cosby v. United States, 189 Ct.Cl. 528, 417
    F.2d 1345, 1355 (1969); Autera v. United States, 182 Ct.Cl. 495, 389 F.2d 815, 817 (1968); Rich
    v. Mitchell, 273 F.2d 78, 79 (D.C.Cir.1959), cert. denied, 368 U.S. 854, 82 S.Ct. 91, 7 L.Ed.2d 52
    (1961).

    The Appellant claimed in the PFR that the non-disclosure agreement, the Agency’s Remand
    Exhibit 3 (which the Agency unlawfully withheld from the Initial Appeal requirement by 5 USC

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    1241.43) showing suspension, retirement or resignation, forfeiture of pending EEOC claims as
    non-negotiable, Appellant’s hours worked outside of regular schedule with supervisory
    approval (IAF Tab 5) and Union President’s testimony that the Agency was going to terminate
    Appellant if he did not sign the agreement without evidence show that constraint. The
    nondisclosure agreement violated Appellant’s right to due process and is a violation of 5
    USC2302 (b)(8), (b)(9), (b)(10), (b)(12) and (b)(13), minimally. The Judge failed to rule in
    accordance to the law on this matter.

    The Judge failed to rule in accordance with the law, 5 USC 2302 (b)(13) that it is a prohibited
    personnel practice to “implement or enforce any nondisclosure policy, form, or agreement, if
    such policy, form, or agreement does not contain the following statement: “These provisions
    are consistent with and do not supersede, conflict with, or otherwise alter the employee
    obligations, rights, or liabilities created by existing statute or Executive order relating to (1)
    classified information, (2) communications to Congress, (3) the reporting to an Inspector
    General of a violation of any law, rule, or regulation, or mismanagement, a gross waste of
    funds, an abuse of authority, or a substantial and specific danger to public health or safety, or
    (4) any other whistleblower protection. The definitions, requirements, obligations, rights,
    sanctions, and liabilities created by controlling Executive orders and statutory provisions are
    incorporated into this agreement and are controlling.”.

    The Administrative Judge’s ruling violates EEOC Notice Number 915.002, “Enforcement
    Guidance on non-waivable employee rights under Equal Opportunity Commission (EEOC)
    enforced statutes.”

    Volume II of the EEOC Compliance Manual states: An employer may not interfere with the
    protected right of an employee to file a charge, testify, assist, or participate in any manner in an
    investigation, hearing, or proceeding under Title VII of the Civil Rights Act of 1964 (Title VII), 42
    U.S.C. § 2000e et seq., the Americans with Disabilities Act (ADA), 42 U.S.C. § 12101 et seq., the
    Age Discrimination in Employment Act (ADEA), 29 U. S.C. § 621 et seq., or the Equal Pay Act
    (EPA), 29 U.S.C. § 206(d). These employee rights are non-waivable under the federal civil rights
    laws.

         (a) Coercion to Enter Unlawful Nondisclosure Agreement

    The documentary evidence and the relevant law in this case and testimony by Union President
    and Terryne Murphy at the hearing dispute the Judge’s conclusion of voluntary entry into the
    settlement agreement.

    Appellant’s PFR addresses the Agency’s violations of 5 USC 2302 and the commission of harmful
    procedural errors and the Judge’s failure to rule accordingly.

    In all of the paragraphs below, the PFR states that Administrative Judge failed to rule that the
    Agency decisions and nondisclosure agreement were secured by prohibited personnel practices
    described in 5 U.S.C. 2302(b), Merit System Principles in 5 USC 2301, harmful procedural error,


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    not in accordance with the law in violation of equal protection, due process, and property
    rights, statute and regulations.

    Requiring a federal employee to enter into a nondisclosure agreement that forbids the
    employee to exercise his statutory rights or fulfill his ethical duty to make protected disclosures
    constitutes a prohibited personnel practice under 5 U.S.C. 2302(b)(1), (b)(8), (b)(9), (b)(12), and
    (b)(13).

    The Judge failed to infer OSC charges in OSC-MA-2619 were withdrawn because of Ms.
    Murphy’s intervention is stated in the record and remains undisputed by the Agency.

    An employee's right to petition Congress is protected under the Lloyd-LaFollette Act of 1912, 5
    U.S.C. 7211. "Gag rules" that forbid federal employees from communicating directly with
    Congress, on pain of dismissal, were explicitly cited by several legislators as the reason for
    enacting the Lloyd-LaFollette Act. Bush v. Lucas, 462 U. 367, 382-84 & nn.19-24 (1983). The
    nondisclosure agreement on its face violate the Lloyd-LaFollette Act, and thereby 5 U.S.C.
    2302(b)(l2).

    The Administrative Judge poses commentary and argument even complimenting Appellant on
    his intelligence and then proceeds to attack Appellant’s credibility to the benefit of the Agency
    in the “catch all” credibility proposition he thinks the Agency can use to prevail before the
    Board. I am aware he no longer has the title of Administrative Judge.

    For a credibility assessment of Appellant, I respectfully request the Board review Appellant’s
    exhibits, accomplishments, pursuit of and repeated denial of promotional opportunities and
    statement of having worked thousands of hours without pay over Appellant’s career.

    The case before the MSPB is not about credibility. If it is, Judge Turbitt asking Agency lawyer in
    the telephonic conference about the documents the Agency wanted removed from Appellant’s
    file is most incredible.

    The Judge’s refusal to compel and the Agency’s failure to comply with the law in 5 USC 1241.43
    goes to credibility. The Judge confers credibility on Agency employees committing documented
    prohibited personnel practices including disability discrimination .

    The Judge and the Agency further misstates and misrepresents the facts that the 30 day
    suspension was a mitigation of any other action. A suspension greater than 14 days is an
    adverse action. There is no evidence for cause of action in the record submitted by Agency.

    In MSPB Stay granted in OSC EX REL John Does (1-4) v. Department of Commerce IG and a near
    identical nondisclosure agreement, some Commerce employees signed that agreement as well
    because in the OSC brief it stated that the employees were coerced into the agreement.

    As in Perlman v. United States, “whether an action is voluntary or involuntary is determined not
    by the form of the action, but by the circumstances that produced it. [Federal Personnel



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    Manual Supp. 752-1, subchapter S1-2a(1).] See Ainsworth v. United States, 180 Ct.Cl. 166, 172
    (1967), and the recent decision in Manzi v. United States, 198 Ct.Cl. 489, 495 (1972).”

    Appellant was served a removal proposal which described the procedure that would occur.
    Appellant responded as required. Shortly thereafter, the Agency management presented
    Appellant with the nondisclosure agreement and communicated to Appellant by way of the
    Union President Johnny Zuagar, which he testified to at the hearing, that the Agency was going
    to terminate Appellant if he did not sign the agreement.

    It cannot be that the Agency using identical tactics in securing the nondisclosure agreement,
    the Commerce IG employees can be considered coerced into a near identical nondisclosure
    agreement and Appellant voluntarily entered a “copycat” coercive agreement but with an
    added egregious intention to permanent inflict Appellant with grief, despair and
    impoverishment.

         (b) AJ Improperly Failed to Render a Decision on the Merits

    Appellant made the case that where the adverse actions are intertwined with the cause of
    action, the board's jurisdiction and the merits of an alleged involuntary separation are
    inextricably intertwined. Dumas v. Merit Systems Protection Board, 789 F.2d 892, 894
    (Fed.Cir.1986). Thus, if it is established that a resignation is involuntary, the board not only has
    jurisdiction, but also the employee wins on the merits and is entitled to reinstatement. See
    Covington v. Department of Health and Human Services, 750 F.2d 937, 943 (Fed.Cir.1984).

    Further in Covington, It is established that erroneous advice by the agency can rebut the
    presumption of voluntariness, and that such evidence must be considered. Covington, supra.

                                                    Conclusion
    The Agency’s opposition to Appellant’s Petition for Review is without merit and therefore per
    the Petition For Review, Appellant should prevail on jurisdiction and thus on the merits in the
    instant case and should receive maximum allowable damages and prohibited personnel
    practices passed on to OSC for corrective action and disciplinary action.



                                                                 Respectfully,

                                                                 /signed/

                                                                 Anthony W. Perry




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                           UNITED STATES OF AMERICA
                        MERIT SYSTEMS PROTECTION BOARD


      ANTHONY W. PERRY,                               DOCKET NUMBERS
                   Appellant,                         DC-0752-12-0486-B-1
                                                      DC-0752-12-0487-B-1
                   v.

      DEPARTMENT OF COMMERCE,
                  Agency.                             DATE: August 6, 2014



                 THIS FINAL ORDER IS NONPRECEDENTIAL 1

            Anthony W. Perry, Upper Marlboro, Maryland, pro se.

            Tyree P. Ayers, Esquire, Washington, D.C., for the agency.


                                            BEFORE

                               Susan Tsui Grundmann, Chairman
                               Anne M. Wagner, Vice Chairman
                                  Mark A. Robbins, Member


                                        FINAL ORDER

¶1          The appellant has filed a petition for review of the initial decision, which
      dismissed for lack of jurisdiction his suspension and involuntary retirement
      appeals because of a settlement agreement entered into before the U.S. Equal
      Employment Opportunity Commission (EEOC).             Generally, we grant petitions


      1
         A nonprecedential order is one that the Board has determined does not add
      significantly to the body of MSPB case law. Parties may cite nonprecedential orders,
      but such orders have no precedential value; the Board and administrative judges are not
      required to follow or distinguish them in any future decisions. In contrast, a
      precedential decision issued as an Opinion and Order has been identified by the Board
      as significantly contributing to the Board's case law. See 5 C.F.R. § 1201.117(c).
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      such as this one only when: the initial decision contains erroneous findings of
      material fact; the initial decision is based on an erroneous interpretation of statute
      or regulation or the erroneous application of the law to the facts of the case; the
      judge’s rulings during either the course of the appeal or the initial decision were
      not consistent with required procedures or involved an abuse of discretion, and
      the resulting error affected the outcome of the case; or new and material evidence
      or legal argument is available that, despite the petitioner’s due diligence, was not
      available when the record closed. See Title 5 of the Code of Federal Regulations,
      section 1201.115 (5 C.F.R. § 1201.115). After fully considering the filings in this
      appeal, and based on the following points and authorities, we conclude that the
      petitioner has not established any basis under section 1201.115 for granting the
      petition for review. Therefore, we DENY the petition for review and AFFIRM
      the initial decision, which is now the Board’s final decision.               5 C.F.R.
      § 1201.113(b).
¶2          In August 2011, the appellant and the agency entered into a settlement
      agreement before the EEOC wherein the appellant agreed, inter alia, to
      voluntarily resign or retire no later than September 4, 2012, to serve a 30-day
      suspension which the agency would issue in lieu of effectuating a removal action
      it proposed in June 2011, and to waive his Board appeal rights with respect to the
      aforementioned actions.      MSPB Docket No. DC-0752-12-0486-I-1 (0486-I),
      Initial Appeal File (IAF), Tab 14, Subtab 1 at 15-20. After he served the 30-day
      suspension and retired pursuant to the settlement agreement, the appellant filed an
      appeal with the Board regarding the 30-day suspension and his retirement, which
      he alleged was involuntary. 0486-I, IAF, Tab 1 at 6, ¶ 20; MSPB Docket No.
      DC-0752-12-0487-I-1 (0487-I), IAF, Tab 1 at 5, ¶ 20.
¶3          The administrative judge docketed the suspension and involuntary
      retirement claims as two separate appeals and later dismissed both appeals
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      without a hearing, 2 finding that the Board lacked jurisdiction because the
      appellant validly waived his Board appeal rights in the August 2011 settlement
      agreement.    0486-I, Initial Decision (July 30, 2012); 0487-I, Initial Decision
      (July 30, 2012).
¶4          The appellant then filed petitions for review of the aforementioned initial
      decisions. 0486-I, PFR File, Tab 1; 0487-I, PFR File, Tab 1. The Board joined
      the two appeals and granted the appellant’s petitions for review. 0486-I, Remand
      Order (June 12, 2013).      The Board found that the appellant’s claim, that the
      agency coerced him into signing the settlement agreement by misinforming him
      that he would not have Board appeal rights if it effectuated his removal,
      constituted a nonfrivolous allegation of involuntariness entitling him to a
      jurisdictional hearing.   Remand Order at 6-7.        Thus, the Board remanded the
      appeals for a jurisdictional hearing, so that the appellant would have an
      opportunity to explain, and present evidence in support of, that nonfrivolous
      allegation.   Remand Order at 9.      The appellant raised several other claims of
      coercion—i.e., that the agency coerced him into signing the settlement agreement
      by threatening to remove him, by proposing adverse action that was
      discriminatory and that it knew it could not sustain, and by failing to inform him
      of his Board appeal rights—all of which the Board considered and rejected.
      Remand Order.
¶5          On remand, the administrative judge conducted a hearing, at which the
      appellant declined to testify.     MSPB Docket Nos. DC-0752-12-0486-B-1 and
      DC-0752-12-0487-B-1 (0486-B), Remand File (RF), Tab 26, Hearing Compact
      Disc (HCD), Track 4; see 0486-B, RF, Tab 28, Remand Initial Decision (RID).
      The administrative judge thereafter issued an initial decision, again dismissing


      2
        The administrative judge concluded that the appellant waived his right to a hearing, in
      part because of conflicting statements the appellant made, but we ultimately concluded
      that the appellant did not waive his right to a hearing. See 0486-I, Remand Order
      (June 12, 2013).
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      the appeals for lack of jurisdiction based on the August 2011 settlement
      agreement. The appellant then filed the instant petition for review, again arguing
      that he did not voluntarily enter into the settlement agreement. 0486-B, Remand
      Petition for Review (RPFR) File, Tab 12.
¶6          As an initial matter, the appellant seeks to invalidate the settlement
      agreement by arguing that: (1) the settlement agreement is invalid because it
      contains   a   nondisclosure   provision,    purportedly    restricts   his   ability   to
      communicate with Congress and the Office of Special counsel, and required him
      to waive his “non-waivable” rights under Title VII; (2) he did not receive any
      consideration under the settlement agreement for waiving his rights under Title
      VII; (3) he signed the settlement agreement under duress because the agency
      presented him with the agreement immediately after proposing his removal;
      (4) the agency coerced him into signing the settlement agreement by proposing an
      action which it knew it could not sustain; and (5) the deciding official
      intentionally withheld her decision on the proposed removal, which mitigated the
      proposed removal to a 30-day suspension, in order to coerce the appellant into
      signing the settlement agreement.      Id.   We will not consider these arguments
      because they all exceed the scope of the Board’s remand order, some have already
      been raised before the Board and rejected, and some are being raised for the first
      time. 3 See Zelenka v. Office of Personnel Management, 110 M.S.P.R. 205, ¶ 15
      n.3 (2008) (refusing to address an appellant’s arguments which exceeded the

      3
        On July 23, 2014, the appellant filed a request to submit evidence which he contends
      is new and material. 0486-B, RPFR File, Tab 17 at 3. Specifically, he seeks to submit
      a letter by the U.S. House of Representative’s Committee on Science, Space, and
      Technology, as well as a report of investigation regarding the agency’s Inspector
      General's alleged failure to remove two employees who coerced other employees into
      signing a nondisclosure agreement. Id. He also states that the Inspector General is, as
      a result, under investigation for retaliation and questionable hiring practices. Id. The
      appellant’s request is DENIED. As previously stated, the appellant’s claims regarding
      the validity of the settlement agreement are outside the scope of our remand order.
      Further, as explained in more detail below, the merits of his appeal are not before us
      because we do not have jurisdiction in this matter.
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      scope of the issues to be addressed on remand), rev’d on other grounds, No.
      2009-3065 (Fed. Cir. 2010); see also Sanchez v. Department of Justice,
      14 M.S.P.R. 79, 82 (1982) (the presiding official properly limited the scope of the
      hearing to those issues discussed in remand order, where the appellant was
      granted a fair opportunity on his initial appeal to present the issues he attempted
      to litigate at the remand hearing); Banks v. Department of the Air Force,
      4 M.S.P.R. 268, 271 (1980) (the Board will not consider an argument raised for
      the first time in a petition for review absent a showing that it is based on new and
      material evidence not previously available despite the party’s due diligence).
¶7          On remand, the appellant again alleged that the agency misled him by
      stating that he would have no right of appeal if the agency removed him. 0486-B,
      RF, Tab 20 at 18. However, he presented no evidence regarding this issue, which
      was the sole issue to be addressed on remand, and does not raise any such
      argument on review. The evidence in the record contradicts the appellant’s claim
      that the agency misled him with respect to his potential appeal rights. The agency
      attorney who assisted in negotiating and drafting the settlement agreement, 4 a
      management official who represented the agency during negotiations, and the
      appellant’s union representative who assisted the appellant during negotiations,
      all testified that: (1) they did not advise the appellant that he would not have
      appeal rights if he failed to sign the settlement agreement and the agency
      removed him; and (2) they were not aware of anyone at the agency who so
      informed the appellant.     HCD, Track 3.      The appellant’s union representative
      testified that he informed the appellant that he (the appellant) could choose not to

      4
        The administrative judge noted in the initial decision that, according to the agency’s
      attorney, the parties continued discussing settlement even after they reached an impasse
      before an EEOC settlement judge in or around April 2011. RID at 8; see 0486-I, IAF,
      Tab 5. The appellant argues that no additional communication occurred until after the
      agency provided him with the proposed settlement agreement. 0486-B, RPFR File, Tab
      12 at 5, 13. Assuming arguendo that the administrative judge misstated these facts,
      such an error would be irrelevant to the question of whether the agency provided the
      appellant with misinformation regarding his potential appeal rights.
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      sign the terms of the settlement agreement, “take[ ] the punishment” the agency
      selected, and then file a union grievance or an appeal with the Board.               Id.
      Further, the union representative testified that he believed the appellant “knew
      exactly what he was signing.” Id. We also note that, according to the union
      representative, he and the appellant jointly devised retirement as a possible
      settlement term, and this term was later proposed to the agency. 5 Id. The union
      representative’s testimony is consistent with contemporaneous notes of the
      deciding official regarding a conversation she had with the appellant after the
      agency proposed his removal, wherein he stated that he was “willing to make any
      concession to remain employed until September 2012,” when he would be
      “eligible to retire at 30 years.” 0486-B, RF, Tab 21 at 12.
¶8          The administrative judge found the aforementioned witnesses’ testimony
      credible, noting that: (1) all of the witnesses corroborated each other’s testimony
      on every major point and their testimony was consistent in all material respects
      with the documentary evidence of record; (2) the witnesses’ testimony at the
      hearing was straightforward, genuine and believable, and their demeanor gave no
      indication of dissembling; and (3) the appellant offered no plausible reason why
      these witnesses would fabricate their testimony.         RID at 13.     We must give
      deference to an administrative judge’s credibility determinations when they are
      based, explicitly or implicitly, on the observation of the demeanor of witnesses
      testifying at a hearing, and may overturn such determinations only when there are
      “sufficiently sound” reasons for doing so.        Haebe v. Department of Justice,
      288 F.3d 1288, 1301 (Fed. Cir. 2002).         We discern no basis to disturb the
      administrative judge’s credibility determinations in this case.         Based on the

      5
        The appellant claims that he was unaware that the agency proposed settlement terms to
      his representative, that his representative did not provide him with any assistance, and
      that his representative did not propose any alternatives and informed him that he would
      be removed if he did not sign the settlement agreement. 0486-B, RPFR File, Tab 12 at
      6. None of these arguments are relevant to the limited jurisdictional issue in this
      appeal.
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       foregoing, we find that the appellant has failed to establish that he detrimentally
       relied on misinformation regarding his potential appeal rights when entering into
       the settlement agreement and, therefore, that we lack jurisdiction over his appeal
       because the appellant validly waived his appeal rights therein.
¶9           The appellant alleges that the administrative judge committed several errors
       in adjudicating his appeal on remand, including: (1) failing to consider whether
       the agency proved its charges; (2) denying him discovery of documents from the
       deciding official regarding the proposed removal and her decision to sustain the
       charges, as well as other documents relating to “current & past misconduct” and
       “other causes for action against” him, and information regarding other
       employees’ time and attendance; (3) denying his request for two witnesses—his
       first- and second-line supervisors—to testify regarding his time and attendance;
       and (4) exhibiting bias in favor of the agency and abusing his discretion by not
       sanctioning the agency for its failure to comply with the acknowledgement order
       and considering the agency’s request to remove medical documentation from the
       record. 0486-B, RPFR File, Tab 12 at 5, 7-9.
¶10          The merits of the agency’s charges are not at issue in this appeal because
       the appellant has not established the Board’s jurisdiction over it. See Evans v.
       Department of Veterans Affairs, 119 M.S.P.R. 257, ¶ 5 (2013) (the Board must
       first resolve the threshold issue of jurisdiction before proceeding to the merits of
       an appeal). We therefore find that the administrative judge acted properly in not
       reaching, and in denying the appellant’s discovery requests which all relate to, the
       merits of the agency’s charges. 6 Regarding the appellant’s request to call his


       6
         We also agree with the administrative judge that the appellant failed to comply with
       the Board’s procedures regarding discovery, and that his discovery requests could
       therefore have been denied on that basis. See 0486-B, RF, Tab 25 at 3. In particular,
       the appellant submitted his discovery requests directly to the administrative judge,
       rather than to the agency. See 0486-B, RF, Tab 8 at 3-4, Tab 14 at 3; see also 5 C.F.R.
       § 1201.71 (discovery requests and responses thereto are not to be filed in the first
       instance with the Board).
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 first- and second-line supervisors as witnesses, we note that the administrative
 judge did not deny this request, but rather, the appellant withdrew it. 0486-B,
 RF, Tab 22 at 5, Tab 25 at 2; see HCD, Track 1 (the appellant did not object to
 the prehearing conference summary, insofar as it stated that he withdrew his
 request for his first- and second-line supervisors to testify).          In any event,
 testimony regarding the appellant’s time and attendance is irrelevant as it relates
 to the merits of the agency’s charges, so we discern no error or harm. 7 As to the
 appellant’s assertion that the administrative judge was biased, he has not
 overcome    the   presumption    of   honesty   and   integrity   that    accompanies
 administrative adjudicators.     See Oliver v. Department of Transportation,
 1 M.S.P.R. 382, 386 (1980). The administrative judge stated below that he did
 not suggest to the agency’s representative that he would delete any information
 from the appellant’s pleadings and, moreover, “grant[ed] the appellant’s motion
 to not delete any documents he submitted.” 0486-I, IAF, Tab 26 at 3; see 0486-I,
 IAF, Tab 21 (the appellant’s opposition to the agency’s alleged request to have
 “all of the medical documents removed from [his] response file”). Further, even
 if the agency failed to submit documentation relating to the merits of its charges,
 the appellant has not suffered any harm because such information does not relate
 to the threshold issue of jurisdiction in this matter, and the administrative judge’s
 decision not to sanction the agency for failing to produce irrelevant evidence does
 not establish bias.


 7
   The appellant attaches evidence which he contends is new and was previously
 unavailable because he received it via a Freedom of Information Act request. 0486-B,
 RPFR File, Tab 12 at 6. Specifically, he submits time and attendance records for the
 time period when he was charged with receiving pay for time not worked in the
 proposal notice, and Standard Form 50s documenting his suspension, reassignment, and
 retirement pursuant to the settlement agreement, as well as various performance awards
 he has received. Id. at 6, 17-46. These documents are not material, as they have no
 bearing on the Board’s jurisdiction over this appeal.            See Russo v. Veterans
 Administration, 3 M.S.P.R. 345, 349 (1980) (alleged new evidence must be of sufficient
 weight to warrant an outcome different from that in the initial decision).
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¶11          The appellant raises claims of discrimination on various bases under Title
       VII. 0486-B, RPFR File, Tab 12 at 4-5, 10, 13. As explained in our remand
       order, wherein we specifically addressed the appellant’s claim that the proposed
       removal action was motivated by discriminatory animus, the Board may consider
       Title VII discrimination claims only after a finding of jurisdiction is made.
       0486-I, PFR File, Tab 9 at 9-10 n.10; see Cruz v. Department of the Navy,
       934 F.2d 1240, 1245 (Fed. Cir. 1991) (en banc). To the extent that the appellant
       is attempting to raise an affirmative defense, we clarify that the Board has no
       authority to consider affirmative defenses where it cannot hear an appeal on its
       merits because it lacks jurisdiction to do so.     See Martin v. Department of
       Defense, 70 M.S.P.R. 653, 657 (1996).     Moreover, contrary to the appellant’s
       contention that he is entitled to mixed appeal rights, his appeal is not a mixed
       case because we lack jurisdiction over it. 0486-B, RPFR File, Tab 12 at 4; see
       Conforto v. Merit Systems Protection Board, 713 F.3d 1111, 1118 (Fed. Cir.
       2013) (a case is mixed only if the Board has jurisdiction to decide the employee’s
       appeal from the adverse action at issue); see also Cunningham v. Department of
       the Army, 119 M.S.P.R. 147, ¶¶ 8, 13-14 (2013) (providing notice of non-mixed
       appeal rights because although the appellant alleged that her termination was
       based on disability discrimination, she did not have the right to appeal her
       termination to the Board because she failed to make a nonfrivolous allegation of
       jurisdiction).

                        NOTICE TO THE APPELLANT REGARDING
                           YOUR FURTHER REVIEW RIGHTS
              You have the right to request review of this final decision by the United
       States Court of Appeals for the Federal Circuit. You must submit your request to
       the court at the following address:
                                 United States Court of Appeals
                                     for the Federal Circuit
                                   717 Madison Place, N.W.
                                    Washington, DC 20439
                          EXHIBIT
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       The court must receive your request for review no later than 60 calendar
 days after the date of this order. See 5 U.S.C. § 7703(b)(1)(A) (as rev. eff. Dec.
 27, 2012). If you choose to file, be very careful to file on time. The court has
 held that normally it does not have the authority to waive this statutory deadline
 and that filings that do not comply with the deadline must be dismissed. See
 Pinat v. Office of Personnel Management, 931 F.2d 1544 (Fed. Cir. 1991).
          If you need further information about your right to appeal this decision to
 court, you should refer to the federal law that gives you this right. It is found in
 Title 5 of the United States Code, section 7703 (5 U.S.C. § 7703) (as rev. eff.
 Dec. 27, 2012). You may read this law as well as other sections of the United
 States     Code,    at   our   website,   http://www.mspb.gov/appeals/uscode/htm.
 Additional information is available at the court's website, www.cafc.uscourts.gov.
 Of particular relevance is the court's "Guide for Pro Se Petitioners and
 Appellants," which is contained within the court's Rules of Practice, and Forms 5,
 6, and 11.
          If you are interested in securing pro bono representation for your court
 appeal, you may visit our website at http://www.mspb.gov/probono for a list of
 attorneys who have expressed interest in providing pro bono representation for
 Merit Systems Protection Board appellants before the court. The Merit Systems
 Protection Board neither endorses the services provided by any attorney nor
 warrants that any attorney will accept representation in a given case.




 FOR THE BOARD:                             ______________________________
                                            William D. Spencer
                                            Clerk of the Board
 Washington, D.C.
